    Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 1 of 80

Toole, Wes                                              February 26, 2016

                                                                         1


                  UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF WASHINGTON
                            AT SEATTLE


      TRACY JAHR, BRENDA THOMAS,      )
      TIMOTHY LEE YORK, AND W. BRETT  )
      ROARK,                          )
                                      )
                Plaintiffs,           )
                                      ) CASE NO.:
      vs.                             ) 2:14-cv-01884-MJP
                                      )
      UNITED STATES OF AMERICA,       )
                                      )
                Defendant.            )
      ________________________________/


                      DEPOSITION OF WES TOOLE




                         February 26, 2016
                       9:52 a.m. to 2:57 p.m.


               UNITED STATES OF ATTORNEY'S OFFICE
                        NASHVILLE, TENNESSEE




                 Michele Faconti, RPR, LCR (667)




                    Henderson Legal Services, Inc.
202-220-4158                         www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 2 of 80

Toole, Wes                                                                            February 26, 2016
2 (Pages 2 to 5)
                                                     2                                                           4
  1                                                       1
               APPEARANCES OF COUNSEL                                       STIPULATION
  2
      On behalf of the Plaintiffs:                        2
                                                                  The deposition of Wes Toole, called as a
  3
           BRIAN C. BROOK, ESQUIRE                        3
                                                              witness by the Plaintiffs, pursuant to all
           MATTHEW PEED, ESQUIRE                          4
  4
           Clinton, Brook & Peed                              applicable rules of the 26th day of February, 2016,
                                                          5
           641 Lexington Avenue, 13th Floor                   at the offices of United States of Attorney's
  5
           New York, NY 10022                             6
                                                              Office, Nashville, Tennessee, before Michele
           brian@clintonbrook.com                         7
                                                              Faconti, RPR, Licensed Court Reporter and Notary
  6
           212-328-9559                                   8
  7                                                           Public in and for the State of Tennessee.
                                                          9
  8
      On behalf of Defendant:                                     It being agreed that Michele Faconti, a
                                                         10
  9
           KRISTIN B. JOHNSTON, ESQUIRE                       Tennessee Licensed Court Reporter may report the
           Assistant United States Attorney              11
                                                              deposition in machine shorthand, afterwards reducing
 10
           700 Stewart Street, Ste. 5220                 12
                                                              the same to typewritten form. All objections,
           Seattle, WA 98101-1271                        13
 11                                                           except as to the form of the question, are reserved
           kristin.b.johnston@usdoj.gov                  14
 12                                                           to on or before the hearing.
                                                         15
 13                                                               It being further agreed that all formalities as
 14                                                      16
                                                              to notice, caption, certificate, transmission,
 15
                                                         17
 16                                                           etcetera, are expressly waived, EXCLUDING the
                                                         18
 17                                                           reading of the completed deposition by the witness,
                                                         19
 18                                                           and the signature of the witness.
 19                                                      20
 20                                                      21
 21
                                                         22
 22
                                                         23
 23
 24                                                      24

 25                                                      25




                                                     3                                                           5
  1                                                       1
               INDEX OF EXAMINATION                           (09:52 a.m.)
  2
                               Page                       2
                                                                             Wes M. Toole,
  3
      WITNESS: WES TOOLE                                  3
  4                                                           having been first duly sworn, as hereinafter
      Examination By Mr. Brook                 5          4
  5                                                           certified, testified as follows:
  6                                                       5
                                                                       MR. TOOLE: I do.
  7
                 INDEX TO EXHIBITS                        6
                                                                             EXAMINATION
  8
                                Page                      7
                                                              BY MR. BROOK:
  9
      Exhibit No. 28,                                     8
        JAHR0001475                       65                       Q. Would you please state your name for the
 10                                                       9
                                                              record?
      Exhibit No. 29,                                    10
                                                                   A. Wes Toole.
 11
        JAHR0002066-2068                   111           11
                                                                   Q. Is that short for Wesley?
 12
      Exhibit No. 30,                                    12
        No Bates Numbers indicated             142                 A. No, sir, just Wes.
                                                         13
 13
                                                                   Q. Have you ever been deposed before?
      Exhibit No. 31,                                    14
                                                                   A. No.
 14
        JAHR0001493-1494                   150           15
                                                                   Q. Okay. So let's start with the basic
 15
      Exhibit No. 32,                                    16
        Staff Journal entry 127-130        151                ground rules, which you may have already been told a
                                                         17
 16                                                           little bit about.
      (Exhibits retained by Mr. Brooks)                  18
                                                                       You're under oath, so that's the most
 17
                                                         19
 18                                                           important thing. That means you have to testify
                                                         20
 19                                                           truthfully and provide full answers to the best of
                                                         21
 20                                                           your ability and recollection.
 21                                                      22
                                                                       Do you understand that?
 22
                                                         23
 23                                                                A. Yes.
                                                         24
 24                                                                Q. You'll notice there's a court reporter
                                                         25
 25                                                           here taking down your testimony. She's the most




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 3 of 80

Toole, Wes                                                                                 February 26, 2016
                                                                                              3 (Pages 6 to 9)
                                                         6                                                               8
  1                                                           1
      important person in the room. So if she doesn't             overcome by events. I wasn't able to review all of
  2                                                           2
      understand what we are saying, it's not going to            those CASs. Because I did have involvement in that
  3                                                           3
      ever end up on the transcript. So we need to do our         one also.
  4                                                           4
      best to do a couple of things. One is to give only              Q. Did you look at those other CASs at all?
  5                                                           5
      verbal answers like yes as opposed to uh-huh or                 A. I started reviewing them and then I got
  6                                                           6
      gestures. Do you understand that?                           pulled away and I wasn't able to get back to them.
  7                                                           7
          A. Yes.                                                     Q. Did you talk with anyone else besides Ms.
  8                                                           8
          Q. Perfect. We also need to do our best not             Johnston about this deposition?
  9                                                           9
      to talk over each other. Even if you think that you             A. No.
 10                                                          10
      know where I'm going with a question, if I'm still              Q. Did you bring anything here with you
 11                                                          11
      trying to get it out, I ask for your patience to let        today?
 12                                                          12
      me try to finish my question and I'll do my best to             A. No. Just my personal notebook. I don't
 13                                                          13
      let you finish your answers. Okay?                          have any notes in it. I just carry it with me in
 14                                                          14
          A. Okay.                                                case I get a call or something like that. And my
 15                                                          15
          Q. If you have any questions about a question           cell phone. But that's it. No notes, no CASs or
 16                                                          16
      that I've asked, it's important that you state them         anything like that.
 17                                                          17
      if you're not clear about what the question means or            Q. What is that you know about the reason for
 18                                                          18
      what a word means. But if you answer a question,            this case and this deposition?
 19                                                          19
      I'm going to assume that you understood my question.            A. I understand, or my understanding is that
 20                                                          20
      Okay?                                                       the family of the deceased, and I apologize, I don't
 21                                                          21
          A. Understood.                                          know the deceased's name, but it was in a case that
 22                                                          22
          Q. You can ask for a break at any time, just            occurred while I was deployed and involved Aguigui.
 23                                                          23
      the only thing I ask is that you do not insist on a         My understanding is that there's been a wrongful
 24                                                          24
      break while a question is still pending. Okay?              death suit brought by the family. So that's my
 25                                                          25
          A. Understood.                                          understanding of it.



                                                         7                                                               9
 1                                                           1
          Q. Have you ever testified before?                         Q. And do you have an understanding of any of
 2                                                           2
          A. Yes. In trials or court martial, yes.                the legal issues involved in this case?
 3                                                           3
          Q. But never in front of a court reporter                  A. Somewhat.
 4                                                           4
      only?                                                          Q. What is that understanding?
 5                                                           5
          A. Never a deposition, no, sir.                            A. I believe the legal issues that were
 6                                                           6
          Q. Tell me everything you did to prepare for            brought to my attention, or if I could rephrase.
 7                                                           7
      your deposition today.                                      The questions that have been brought to my attention
 8                                                           8
          A. I spoke with Ms. Johnston on the phone on            revolve around how Aguigui was allowed to continue
 9                                                           9
      Tuesday, I believe. We spoke for about an hour.             to be on his own, if you will; and thus he carried
 10                                                          10
      And then I was also able to review the CASs, or Case        out the offense against the soldier and his
 11                                                          11
      Activity Summaries, from one of the cases. I was            girlfriend. That's kind of my understanding of it.
 12                                                          12
      able to do that because we have an automated system.           Q. I'd like to ask you a little bit of
 13                                                          13
      I did not physically have the CASs, but I was able          background questions about yourself first.
 14                                                          14
      to review them on our system.                                      When were you born?
 15                                                          15
          Q. Which case was that?                                    A. 7 February 1975.
 16                                                          16
          A. It was the death of his wife. I don't                   Q. Where was that in?
 17                                                          17
      recall the LER number, but it was that case in July.           A. In Clarksburg, West Virginia.
 18                                                          18
          Q. Would the LER number be the three digit                 Q. Where did you grow up?
 19                                                          19
      number at the beginning of --                                  A. I grew up in Marshall, Texas.
 20                                                          20
          A. Right, the Law Enforcement Report. I                    Q. What is your highest level of education?
 21                                                          21
      believe 0270 something.                                        A. Got a Bachelor's Degree and about 30 hours
 22                                                          22
          Q. 0279?                                                in post graduate work.
 23                                                          23
          A. That sounds right. Yeah. And then the                   Q. What is the Bachelor's Degree in?
 24                                                          24
      conspiracy case that was 02 something. I was -- I              A. It's a double major in sociology and
 25                                                          25
      had intended on reviewing those CASs, but we were           psychology.




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 4 of 80

Toole, Wes                                                                                February 26, 2016
4 (Pages 10 to 13)
                                                       10                                                          12
  1                                                           1
         Q. When did you receive that degree?                         Q. How long were you at Fort Levinworth for?
  2                                                           2
         A. In 1997. Yes.                                             A. About two years.
  3                                                           3
         Q. What was the school?                                      Q. Where did you go next?
  4                                                           4
         A. Austin College. Located in Sherman,                       A. After that I went to CID school. And
  5                                                           5
      Texas.                                                      after graduation from the academy, went to Germany.
  6                                                           6
         Q. When do you take your graduate school                 Ansbach, Germany.
  7                                                           7
      course work?                                                    Q. About when was that?
  8                                                           8
         A. Between 2000 and now. It's been a slow                    A. I want to say that was in November of
  9                                                           9
      process.                                                    2000.
 10                                                          10
         Q. What is the subject matter of your                        Q. How long were you in Germany for?
 11                                                          11
      graduate work?                                                  A. We were there for almost five years.
 12                                                          12
         A. At one school I was enrolled in                           Q. When you say we?
 13                                                          13
      organizational -- organizational leadership and                 A. My wife and I.
 14                                                          14
      development. In the program I'm in now, it's                    Q. She also in the Army?
 15                                                          15
      organizational security management.                             A. No, she's not.
 16                                                          16
         Q. What was your first job out of college?                   Q. What did you do after your station in
 17                                                          17
         A. Out of college. U.S. Army. I enlisted                 Germany?
 18                                                          18
      shortly before graduation and three days after                  A. After I was stationed in Germany, I was
 19                                                          19
      graduation I was getting off a bus in Fort                  PCS or transferred to Fort Bellville, Virginia with
 20                                                          20
      McClellan.                                                  the Protective Services Battalion.
 21                                                          21
         Q. And have you been in the U.S. Army ever                   Q. What was that responsibility?
 22                                                          22
      since?                                                          A. We did executive protection for senior DOD
 23                                                          23
         A. Yes, sir.                                             leadership. Chairman of the Joint Chief of Staff.
 24                                                          24
         Q. What was your first duty station?                     I culminated my time there as the Protective Service
 25                                                          25
         A. My first duty station after completion of             Officer for the Secretary of Defense.



                                                       11                                                          13
  1                                                           1
      basic training and AIT, was Camp Casey, Korea.                  Q. So is that different than law enforcement
  2                                                           2
          Q. When did you arrive there?                           work?
  3                                                           3
          A. 1997. I don't recall the month.                          A. Different -- different than -- CID kind of
  4                                                           4
          Q. How long were you stationed there for?               has a dual mission of investigations and then
  5                                                           5
          A. One year.                                            protection also. So if you're assigned to that
  6                                                           6
          Q. Where did you go next?                               unit, you're not conducting investigations, you're
  7                                                           7
          A. After that went to Fort Leavenworth,                 doing personal security, Secret Service type work.
  8                                                           8
      Kansas.                                                     During my time there, I wasn't conducting
  9                                                           9
          Q. What was your job at that time or                    investigations, but I guess you would say it was law
 10                                                          10
      assignment?                                                 enforcement but a different mission.
 11                                                          11
          A. At Fort Levinworth?                                      Q. But it's still within the Criminal
 12                                                          12
          Q. Yes.                                                 Investigation Command?
 13                                                          13
          A. I was a military police soldier conducting               A. Yes, sir.
 14                                                          14
      patrol work and also serving on a special reaction              Q. So is there any component of that job that
 15                                                          15
      team.                                                       involved investigative work?
 16                                                          16
          Q. Okay. And had that been the same role you                A. At protective services?
 17                                                          17
      were in at Camp Casey?                                          Q. Yes.
 18                                                          18
          A. Not entirely. At Camp Casey I was what                   A. No, sir.
 19                                                          19
      you would call a combat MP. So we did some patrol,              Q. And when you were doing law enforcement
 20                                                          20
      like typical law and order work. But then we did a          work, was there any component of that that was
 21                                                          21
      lot of also support in the field for maneuver units.        protective services?
 22                                                          22
             MPs have two different missions really.                  A. Sometimes. We are typically tasked in the
 23                                                          23
      They have a law and order mission, but they also            field to help support. So, you know, we may be
 24                                                          24
      have a combat security and support role, you know,          asked to, Hey, this mission they need an agent to go
 25                                                          25
      in combat operations. So it was kind of 50/50.              out and support, because we have the training. We




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 5 of 80

Toole, Wes                                                                                 February 26, 2016
                                                                                         5 (Pages 14 to 17)
                                                       14                                                           16
  1                                                          1
      need you to go out for a week at this location to           Detachment Commander.
  2                                                          2
      help provide support for this mission. But it's few             Q. What does that mean, Detachment Commander?
  3                                                          3
      and far between, so.                                            A. Okay. So the Special Agent in charge is
  4                                                          4
         Q. Is it your understanding that CID has                 the senior agent in the office responsible for, you
  5                                                          5
      responsibility for crime prevention, as well as             know, the oversight of investigative operations. At
  6                                                          6
      investigation?                                              Fort Stewart, every office has a military
  7                                                          7
         A. Yes.                                                  designation. Such as Fort Stewart it was the 30th
  8                                                          8
         Q. Are there any other agencies or                       Military Police Detachment parenthesis CID. As a
  9                                                          9
      departments within the Army that have that                  military organization we also have to have a command
 10                                                          10
      responsibility?                                             authority. That person is responsible for the, you
 11                                                          11
         A. Are there any other agencies --                       know, personnel, logistics. Basically has command
 12                                                          12
         Q. That are also responsible for crime                   authority over the soldiers that are assigned there.
 13                                                          13
      prevention and investigation.                               So it's a dual-hatted position.
 14                                                          14
         A. And for investigation. Not that I'm aware                 Q. Did you have command over anyone other
 15                                                          15
      of. I mean, the Army is a huge organization. And            than the other people who were in the CID office at
 16                                                          16
      each different activity or director it has a certain        Fort Stewart?
 17                                                          17
      responsibility to prevent fraud, waste, abuse, loss,            A. No. Just the people at the office.
 18                                                          18
      things like that. So everybody kind of has an               People assigned to the 30th.
 19                                                          19
      inherent responsibility in ensuring crime                       Q. Do you recall when you were promoted to
 20                                                          20
      prevention. Every unit is supposed to have what's           the Special Agent in Charge?
 21                                                          21
      called a crime prevention officer. Whether infantry             A. I want to say it was May or June of 2010.
 22                                                          22
      unit or mechanized unit, to where they are                  I don't recall.
 23                                                          23
      responsible for making sure that the key control                Q. So was it -- do you recall how long you
 24                                                          24
      stuff is up to date. Everybody kind of shares a             had been at Fort Stewart before that happened, even
 25                                                          25
      responsibility. Our crime prevention activity is            if you don't recall the date?



                                                       15                                                           17
  1                                                          1
      focused toward specific crimes that we are                      A. Maybe about six months. Give or take.
  2                                                          2
      responsible for investigating.                                  Q. How long did you remain the Special Agent
  3                                                          3
         Q. And is that the list of crimes that is on             in Charge of Fort Stewart?
  4                                                          4
      AR195-2, Appendix B?                                            A. It was about four or five months. I would
  5                                                          5
         A. Some of the crimes within that we have                say about four or five months.
  6                                                          6
      specific responsibility for crime prevention. Such              Q. What happened at the end of that time?
  7                                                          7
      as drug supression, frauds, loss, like through                  A. So the -- there was an inbound Chief
  8                                                          8
      physical security, like general crimes, property            Warrant Officer Don Boman who came into Fort Stewart
  9                                                          9
      loss. We assist with that crime prevention effort,          and I was identified for deployment. Once he came
 10                                                          10
      yes, sir.                                                   in, we switched out, I want to say it was around
 11                                                          11
         Q. Is there any other group or department                September 2011. And around that time once we did
 12                                                          12
      within the Army that has responsibility for                 our transition, then I started my pre-deployment
 13                                                          13
      investigating into murders or conspiracy to commit          training.
 14                                                          14
      murder?                                                         Q. Okay. I just want to give you the chance
 15                                                          15
         A. No, sir.                                              to maybe help me understand or correct your
 16                                                          16
         Q. So how long were you in the protective                testimony. Because by my math you said you had been
 17                                                          17
      services job at Fort Belvir.                                a SAC for four to five months, it stopped in
 18                                                          18
         A. I would say almost five years. Yes, sir.              September 2011, which is over a year after May or
 19                                                          19
         Q. So until about 2010?                                  June of 2010.
 20                                                          20
         A. Until about that, yes, sir.                               A. I did not assume a command in 2010. No,
 21                                                          21
         Q. What did you do next?                                 it was the same year. I apologize, it was the same
 22                                                          22
         A. Next I was stationed at Fort Stewart,                 year.
 23                                                          23
      Georgia. I was initially assigned there as the                  Q. Earlier in 2011?
 24                                                          24
      Assistant Special Agent in Charge, and then was                 A. Earlier in 2011. Thank you.
 25                                                          25
      later appointed as Special Agent in Charge slash                Q. And were you already the SAC by the time




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 6 of 80

Toole, Wes                                                                                February 26, 2016
6 (Pages 18 to 21)
                                                      18                                                           20
  1                                                          1
      you heard the name Isaac Aguigui?                              Q. So you're now the SAC of a single CID
  2                                                          2
          A. I believe I was. I think so.                        office; is that right?
  3                                                          3
          Q. And were you deployed at the end of your                A. Yes.
  4                                                          4
      time at Fort Stewart?                                          Q. Is that a step down from the position you
  5                                                          5
          A. At the time of my --                                were in before?
  6                                                          6
          Q. You said you were scheduled for                         A. It's not necessarily a step down. As
  7                                                          7
      deployment?                                                Assistant Operations Officer -- the warrant officer
  8                                                          8
          A. Yes.                                                career model, if you will for CID, is to move from a
  9                                                          9
          Q. Did that deployment happen?                         SAC office, a medium size office such as Fort
 10                                                         10
          A. Yes.                                                Stewart. And what they like to see in order to
 11                                                         11
          Q. Where were you deployed?                            progress CID leaders, is moving to a broadening
 12                                                         12
          A. Camp Buehring, Kuwait.                              assignment. Such as working in a battalion
 13                                                         13
          Q. How long were you stationed there for?              operations cell. And then grooming you, preparing
 14                                                         14
          A. We were there for almost 11 months.                 you to move toward a larger CID office to move over
 15                                                         15
          Q. And where were you stationed next?                  to the SAC of that, which Fort Campbell is a larger
 16                                                         16
          A. Once I came back from deployment I cleared          office. They try to do that broadening type of
 17                                                         17
      out of Fort Stewart and was reassigned to Fort             assignment to prepare you for larger assignments.
 18                                                         18
      Campbell, Kentucky. My initial assignment there was            Q. About how big was the Fort Stewart, CID
 19                                                         19
      with the 502nd CID Battalion where I served as             office?
 20                                                         20
      Assistant Operations Officer.                                  A. I think at any given time I had about 12
 21                                                         21
          Q. What does that job entail?                          agents assigned or available. I can't remember the
 22                                                         22
          A. The 502nd CID Battalion is responsible for          authorizations at that time. But it was right
 23                                                         23
      six different CID offices, certain geographic areas        around 12.
 24                                                         24
      of responsibility. My responsibility there was to              Q. And that does not include MP investigators
 25                                                         25
      assist the Operations Officer in the oversight of          who assist you; is that right?



                                                      19                                                           21
  1                                                          1
      investigative operations across each one of those             A. That's correct. Nor does it include
  2                                                          2
      offices. Just basically provide an oversight of            civilian support personnel.
  3                                                          3
      those offices and their investigations.                       Q. What kind of civilian support personnel
  4                                                          4
              So we would go out and conduct visits of           would you have at Fort Stewart?
  5                                                          5
      each one of those offices, doing quality control              A. We had a Criminal Intelligence Coordinator
  6                                                          6
      visits, case reviews and then assisting them with          and then we also had an Investigative Support
  7                                                          7
      day-to-day requirements as well, as needed.                Technician. Also had a Civilian Sexual Assault
  8                                                          8
          Q. So are you senior to the SACs in those              Investigator assigned to my office at the time.
  9                                                          9
      offices?                                                      Q. Criminal Intelligence Coordinator and --
 10                                                         10
          A. Most of them I was, yes.                            what was the second one, I'm sorry?
 11                                                         11
          Q. When I say that, I meant actually in terms             A. Investigative Support Technician or IST.
 12                                                         12
      of the CID structure, not necessarily your rank.           You may see it referred to as several different
 13                                                         13
          A. CID structure, yes, sir.                            things. IST or IOA, Investigative Operations
 14                                                         14
          Q. What is your current rank?                          Assistant.
 15                                                         15
          A. Chief Warrant Officer 3.                               Q. What is the responsibility of the CIC?
 16                                                         16
          Q. And you have been at Fort Campbell,                    A. Criminal Intelligence Coordinator is
 17                                                         17
      Kentucky ever since you were transferred there,            responsible for reviewing each investigation from --
 18                                                         18
      correct?                                                   not from an investigative standpoint but looking to
 19                                                         19
          A. That's correct.                                     see what type of intelligence could be gleaned from
 20                                                         20
          Q. Has your position changed at all since              that. And then pulling that intelligence together
 21                                                         21
      you've been there?                                         to see if it helps to inform other investigations,
 22                                                         22
          A. Yes, it has. 28 March of 2015 I assumed             identify trends, things like that. They also
 23                                                         23
      command of the 31st Military Police Detachment CID,        compile statistics for the purpose of studies later
 24                                                         24
      also serving as the Special Agent in Charge of the         on. Annual surveys. Things of that nature.
 25                                                         25
      office.                                                       Q. So if there are two investigations going




                                 Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 7 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                        7 (Pages 22 to 25)
                                                        22                                                         24
  1                                                           1
      on at the same time, it would be the CIC who might             A. Yes, sir.
  2                                                           2
      sort of connect the dots between those two                     Q. Now, would a status report ever be issued
  3                                                           3
      investigations if there was an overlap?                     when there was no soldier that was titled yet?
  4                                                           4
         A. It's possible.                                           A. Yes, sir.
  5                                                           5
         Q. Is there anybody else that has that                      Q. Who does that go to then?
  6                                                           6
      responsibility of putting things together between              A. So it -- it all depends on who is under
  7                                                           7
      investigations?                                             investigation, what offense is being investigated,
  8                                                           8
         A. Sure. We all do. From the individual                  and then what the -- what the status of that
  9                                                           9
      agent to the Team Chief Supervisor to the Special           investigation is. So in a typical scenario, let's
 10                                                          10
      Agent in Charge to myself as the SAC.                       say if I -- can I use an example?
 11                                                          11
         Q. Was the CIC stationed or -- he or she                    Q. Please.
 12                                                          12
      actually located physically at the CIC offices?                A. So for a hot urine analysis. Say a
 13                                                          13
         A. She was.                                              soldier comes up hot for marijuana or cocaine, that
 14                                                          14
         Q. Who was that during your time in Fort                 report would go to CID recipients, such as the
 15                                                          15
      Stewart?                                                    battalion or the group headquarters. U.S. Army
 16                                                          16
         A. Ms. Ellie Tolbert.                                    Crime Records Center would get a copy of any status
 17                                                          17
         Q. What does the Investigative Support                   report that was sent. But then we would also
 18                                                          18
      Technician do?                                              dispatch that to the soldier's command authority and
 19                                                          19
         A. Basically administrative. Once the case               then to the supporting SJA. And then Garrison
 20                                                          20
      was closed, she would prepare copies, distribute            leadership, as well. So they have an understanding
 21                                                          21
      reports appropriately, and then she would also track        on what's going on in their installation. But,
 22                                                          22
      what we called DA4833, it's Commander's report of           again, every type -- it's all going to be case
 23                                                          23
      disciplinary action.                                        dependent on who that report is going to go to.
 24                                                          24
             Once a case was closed, she would send the              Q. Are status reports destroyed after they
 25                                                          25
      4833 out to the commanders and the SJAs. And                have been created for any reason?



                                                        23                                                         25
  1                                                          1
      whenever they took action or whatever action they                A. Destroyed, do you mean -- can you clarify
  2                                                          2
      took, she would receive those reports back and              what you mean by destroyed?
  3                                                          3
      upload them to Crime Records Center.                             Q. Are status reports deleted for any reason?
  4                                                          4
         Q. Did you have direct access to the Crime                    A. Not that I'm aware of.
  5                                                          5
      Records Center or CRC?                                           Q. So what if you titled someone for an
  6                                                          6
         A. Could you explain what you mean by direct             offense and later determined it was unfounded?
  7                                                          7
      access?                                                          A. If someone were titled in a case and --
  8                                                          8
         Q. If something was uploaded to the Crime                can I ask a clarifying question? When you say
  9                                                          9
      Records Center, is that something you could pull up         titled, I just want to make sure I have the same
 10                                                          10
      on your computer?                                           understanding you do. Do you mean somebody's name
 11                                                          11
         A. No, sir. At the time when we were at Fort             is listed as the subject on that report?
 12                                                          12
      Stewart -- I mean, we had an automated system then,              Q. Yes. Been through too many of these
 13                                                          13
      what we called ACI2. But that did not directly feed         depositions. I do have some knowledge. I apologize
 14                                                          14
      into the Crime Records Center.                              if I'm not making that clear, since I'm asking some
 15                                                          15
             When I was at Stewart, we would have to              basic questions, too.
 16                                                          16
      mail a copy of the report or we would actually mail                 Someone is titled for an offense and it's
 17                                                          17
      the originals of everything to the CRC once we were         later determined to be unfounded, the status report
 18                                                          18
      completed and they processed it and archived it.            titling that person does not get deleted, though,
 19                                                          19
         Q. So, for example, if you did a status                  right?
 20                                                          20
      report on an investigation, where would that go?                 A. No, sir.
 21                                                          21
         A. So it would go to the CRC electronically,                  Q. Do you recall when you first heard about
 22                                                          22
      and also electronically be sent to all the other            this case that's involving the wrongful death
 23                                                          23
      authorized recipients.                                      allegations?
 24                                                          24
         Q. And that typically included a lot of                       A. I want to -- I want to say it was sometime
 25                                                          25
      people in command for the soldier at issue?                 last month. I was contacted by an attorney out of




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 8 of 80

Toole, Wes                                                                                 February 26, 2016
8 (Pages 26 to 29)
                                                       26                                                           28
  1                                                          1
      Fort Belvir, U.S. Army, informing me that there was         installation to another. So they close it on their
  2                                                          2
      an ongoing case and that I was probably going to be         end and then I get to another post and they have to
  3                                                          3
      contacted in the future for deposition.                     reactivate it. But the emails don't carry forward.
  4                                                          4
          Q. Have you ever been asked to provide any              From the user level, as far as I know, they don't.
  5                                                          5
      documents in connection with this case?                         Q. You don't have any knowledge about whether
  6                                                          6
          A. No.                                                  at a server level there's something?
  7                                                          7
          Q. Do you have any documents in connection                  A. No, sir, I don't.
  8                                                          8
      with this case?                                                 Q. Do you know if there's any rules or
  9                                                          9
          A. No. Only the CASs that I reviewed from               protocols in place for investigators within CID as
 10                                                          10
      the automated system. I did not carry anything with         far as email retention goes, when you should save
 11                                                          11
      me when I left Fort Stewart.                                something to the file?
 12                                                          12
          Q. Did you use email to communicate about                   A. Not that I'm aware of. We will
 13                                                          13
      this case? Not this case. Let rephrase that.                routinely -- I mean, there are certain things within
 14                                                          14
             Did you ever use email to communicate                our regulation that talk about if you engage in
 15                                                          15
      about cases you were investigating while you were           email traffic with say, the next of kin to a
 16                                                          16
      stationed at Fort Stewart?                                  deceased, or if you provide a Commander with a copy
 17                                                          17
          A. I routinely communicate via email during             of the CG memo, keep a copy of that email and post
 18                                                          18
      the investigative process and during the                    it in the file. But I'm not aware of any directive
 19                                                          19
      administrative operation of the whole gambit.               that any email that's sent regarding a case has to
 20                                                          20
          Q. What is the system that's in place, if you           be retained within a file.
 21                                                          21
      know, for retaining or deleting email within CID?               Q. So the emails you described that should be
 22                                                          22
             MS. JOHNSTON: At Fort Stewart?                       kept, are those just put into the CAS or are those
 23                                                          23
             MR. BROOK: At Fort Stewart.                          actually printed out and put into the case file?
 24                                                          24
             THE WITNESS: At Fort Stewart, I'm not                    A. Sometimes the CAS will detail that they
 25                                                          25
          aware of any system that was in place at Fort           sent an email to so and so. But then depending



                                                       27                                                           29
  1                                                          1
          Stewart on retaining emails. I'm unclear of             on -- if it's one of those emails that our
  2                                                          2
          the question, sir.                                      regulation requires to be printed out, then a copy
  3                                                          3
      BY MR. BROOK:                                               would be printed out and put in the file, as well.
  4                                                          4
          Q. Do you still have any of your old emails                 Q. Have you ever been asked to provide any
  5                                                          5
      from back when you were at Fort Stewart?                    information with respect to this case before today?
  6                                                          6
          A. No, sir.                                                 A. No, sir. I mean, other than my discussion
  7                                                          7
          Q. Are emails automatically deleted in CID              with Ms. Johnston before, but no.
  8                                                          8
      email accounts?                                                 Q. Right. To your knowledge were there any
  9                                                          9
          A. If I can clarify. When you say CID email             internal Army inquiries regarding Isaac Aguigui
 10                                                          10
      accounts, our email is the same as any other Army           after he was detained in December of 2011.
 11                                                          11
      unit. We go through the NEC. I don't know what                  A. Any internal Army inquiries?
 12                                                          12
      that acronym stands for, but basically there are                Q. Was there any attempt to try to
 13                                                          13
      information guides for the post. That's how we --           investigate how Isaac Aguigui got to where he was?
 14                                                          14
      that's a dot mil account.                                       A. I don't know, sir. I was deployed at the
 15                                                          15
             So ours is no different than any other               time. And whenever I returned back from deployment,
 16                                                          16
      Army account where if you don't back it up or create        I basically cleared out of Fort Stewart. I was
 17                                                          17
      your own PST file, and then whenever you move and           somewhat aware of everything that had transpired,
 18                                                          18
      that account is closed at Fort Stewart, and -- say,         but in terms of anything above CID's investigation,
 19                                                          19
      for example, when I come to Fort Campbell, they             I'm not aware.
 20                                                          20
      establish -- open up a new account under Fort                   Q. Were you involved at all in the
 21                                                          21
      Campbell, it doesn't automatically repopulate.              investigation of Isaac Aguigui or any of his
 22                                                          22
          Q. You get a different account for each time            possible co-conspirators in crimes after you started
 23                                                          23
      you have been PCS?                                          your deployment?
 24                                                          24
          A. My email name, the email address stays the               A. No, sir.
 25                                                          25
      same, but they transfer the account from one                    Q. Were you ever contacted to answer




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 9 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                        9 (Pages 30 to 33)
                                                       30                                                          32
 1                                                            1
      questions or anything?                                      retain them or not. And I'm thinking about during
 2                                                            2
          A. No, sir. I was contacted not to answer               that time at Fort Stewart. I can't remember what
 3                                                            3
      questions, but one of my co-workers contacted me to         the requirement was for the retention of the
 4                                                            4
      let me know what had occurred with the murders while        Investigative Plan. It would stay with the hard
 5                                                            5
      I was gone. But he just wanted to let me know.              copy of the file that has to be retained at the
 6                                                            6
          Q. Did you find out anything else about those           office for at least three years, or depending on the
 7                                                            7
      murders at that time?                                       type of offense, it may have to be retained longer
 8                                                            8
          A. No, sir.                                             than that. But in terms of like an electronic
 9                                                            9
          Q. Did you make any inquiries?                          retention at CRC, I'm not aware of any requirement
 10                                                          10
          A. Just from what I read in the media.                  to retain it then.
 11                                                          11
          Q. Are you familiar with what has happened                  Q. As a general matter, the hard copy case
 12                                                          12
      with Isaac Aguigui since then in terms of being             file has to be maintained for three years after a
 13                                                          13
      prosecuted for any crimes?                                  case closes?
 14                                                          14
          A. I am, yes, sir.                                          A. As a general manner, yes, sir.
 15                                                          15
          Q. What are you aware of?                                   Q. Is that something that everyone knows or
 16                                                          16
          A. I'm aware that he was prosecuted for those           is that a policy?
 17                                                          17
      offenses and currently serving time for them.                   A. It's a regulatory requirement.
 18                                                          18
          Q. Are you aware of his prosecution in                      Q. Do you know what the citation is for that
 19                                                          19
      connection with his wife's death?                           by chance?
 20                                                          20
          A. I believe he was prosecuted for that as                  A. No, but -- no, I don't know.
 21                                                          21
      well, but I'm not familiar with what the sentencing             Q. No is a perfectly good answer. Just
 22                                                          22
      was. And I don't know if it was concurrent with the         thought I would ask.
 23                                                          23
      other case being tried or if it was separate, I'm                   What are the requirements or criteria that
 24                                                          24
      not aware.                                                  have to be met before someone can be titled for an
 25                                                          25
          Q. So you were not asked for any information            offense?


                                                       31                                                          33
  1                                                           1
      to help with that prosecution; is that right?                  A. Titling for an offense is an investigative
  2                                                           2
          A. No, sir.                                             determination independent of just judicial review
  3                                                           3
          Q. Did you ever use personal email for CID              that's based on credible information standard.
  4                                                           4
      work?                                                          Q. So is it something less than probable
  5                                                           5
          A. No, sir.                                             cause?
  6                                                           6
          Q. Nowadays I have to ask. What is an                      A. Yes, sir.
  7                                                           7
      Investigative Plan?                                            Q. Credible information is the standard?
  8                                                           8
          A. Investigative Plan is -- I'm glad you                   A. Yes, sir.
  9                                                           9
      asked that. It's something that is a living,                   Q. So that's a pretty flexible standard?
 10                                                          10
      breathing document. It's a roadmap for the                     A. It is, yes, sir.
 11                                                          11
      investigator to use in order to try to resolve the             Q. Now am I right in understanding a lot of
 12                                                          12
      investigation in both a thorough and timely manner.         CID investigative work involves getting sworn
 13                                                          13
      The Investigative Plan is -- it's fluid. It's               statements from soldiers?
 14                                                          14
      supposed to be used to identify investigative leads            A. Yes, sir.
 15                                                          15
      as they come up. Prioritize them and then track                Q. And CID agents are all authorized to
 16                                                          16
      their completion or whether or not they are still           administer oaths?
 17                                                          17
      probative.                                                     A. Yes, sir.
 18                                                          18
          Q. Is there always an Investigative Plan                   Q. You could have sworn yourself in here
 19                                                          19
      that's used in an open investigation?                       today?
 20                                                          20
          A. There should be.                                        A. I don't know about that.
 21                                                          21
          Q. Is that something that's required?                      Q. How common is it to get a sworn confession
 22                                                          22
          A. For law enforcement reports, yes, sir.               from a soldier that you're investigating?
 23                                                          23
          Q. Are there any requirements to retain those              A. I mean, we routinely obtain confessions
 24                                                          24
      if an investigation is closed?                              and admissions. And I make a distinction between
 25                                                          25
          A. I don't know if there's a requirement to             the two. Because even though we may obtain sworn




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 10 of 80

Toole, Wes                                                                                February 26, 2016
10 (Pages 34 to 37)
                                                      34                                                          36
  1                                                           1
      statements that have admissions of guilt on there,              Q. Is credible information enough information
  2                                                           2
      the confession I see it in a different category to          or sufficient standard to detain a soldier?
  3                                                           3
      where specific type intent offenses. I don't have               A. To detain a soldier?
  4                                                           4
      any statistics I can pull off the top of my head we             Q. Yes.
  5                                                           5
      routinely get this percentage of, but it's a fairly             A. Yes. For detention, yes.
  6                                                           6
      common occurrence.                                              Q. How long can you detain someone based on
  7                                                           7
         Q. So you would say maybe the difference in a            credible information?
  8                                                           8
      confession, the person knows they committed a crime             A. For a reasonable amount of time.
  9                                                           9
      and an admission, they might not know they are                  Q. And how do you determine what the
 10                                                          10
      admitting to a crime?                                       reasonable amount of time is?
 11                                                          11
         A. That's fair.                                              A. It's determined -- that determination is
 12                                                          12
         Q. Do you consider a sworn admission to be               made on, you know, how long the interview takes.
 13                                                          13
      credible information?                                       How long it takes to do processing. It's not to
 14                                                          14
         A. Yes.                                                  hold them any longer than what's absolutely
 15                                                          15
         Q. Do you know anyone who disagrees with that            necessary in order to conduct an interview and/or
 16                                                          16
      point of view?                                              process that person.
 17                                                          17
             MS. JOHNSTON: Objection. Calls for                       Q. So that's different than putting someone
 18                                                          18
         speculation.                                             in, for example, pretrial detention?
 19                                                          19
      BY MR. BROOK:                                                   A. Yes, sir.
 20                                                          20
         Q. One thing I did not mention. Unless                       Q. What is the standard you need to meet in
 21                                                          21
      you're instructed not to answer -- there will be            order to detain someone more for safety reasons
 22                                                          22
      objections just for the record, because there's no          based on your belief that probable cause exists for
 23                                                          23
      Judge to rule on them.                                      a crime?
 24                                                          24
             Please go ahead and answer.                                  MS. JOHNSTON: You mean CID detain
 25                                                          25
         A. Can you state the question again, please?                 someone?


                                                      35                                                          37
  1                                                           1
             MR. BROOK: Sure. Can you read it back?               BY MR. BROOK:
  2                                                           2
             MS. JOHNSTON: Same objection.                           Q. Sorry. Let me rephrase the question.
  3                                                           3
             (Requested portion read.)                                   What is the standard that CID needs in
  4                                                           4
             THE WITNESS: I don't know anybody that               order to detain someone for reasons other than just
  5                                                           5
          disagrees with it.                                      questioning?
  6                                                           6
      BY MR. BROOK:                                                  A. CID -- to the best of my knowledge and
  7                                                           7
          Q. Is credible information something that has           ability to answer that question, CID does not
  8                                                           8
      to be admissible in court in your view?                     normally detain anyone aside from or outside of the
  9                                                           9
             MS. JOHNSTON: Object as to form.                     need to either question them, execute a search or to
 10                                                          10
          A. No. Credible information is in my opinion            process them. Any other detentions are outside of,
 11                                                          11
      a subjective determination based upon all available         you know, CID's normal operations.
 12                                                          12
      information known to that person at the time.                  Q. Those other detentions are made by the
 13                                                          13
          Q. Are there any regulations or publications            command, is that correct, for the individual
 14                                                          14
      that help to explain what credible information is or        soldier?
 15                                                          15
      how to apply the standard?                                     A. It could be, yes, sir.
 16                                                          16
          A. Yes.                                                    Q. Who else could make those decisions?
 17                                                          17
          Q. And what regulation is that?                            A. Usually the command can make those
 18                                                          18
          A. CID regulation 195-1.                                decisions based on, you know, their discussions with
 19                                                          19
          Q. Do you know about how much of that, in               the Staff Judge Advocate or another competent law
 20                                                          20
      terms of pages, is devoted to the issue of credible         enforcement authority could certainly. I'm sorry,
 21                                                          21
      information standards?                                      can I add?
 22                                                          22
          A. I know that credible information is -- a                Q. Please.
 23                                                          23
      definition is provided within the definitions                  A. Military police also have the authority to
 24                                                          24
      appendix, but I don't know how many times it's              detain soldiers, like you said earlier, for safety
 25                                                          25
      referred to within the regulations.                         reasons or when effecting a stop or this or that.




                                 Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 11 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                      11 (Pages 38 to 41)
                                                        38                                                          40
 1                                                            1
      And then general military authority by an officer, a        recall?
 2                                                            2
      non-commissioned officer if they witnessed something            A. One of them I remember his last name was
 3                                                            3
      that happened, they have the authority to, you know,        Fox.
 4                                                            4
      hold that soldier for safety purposes or questioning            Q. Anyone else?
 5                                                            5
      until law enforcement can arrive. But that's my                 A. I can't remember anyone else. Because
 6                                                            6
      understanding of detention.                                 they would typically come in for shorter periods of
 7                                                            7
         Q. Is CID, or anyone else in the Army as far             time. Some would come for a year. Some may just
 8                                                            8
      as you know, able to detain a soldier while you are         come for a month or so.
 9                                                            9
      investigating that soldier to determine whether to              Q. Were there differences in terms of the
 10                                                          10
      press charges or prefer charges?                            capabilities between reserve agents and your regular
 11                                                          11
         A. I mean, the command has the authority to              agents?
 12                                                          12
      place a soldier in confinement if they believe that             A. Can you -- is it possible to clarify what
 13                                                          13
      there is, you know, probable cause that the soldier         type of differences?
 14                                                          14
      committed an act and that there's information to                Q. Well, were there any differences in terms
 15                                                          15
      believe that they should be in confinement. But             of the kind of work that they did or their training
 16                                                          16
      when we are talking about detention and confinement,        or experience?
 17                                                          17
      I don't know if you're referring to both of those               A. The reserve agents typically differed from
 18                                                          18
      synonymously.                                               the active duty agents in that they weren't always
 19                                                          19
         Q. In terms of terminology, confinement is               familiar with or comfortable with our automated
 20                                                          20
      more long term than detention?                              system. Some of our report writing. Some of the
 21                                                          21
         A. Yes, sir. That's the way I see detention              isms in CID they are typically administrative. But
 22                                                          22
      and confinement.                                            investigative-wise, they are all trained to the same
 23                                                          23
         Q. I'd like to ask you if you remember people            standard. And a lot of our reservists are actually
 24                                                          24
      from the Fort Stewart's office; and if so, what you         very well experienced in investigations in law
 25                                                          25
      remember about them. Andrew Dale?                           enforcement, depending on some of them served as



                                                        39                                                          41
  1                                                           1
          A. Yes, sir.                                            cops or detectives in other jurisdictions. Some of
  2                                                           2
          Q. What was his role?                                   them have careers outside of law enforcement, but
  3                                                           3
          A. He was the Drug Supression Team Chief.               they are trained to the same standard.
  4                                                           4
          Q. Did he have any other role while you were               Q. Did you have the opportunity to personally
  5                                                           5
      there?                                                      observe Agent Fox's work when you were there?
  6                                                           6
          A. Not while I was there, no, sir.                         A. I did. But, to be honest with you, I
  7                                                           7
          Q. Okay. Cassandra Ivory.                               don't -- I don't remember a lot about his work. I
  8                                                           8
          A. Yes. She was a Team Chief, as well.                  can't even remember how long he was there to be
  9                                                           9
          Q. Is that for economic crimes?                         honest. So -- but, yes, I did.
 10                                                          10
          A. It was for economic crimes. I think she                 Q. Did you ever observe any problems with the
 11                                                          11
      also oversaw some general crimes, also.                     work that he was performing?
 12                                                          12
          Q. Was that because -- just a need?                        A. Again, I can't remember any specific
 13                                                          13
          A. Need, yes, sir.                                      issues with Agent Fox.
 14                                                          14
          Q. Is it correct that the Fort Stewart CID                 Q. Did you have problems with any of your
 15                                                          15
      office was relatively short staffed while you were          agents not performing their duties when you were
 16                                                          16
      there?                                                      there?
 17                                                          17
          A. Yes, sir.                                               A. Not that I can remember. I mean, there's
 18                                                          18
          Q. Did you have to borrow some people from              always, you know, people make mistakes or people
 19                                                          19
      other offices to fill --                                    need assistance or correction in certain areas.
 20                                                          20
          A. We would have reserve agents come in and             But, you know, consistent poor performance, I don't
 21                                                          21
      augment us from time to time. I don't remember if           remember any issues -- having any issues with any
 22                                                          22
      we ever got any agents from other offices to come           agents when I was there.
 23                                                          23
      help. But reservists, yeah, we activated                       Q. Did you ever put a flag on anyone under
 24                                                          24
      reservists.                                                 your command while you were at Fort Stewart?
 25                                                          25
          Q. Who are some of the reservists that you                 A. I did on a support soldier that I had.




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 12 of 80

Toole, Wes                                                                                 February 26, 2016
12 (Pages 42 to 45)
                                                        42                                                          44
  1                                                          1
      She was a supply soldier, but she did not have                  Q. Was Justin Kapinus one of those more
  2                                                          2
      anything to do with investigations.                         senior agents?
  3                                                          3
          Q. So no one having to do with                              A. Yes, sir.
  4                                                          4
      investigations?                                                 Q. Would you say he was one of the top agents
  5                                                          5
          A. I'm trying to remember. Not that I can               you had there?
  6                                                          6
      remember. Not when I was there as the SAC.                      A. Yes, sir.
  7                                                          7
          Q. Do you recall an MP Investigator Devon                   Q. Anyone you put above him?
  8                                                          8
      Spencer?                                                        A. That would have been hard pressed at the
  9                                                          9
          A. Spencer. Yes, sir, I remember him.                   time. He's a good solid investigator and he was a
 10                                                          10
          Q. What do you remember about him?                      good Team Chief, also. So I thought very highly of
 11                                                          11
          A. He was the drug supression NCOIC, yes.               him.
 12                                                          12
          Q. That means non-commissioned officer?                     Q. When did you first hear the name Isaac
 13                                                          13
          A. Non-commissioned Officer in Charge, right.           Aguigui, if you can recall?
 14                                                          14
      I have a correction. I do recall. I had a DST                   A. I believe that name came up during
 15                                                          15
      Investigator by the last name of Johnston. When you         conversation with Agent Dale when he was on the drug
 16                                                          16
      mentioned DST, it jogged my memory. I don't recall          team. They were investigating, and I don't remember
 17                                                          17
      if he was flagged or not, but I removed him from            how -- the genesis of it. But they were
 18                                                          18
      investigative duties for allegations of misuse of           investigating some possible drug distribution or
 19                                                          19
      his DST credentials.                                        drug incident and uncovered this alleged conspiracy.
 20                                                          20
             Basically he got pulled over on a traffic            So it was during that conversation that I remember
 21                                                          21
      stop for being on a cell phone and whipped out his          first hearing his name.
 22                                                          22
      credentials in order to try to get out of a ticket.             Q. Okay. What did you hear about him? What
 23                                                          23
      So I relieved him from investigative duties.                do you recall hearing about him?
 24                                                          24
          Q. When was that?                                           A. That he had information regarding an
 25                                                          25
          A. Shortly after I took over. So I want to              alleged conspiracy.



                                                        43                                                          45
 1                                                           1
      say it was May or June of that year. The joys of               Q. So his name came up as a witness; is that
 2                                                           2
      command.                                                    right?
 3                                                           3
          Q. Did you ever while you were at Fort                     A. I don't recall how his name came up, in
 4                                                           4
      Stewart, change personnel who were working on a case        what capacity, but I remember it was because of that
 5                                                           5
      because you wanted to have someone different do the         case.
 6                                                           6
      investigative work?                                            Q. Now, were you aware at that time that
 7                                                           7
          A. I'm sure I did.                                      Isaac Aguigui had had prior incidents with drugs or
 8                                                           8
          Q. Can you think of any reason other than               alcohol?
 9                                                           9
      making mistakes during an investigation as to why              A. I wasn't aware at that time. Because I --
 10                                                          10
      you would remove someone from an investigation and          as the SAC, I did not routinely get involved in the
 11                                                          11
      replace that person with someone else?                      day-to-day operations of the Drug Supression Team.
 12                                                          12
          A. As a matter of practice, you mean?                   Mr. Dale would see it. So he would see, you know,
 13                                                          13
          Q. Yes.                                                 common type offenders come through. People that he
 14                                                          14
          A. Sure. Sometimes -- depending on the --               would recognize or this or that. But the name did
 15                                                          15
      again, with each case being different, having               not ring a bell with me when we first had this
 16                                                          16
      different circumstances or nuances, sometimes I'll          conversation.
 17                                                          17
      reassign a case because that agent who had that case           Q. How much do you recall about the alleged
 18                                                          18
      is overwhelmed with other cases that I can't                conspiracy that you referred to?
 19                                                          19
      reassign those and this case needs attention. So I             A. So what I remember is that Agent Dale had
 20                                                          20
      want to make sure that it goes over to someone who          told me, Hey, we have got information about some
 21                                                          21
      can afford a little bit more time and energy into           soldiers that may have conspired to rip off this
 22                                                          22
      it. Or it could be I want a more senior agent to            off-post drug dealer, a civilian. That there was
 23                                                          23
      investigate that case just because they have got            talk about, you know, having a shotgun and possibly
 24                                                          24
      more experience and be able to navigate it more             going in and, you know, taking him out and then
 25                                                          25
      successfully.                                               taking the drugs and/or money.




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 13 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                      13 (Pages 46 to 49)
                                                       46                                                           48
 1                                                            1
             So I told him -- I told Dale, I want this                A. I don't know. I assume Agent Dale and,
 2                                                            2
      investigation to stay with the Drug Supression Team.        you know, his investigators, but I can't remember
 3                                                            3
      Again, Agent Dale was one of my more senior agents          what other agents were involved. I think it would
 4                                                            4
      at the time. And because of the drug nexus, I said,         be safe for me to assume Agent Greene, who was my
 5                                                            5
      You guys are going to continue to investigate this          ASAC, would have been involved, also. Because a lot
 6                                                            6
      conspiracy, too, because I don't want to segregate          of the -- I would typically do more in-depth and
 7                                                            7
      the two. I want this to stay focused and within the         track -- obviously all of our death investigations,
 8                                                            8
      same people that have the most amount of information        SIR, Serious or Significant, trying to minimize
 9                                                            9
      on it. I told him to execute, go forward.                   acronyms here. But some of our SIR, SSI, sexual
 10                                                          10
          Q. And do you recall how well that                      assaults. And I know that I was involved in
 11                                                          11
      investigation got off at the beginning?                     reviewing this one, but I believe Agent Greene did,
 12                                                          12
          A. I remember that they were -- they                    also.
 13                                                          13
      conducted several different interviews. And I                   Q. Do you recall having any particular
 14                                                          14
      believe they -- Aguigui was one of those people that        concerns about the investigation into this alleged
 15                                                          15
      they interviewed. And they grape-lipped, obtained a         conspiracy?
 16                                                          16
      statement from him where admissions were made. And              A. I was obviously concerned about a
 17                                                          17
      then I have a hard time remembering how that case           conspiracy, you know, to commit murder, that's a
 18                                                          18
      progressed. But I do remember that they were able           significant offense. So I was concerned generally
 19                                                          19
      to kind of get at the fact that Aguigui is part of          as, you know, as an agent, that we have got a
 20                                                          20
      this conspiracy.                                            soldier conspiring here. But concerns with the
 21                                                          21
          Q. Do you recall what happened after they got           investigation itself, I can't remember any.
 22                                                          22
      at that fact?                                                   Q. Okay. So the concerns were more about the
 23                                                          23
          A. I believe we generated a status report               potential that the offense would be carried out?
 24                                                          24
      titling him as a subject and doing those normal                 A. Sure, sure.
 25                                                          25
      things. Notifying the chain of command. Back                    Q. So is it correct that you took maybe more



                                                       47                                                           49
  1                                                           1
      briefing them. Your soldier, we have information we         of an interest in this drug-related case than others
  2                                                           2
      believe your soldier is involved with this, and             because of that conspiracy to commit murder tie-in?
  3                                                           3
      providing them with that report.                                A. Yes, sir.
  4                                                           4
         Q. Did you speak with anyone in command about                Q. Did you review every like drug possession
  5                                                           5
      Aguigui?                                                    or use case that came through your office?
  6                                                           6
         A. I don't remember.                                         A. No, sir.
  7                                                           7
         Q. Were charges brought against Aguigui?                     Q. Those are some of the -- are they
  8                                                           8
         A. I don't know.                                         considered non-SSI cases?
  9                                                           9
         Q. Do you know what happened after you titled                A. Yes, sir.
 10                                                          10
      him with respect to this charge in particular?                  Q. How did you first become involved in the
 11                                                          11
         A. With respect to --                                    investigation regarding Sergeant Aguigui, Isaac
 12                                                          12
         Q. I'm sorry. With respect to the conspiracy             Aguigui's wife?
 13                                                          13
      investigation after he was titled.                              A. All right. So I don't remember who I was
 14                                                          14
         A. I mean, I believe the investigation                   called by. It was either the Duty Agent or the Team
 15                                                          15
      continued, but I don't -- I don't have a whole lot          Chief. I was informed that the soldier was found
 16                                                          16
      of knowledge on what occurred after that.                   deceased in her residence. That they were en route
 17                                                          17
         Q. Do you recall any problems with the                   to the scene. Started going through the normal
 18                                                          18
      investigation after that point?                             process. Make sure the Team Chief is here. Blah,
 19                                                          19
         A. None that I'm aware of.                               blah, blah.
 20                                                          20
         Q. Who besides Agent Dale was involved in                       So I got dressed. Got in the truck.
 21                                                          21
      that investigation, if you recall?                          Started leaving my house. And then I was called
 22                                                          22
             MS. JOHNSTON: From CID?                              while I was en route and was given the name and I
 23                                                          23
      BY MR. BROOK:                                               automatically recognized it.
 24                                                          24
         Q. From anyone, who was involved in the                      Q. Okay. What did you do when you recognized
 25                                                          25
      investigation?                                              the name?




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 14 of 80

Toole, Wes                                                                                 February 26, 2016
14 (Pages 50 to 53)
                                                       50                                                           52
 1                                                           1
          A. Proceeded as normal. I believe I                     confusing at times.
 2                                                           2
      contacted Agent Dale as well, because I knew that he           Q. As we have learned in this case. Did you
 3                                                           3
      was familiar with Aguigui and that he would be an           have any involvement in the actual investigative
 4                                                           4
      invaluable source of knowledge, you know, if there          work for the Sergeant Aguigui homicide
 5                                                           5
      was any type of -- any type of wrongdoing.                  investigation?
 6                                                           6
             Again, we -- the initial call that we got               A. So my involvement during the preliminary
 7                                                           7
      was that -- that Sergeant Aguigui was found                 phase, as I remember, I responded to the scene,
 8                                                           8
      unresponsive -- that he had contacted 911 about             which I'm required to, and will do on any death
 9                                                           9
      finding her unresponsive in the residence. That the         investigation, to ensure that the scene is being
 10                                                          10
      MPs showed up. He was hysterical, had to be                 processed adequately. That roles and
 11                                                          11
      restrained. So it was kind of a mess when our               responsibilities are assigned. That evidence is
 12                                                          12
      agents first got there, you know, just with the             being identified and collected correctively and give
 13                                                          13
      emotion of what the MPs were dealing with at the            kind of overall guidance.
 14                                                          14
      time.                                                             So aside from -- the only other -- the
 15                                                          15
             But I contacted Agent Dale, because I                normal duties of a SAC in terms of making certain
 16                                                          16
      knew, Hey, if we -- we look at every death                  coordinations, conducting reviews, providing
 17                                                          17
      investigation as if it's a homicide from the very           guidance, the only investigative activity I can
 18                                                          18
      beginning and then make the determination on how the        recall in that. I believe I had a conversation with
 19                                                          19
      person died as a rule of exclusion. Ideally once            a mother, I think it was a mother of one of
 20                                                          20
      you rule out any type of criminality, then we can           Aguigui's friends that called with concern -- she
 21                                                          21
      fall on whether it was natural, accidental or               had concern that Aguigui may have bought some type
 22                                                          22
      suicide. That's kind of why I proceeded that way.           of medicine or something to cause -- to cause
 23                                                          23
             Contacted Agent Dale. I wanted his                   Sergeant Aguigui to have an allergic reaction.
 24                                                          24
      knowledge of Aguigui to be able to help inform the             Q. When was that call?
 25                                                          25
      investigative process.                                         A. I want to say it was a few days after,



                                                       51                                                           53
  1                                                           1
         Q. Was Dale actually assigned to the case in             something like that, yeah.
  2                                                           2
      any capacity?                                                  Q. A few days after the death?
  3                                                           3
         A. I don't think he was.                                    A. Uh-huh.
  4                                                           4
         Q. Do you recall whether you ever saw his                   Q. Did you conduct any other interviews?
  5                                                           5
      name mentioned in the CAS when you reviewed it?                A. Not that I'm aware of.
  6                                                           6
         A. I don't recall.                                          Q. You spoke with Isaac Aguigui on several
  7                                                           7
         Q. Did you ask Dale to speak with anyone in              occasions, correct?
  8                                                           8
      particular that was working the homicide                       A. I think so.
  9                                                           9
      investigation?                                                 Q. Those were not interviews, right?
 10                                                          10
         A. I think I did. I think I told him, plug                  A. No.
 11                                                          11
      in with Agent Kapinus or Agent Fox. Yeah.                      Q. What were the purpose of those
 12                                                          12
         Q. Beside agents Kapinus and Fox, do you                 conversations?
 13                                                          13
      recall anyone else who was heavily involved in                 A. What we call CLOers. Casualty Liaison
 14                                                          14
      investigating it while you were at Fort Stewart?            Officers. So CID has a requirement that the SAC
 15                                                          15
         A. I know Agent Mahon was involved in at                 perform the role of a causal liaison for the
 16                                                          16
      least the preliminary or during the crime scene. I          investigative process. So we are required to keep
 17                                                          17
      don't remember who else was really heavily involved.        the primary next of kin informed on the progress of
 18                                                          18
         Q. Do you know the name of Elizabeth Dale?               the investigation. But not necessarily conduct
 19                                                          19
         A. Sure. Yes, sir.                                       interviews of them.
 20                                                          20
         Q. Was she also involved in that?                           Q. Is it something that you've done in other
 21                                                          21
         A. If her name was in the case, I would have             cases where you have conducted a CLO interview or --
 22                                                          22
      to say so.                                                     A. Brief.
 23                                                          23
         Q. Was there any relation between her and                   Q. -- CLO brief with someone who is also a
 24                                                          24
      Andrew Dale?                                                person of interest in the investigation?
 25                                                          25
         A. No, no relation. Coincidental and very                   A. I'm trying to think. I feel like I have




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 15 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                      15 (Pages 54 to 57)
                                                        54                                                         56
  1                                                           1
      done that before, but I can't remember a specific           earlier when we were talking about Investigative
  2                                                           2
      example, no.                                                Plans, it's a living, breathing document. And
  3                                                           3
          Q. Is it fair to say it's relatively unusual?           because every case is fluid and because a case will
  4                                                           4
          A. Yes, sir.                                            sometimes be assigned to a different agent, they may
  5                                                           5
          Q. Were you involved in preparing the                   keep the Investigative Plan that they have but then
  6                                                           6
      Investigative Plan for this investigation?                  add to it or then supplement it with additional
  7                                                           7
          A. I don't remember if I was involved in                leads of their own that they identify.
  8                                                           8
      preparing the Investigative Plan, but I certainly               Q. Is that something that happened in your
  9                                                           9
      would have been involved in reviewing it. Making            experience where something will be put on the
 10                                                          10
      sure that no leads had been missed or trying to help        Investigative Plan to do but they decide not to do
 11                                                          11
      tailor it. That's typically what I would do in any          it?
 12                                                          12
      investigation, I review -- any preliminary that I               A. Uh-huh. Yes.
 13                                                          13
      review is review that Investigative Plan. Make sure             Q. What happens to that? What happens to
 14                                                          14
      that it's adequate. Make sure they are on the right         that, does the Investigative Plan get updated in
 15                                                          15
      track to identify the right type of leads.                  some way to reflect that?
 16                                                          16
          Q. I'm showing you what's been previously                   A. It can.
 17                                                          17
      marked as Exhibit 25. Do you recognize that                     Q. So let me ask you about, for example, on
 18                                                          18
      document?                                                   the page one when there's a date on the right, am I
 19                                                          19
          A. I do.                                                correct in saying that means that was completed on
 20                                                          20
          Q. And what is it?                                      that date?
 21                                                          21
          A. It's an Investigative Plan for CID ROY                   A. That typically means when that activity
 22                                                          22
      279-11-CID093.                                              was completed.
 23                                                          23
          Q. Okay. And this indicates that the subject                Q. And what does it mean to you to see sort
 24                                                          24
      victim was Deidre Aguigui, correct?                         of a line through the box next to, obtain MP report?
 25                                                          25
          A. That's what it says here.                                A. What I take that to mean when I see the



                                                        55                                                         57
  1                                                           1
           Q. And it says undetermined death?                     line through is that it's either no longer an issue,
  2                                                           2
           A. Yes, sir.                                           it's been resolved, or a supervisor had determined,
  3                                                           3
           Q. And the date in the upper left, does that           Hey, that's not required.
  4                                                           4
      mean that's when the date when all of this was typed            Q. What about a blank space?
  5                                                           5
      up?                                                             A. When I see a blank space on an IP, I take
  6                                                           6
           A. That's usually -- the date in the upper             that to mean that hadn't been done yet.
  7                                                           7
      left is usually the day that the IP is developed.               Q. And there's nothing to indicate when
  8                                                           8
           Q. So it's not the date of the --                      there's a blank space and no line, that that's
  9                                                           9
           A. The date of the offense. Date of                    something they no longer intend to do; is that
 10                                                          10
      notification or date of events.                             right?
 11                                                          11
           Q. I see it continues on the second page and               A. Not from just reading this Investigative
 12                                                          12
      it looks like it's then started fresh after that on         Plan, no, sir.
 13                                                          13
      page three; is that right?                                      Q. Now, if something was no longer part of
 14                                                          14
           A. On page three. The page three that I'm              the Investigative Plan, would you expect to see that
 15                                                          15
      looking at appears to be the same leads.                    noted on the Investigative Plan?
 16                                                          16
           Q. There's different handwriting?                          A. Me, personally -- are you asking me
 17                                                          17
           A. Yes, sir.                                           personally or a requirement?
 18                                                          18
           Q. And on page four, that seems to be the                  Q. Well, let me ask you that. Is there a
 19                                                          19
      continuation from page three; is that right?                requirement to note that on the Investigative Plan?
 20                                                          20
           A. It seems that way, yes, sir.                            A. Not that I'm aware of.
 21                                                          21
           Q. Is this typical to see sort of the same                 Q. Is there a requirement to note that in the
 22                                                          22
      but somewhat different -- similar but different             CAS?
 23                                                          23
      Investigative Plans, you know, right next to each               A. If the case is being closed, what we call
 24                                                          24
      other in a case file?                                       a final C, meaning that there are additional leads
 25                                                          25
           A. It's not unusual, sir. As I stated                  being done, but they are no longer required because




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 16 of 80

Toole, Wes                                                                                 February 26, 2016
16 (Pages 58 to 61)
                                                        58                                                          60
  1                                                          1
      we have, you know, been able to prove or disprove           discuss their line of reasoning. If I agree with
  2                                                          2
      either way, then there's a requirement to list those        it, good to go.
  3                                                          3
      additional leads at the conclusion of the case in               Q. In you don't agree with it, can they just
  4                                                          4
      the CAS.                                                    ignore the requirement?
  5                                                          5
          Q. Now, having looked at this, do you recall                A. If they have been given guidance and don't
  6                                                          6
      now whether you were involved in preparing this or          do that, are they allowed to just ignore it, is that
  7                                                          7
      just reviewing it?                                          the question?
  8                                                          8
          A. Probably just reviewing it, sir. I'm sure                Q. Yes.
  9                                                          9
      I had some level of involvement in helping develop              A. No, not without some type of overriding
 10                                                          10
      it, because I'm sure I gave guidance. We are going          reasoning or discussion. I mean, it's -- the Case
 11                                                          11
      to make sure that this is in the IP, make sure that         Agent often has the most intimate knowledge of that
 12                                                          12
      is here. But in terms of sitting down with the              case and the intricacies of it with each case being
 13                                                          13
      person doing that, probably not. I probably gave            different and fluid. You know, the Case Agent and
 14                                                          14
      guidance and they acted on that.                            Team Chief will often discuss leads. And this is
 15                                                          15
          Q. I want to direct your attention to the               just what I see typically. The Case Agent and Team
 16                                                          16
      middle of page one. There are a couple of items             Chief may discuss certain leads and the Team Chief
 17                                                          17
      there that are blank that are also blank on page            is giving them guidance, but without going back to
 18                                                          18
      three. Those are the conduct candid interviews of           the SAC. And I'm just using my own experience as an
 19                                                          19
      D. Aguigui's unit and I. Aguigui's unit. Do you             example here where I will see something -- so let's
 20                                                          20
      recall any discussions about whether canvas                 say I'm reviewing a case whenever it's getting ready
 21                                                          21
      interviews should be conducted in connection with           for closure. And I see on there, Hey, I identified
 22                                                          22
      the Deidre Aguigui investigation?                           this as a potential lead, you know, a couple of
 23                                                          23
          A. I don't recall discussions about canvas --           months ago, you guys haven't done that yet. Well,
 24                                                          24
      let me rephrase that.                                       Chief, it's because we found out x, y or z but we
 25                                                          25
             I recall discussions about canvas                    just never got back with you to explain that to you.



                                                        59                                                          61
 1                                                            1
      interviews of the neighborhood surrounding the death        Okay. I understand. It's not done in a malicious
 2                                                            2
      scene at the time. Absolutely. I don't recall               or a way to just completely disregard guidances,
 3                                                            3
      additional discussion on canvas interviews aside            because it was no longer relevant or they did not
 4                                                            4
      from that.                                                  think it was relevant anymore.
 5                                                            5
          Q. Are canvas interviews of a person of                     Q. Now, you said it wasn't standard practice
 6                                                            6
      interest's unit something that is standard practice?        to conduct canvas interviews of a unit for someone
 7                                                            7
          A. I wouldn't say standard practice. It's               who is a person of interest. But is it something
 8                                                            8
      one lead that could assist, but it's all depending          that is usual?
 9                                                            9
      on the situation and where the investigation is at              A. I wouldn't say that it's a standard or
 10                                                          10
      that point. You know, it's certainly a lead to              that it's unusual. It's a lead. It's something --
 11                                                          11
      consider, but it's not a though shalt, if you will.         you know, there's two types of -- two types of
 12                                                          12
          Q. If you as the SAC tell someone to conduct            general evidence that we also consider in any
 13                                                          13
      canvas interviews in a case and that person is below        investigation; there's physical evidence and
 14                                                          14
      you --                                                      testimonial evidence. And, you know, we try to
 15                                                          15
          A. Sure.                                                identify all those leads within both categories that
 16                                                          16
          Q. -- does that person have to go do that if            should be considered. Doesn't mean they are always
 17                                                          17
      you tell them to do it?                                     going to be done, but we should at least consider
 18                                                          18
          A. Yes. But if, if, there's a reason why                them.
 19                                                          19
      they think that it shouldn't be done, then we have              Q. So that I understand it. When you talk
 20                                                          20
      that conversation. I'll often put direction in a            about -- when this document, for example, talks
 21                                                          21
      case file to, Hey, make sure that you do x, y and z,        about canvas interviews of a soldier's unit, how
 22                                                          22
      and that Team Chief or that agent will come, Hey,           many people are we talking about getting canvased
 23                                                          23
      Chief, I saw you directed this, but here's a reason         there?
 24                                                          24
      why I don't think we need to do this. But I think               A. The term unit is ambiguous. Because
 25                                                          25
      we should, but we need to wait. And we would                obviously someone is assigned to a 4,000 soldier




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 17 of 80

Toole, Wes                                                                                 February 26, 2016
                                                                                       17 (Pages 62 to 65)
                                                         62                                                         64
  1                                                           1
      brigade or someone is in a squad. Usually what that          And it was short in duration. Usually a minute or
  2                                                           2
      means is those people that are in the unit with,             so. Because I made the decision that I'm not going
  3                                                           3
      that they are closes to, who would have more                 to provide in-depth details about the status of the
  4                                                           4
      information in terms of their demeanor at work, but          investigation, because we had not ruled him out.
  5                                                           5
      also maybe their demeanor and behavior outside of            Because we did not even know what the cause of death
  6                                                           6
      work. So usually it's a squad or a platoon size.             was yet. And we had not ruled him out. So I
  7                                                           7
         Q. Is it possible that somebody in CID might              decided I was only going to brief him insofar to
  8                                                           8
      have seen this part of the Investigative Plan and            tell him the investigation is still ongoing and the
  9                                                           9
      thought, I'm not going to interview a thousand               autopsy has or has not been completed. So they were
 10                                                           10
      people?                                                      very brief interactions, not really not long enough
 11                                                           11
              MS. JOHNSTON: Objection. Calls for                   to develop any suspicions other than what I had
 12                                                           12
         speculation.                                              already formed about him.
 13                                                           13
         A. I highly doubt that any agent who saw that                 Q. If he made any remarks that you thought
 14                                                           14
      on there, thought, darn, I've got to interview a             were suspicious, is that something you would have
 15                                                           15
      thousand people. If I received this as a Case Agent          noted in the CIS?
 16                                                           16
      and said, Conduct canvas interviews of Aguigui's                 A. If he made any remarks that I felt were
 17                                                           17
      unit, I would interpret that to mean those people            suspicious, is that what you're saying?
 18                                                           18
      that that they work with on a regular routine base.              Q. Yes.
 19                                                           19
         Q. For example, Aguigui was assigned to                       A. It's possible that I would have put it
 20                                                           20
      something called the S-2 section or unit, would that         into the CAS.
 21                                                           21
      be the place to start?                                           Q. Can you think of any reason, besides
 22                                                           22
         A. If I were to be given that guidance to                 making remarks for a suspicious, as to why you would
 23                                                           23
      interview Aguigui's unit, I would start with those           quote things that Isaac Aguigui said to you in the
 24                                                           24
      people that she worked with on a regular and routine         CAS?
 25                                                           25
      basis.                                                           A. I don't know. Without the benefit of



                                                         63                                                         65
  1                                                            1
          Q. As you sit here today, can you think of               having the CAS in front of me to look at, I'm not
  2                                                            2
      any reason or recall any reason why canvas                   entirely sure what you're asking.
  3                                                            3
      interviews, such as those mentioned on this                      Q. Did you ever interact with Isaac Aguigui
  4                                                            4
      Investigative Plan, were not conducted in this case?         at the scene of the crime?
  5                                                            5
          A. Without the benefit of having the entire                  A. I think I did a couple of times. Because
  6                                                            6
      case to look at, I don't know.                               we were holding that scene basically indefinitely.
  7                                                            7
          Q. When you spoke with Isaac Aguigui as part             And there were some personal effects that he needed
  8                                                            8
      of the CLO brief, did you notice any behavior that           to get out of there. I remember at one time he
  9                                                            9
      you thought was suspicious?                                  needed to get his dress uniform out for the memorial
 10                                                           10
          A. Can you further define what you mean by               service. So I believe that I was present one of
 11                                                           11
      suspicious behavior?                                         those times in order to escort him into the
 12                                                           12
          Q. I would say whatever you define as. Was               residence and escort him back out and resecure it.
 13                                                           13
      anything about his behavior something that made you              Q. Was it standard practice to close off a
 14                                                           14
      more or less suspicious about whether he was                 scene where there was a death investigation going
 15                                                           15
      involved in --                                               on?
 16                                                           16
          A. My interactions with Aguigui through these                A. Yes.
 17                                                           17
      CLO briefs were either in passing or telephonic. By                 (Exhibit 28 marked.)
 18                                                           18
      in passing, you know, as he was there at the office          BY MR. BROOK:
 19                                                           19
      being interviewed during the preliminary phase of                Q. I'm showing you what's been marked as
 20                                                           20
      this. I would have briefly interacted with him,              Exhibit 28. It's bearing Bates number JAHR0001475.
 21                                                           21
      explained to him who I was, what my role was and             Do you recognize this document?
 22                                                           22
      kind of what the process is going to be in general               A. I do.
 23                                                           23
      terms.                                                           Q. What is it?
 24                                                           24
             After that, as far as I can remember, I                   A. This is a memorandum for Second Lieutenant
 25                                                           25
      think all of our contact had been over the phone.            Andrea M. Ruth, Summary Court Martial Officer,




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 18 of 80

Toole, Wes                                                                               February 26, 2016
18 (Pages 66 to 69)
                                                       66                                                         68
  1                                                           1
      assigned by myself.                                         evidence deposit?
  2                                                           2
         Q. What was the purpose of this document?                    A. So if an agent collects evidence, they
  3                                                           3
         A. As I read this, this is the memorandum                have to -- that evidence has to be processed into
  4                                                           4
      generated to inform necessary parties of scene              the evidence room by the end of the next duty day.
  5                                                           5
      control at that address, at the death scene.                    Q. And the lab results, does that include
  6                                                           6
         Q. Now, this is dated September 8th, 2011; is            things like DNA test on potential suspects or what?
  7                                                           7
      that right?                                                     A. That's one example. We are required to
  8                                                           8
         A. That's the date, yes, sir.                            submit a lab request to wherever it's going to be
  9                                                           9
         Q. So this is almost two months after the                tested at within five working days from when that
 10                                                          10
      death occurred, correct?                                    determination is made, that the request needs -- or
 11                                                          11
         A. Yes, sir.                                             that the exam needs to be done.
 12                                                          12
         Q. Now, why was the memo being generated at                  Q. And the next line it has the acronym RAF,
 13                                                          13
      that date?                                                  is that Request for Assistance?
 14                                                          14
         A. I'm trying to remember this. I think this                 A. Yes.
 15                                                          15
      was because, a way this is -- I'm trying to piece               Q. And being sent out to other CID officers;
 16                                                          16
      together why the general -- I don't always have to          is that right?
 17                                                          17
      generate or don't always have a requirement to                  A. Yes, sir.
 18                                                          18
      generate a memorandum if we are keeping a scene.                Q. Is that term ever used to request
 19                                                          19
      But if I remember right, there was still personal           assistance from non-CID agencies?
 20                                                          20
      effects inside that house. And it is unusual for us             A. It could be another military criminal --
 21                                                          21
      to hold a -- have to hold a death scene for that            like NCIS or OSI, we may reach out to them to
 22                                                          22
      long. But because of the fact that the cause of             request for assistance if they are closer to where
 23                                                          23
      Sergeant Aguigui's death was still undetermined, I          that activity is.
 24                                                          24
      was not comfortable releasing anything. And so I --             Q. When it says meaningful inactivity, I
 25                                                          25
      I want to say that this memo was generated to               guess that's investigative activity?


                                                       67                                                         69
  1                                                           1
      basically explain to the Summary Court Martial                  A. Yes, sir.
  2                                                           2
      Officer, look, kind of as a cover for them -- not a             Q. So ten duty days, does that mean ten duty
  3                                                           3
      cover for them. A way to absolve the Summary Court          days from the date of the offense, what does that
  4                                                           4
      Martial Office. Because they are the ones                   mean?
  5                                                           5
      responsible for gathering up all the personal                   A. So what that means, the ten duty days,
  6                                                           6
      effects, getting them back to next of kin. Things           that we have a requirement to accomplish what's
  7                                                           7
      like that too. So it's basically a way that she             termed as meaningful investigative activity, at
  8                                                           8
      could say, Look, the CID agents will not release the        least once every ten duty days in every
  9                                                           9
      scene, so I can't recover everything.                       investigation. So that's the maximum amount of time
 10                                                          10
             MR. BROOK: Let's go off the record.                  that an agent can go without having done something
 11                                                          11
             (Off the record.)                                    what they term as meaningful. And I used air quotes
 12                                                          12
      BY MR. BROOK:                                               there, but meaningful in that case. Sorry.
 13                                                          13
          Q. I'd like you to look back at Exhibit 25,                 Q. Great job with getting on the record as
 14                                                          14
      which should still be in front of you. Just, if you         far as the air quotes.
 15                                                          15
      can explain to me, what the purpose of the lower                   So meaningful, I think what you meant by
 16                                                          16
      right box investigative standard is.                        that, correct me if I'm wrong, is it's subject to
 17                                                          17
          A. Okay. So the investigative standards box             determination?
 18                                                          18
      that's on this Investigative Plan, it's basically               A. Yes, sir.
 19                                                          19
      kind of a quick reference for the case agents to                Q. But whether activity of any kind occurred
 20                                                          20
      remind them of certain triggers. These are                  or not, that's something that you could objectively
 21                                                          21
      standards that are outlined in CID Regulations 195-1        say, right?
 22                                                          22
      for timeliness of investigative activity. So it's               A. Yes, sir.
 23                                                          23
      kind of used as like a quick reference card for                 Q. Now, is it possible that there's
 24                                                          24
      them.                                                       meaningful investigative activity that doesn't get
 25                                                          25
          Q. Okay. And what does it mean when it says             recorded in the CAS?




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 19 of 80

Toole, Wes                                                                                  February 26, 2016
                                                                                        19 (Pages 70 to 73)
                                                         70                                                          72
 1                                                            1
           A. It's absolutely possible, yes, sir.                  not documented within five duty days, it has to go
 2                                                            2
           Q. Where would it be recorded or memorialized           on as a delayed entry.
 3                                                            3
      if it was not on the CAS?                                          So it was really office by office, case by
 4                                                            4
           A. If it was not on the CAS, it could be                case, supervisor by supervisor. Different people
 5                                                            5
      recorded within the Case Agent's notes or within the         had different standards on what they wanted put in
 6                                                            6
      agent's investigative report, the AIR.                       as a delayed entry versus what was put in as an
 7                                                            7
           Q. Now, if someone is supervising -- like the           actual time.
 8                                                            8
      Team Chief told the Case Agent that I guess that                Q. Did you set standards for the people
 9                                                            9
      there's a lack of information in the CAS for a given         working in your office?
 10                                                           10
      period of time and that needs to be corrected or                A. On delayed entries, I'm confident I did.
 11                                                           11
      explained, is that something that the Case Agent             But to be honest with you, I can't remember what
 12                                                           12
      would then have to put into the CAS if there was             standard we had set there. And usually the
 13                                                           13
      meaningful activity in that period?                          standards that would be set, it wouldn't be by what
 14                                                           14
           A. Yes, sir. If a case agent failed to                  Wes Toole is comfortable with. I would try to
 15                                                           15
      document something that they did within the CAS and          generally get consensus from the Team Chiefs on what
 16                                                           16
      a supervisor brought it to their attention, that             they felt reasonable and then we would come to an
 17                                                           17
      agent would then need to go in, you know, either put         agreement, Yeah, I think that's reasonable to expect
 18                                                           18
      the entry in or provide a delayed entry in in order          an agent to put it in then. But I can't remember
 19                                                           19
      to make sure that that information is captured.              what our office standard was at the time.
 20                                                           20
      It's a quite common occurrence as agents are going              Q. Was it common practice for the Case Agent
 21                                                           21
      out conducting investigative activity, sometimes             or Team Chief to input investigative work that was
 22                                                           22
      they forget to document something that they did and          being done by other people into the CAS?
 23                                                           23
      they are reminded later, Hey, you did not document              A. Sure. Yes, sir. Well, I should clarify
 24                                                           24
      that. So it's not uncommon.                                  that. By common I mean, it's not unusual or it's
 25                                                           25
           Q. Is it possible within the ACI2 system two            not unheard of it. It's more common to see that



                                                         71                                                          73
 1                                                            1
      weeks after an event, say, to go back in and put             during the preliminary phase where I may have -- I'm
 2                                                            2
      something in with a date that is accurate in the             just using an example again. I may have five agents
 3                                                            3
      system?                                                      out doing five different things and I'm assisting by
 4                                                            4
          A. It is possible, yes, sir.                             kind of documenting. As they are coming and telling
 5                                                            5
          Q. And so when would an agent do what I just             me things, Hey, you just keep going and I'll
 6                                                            6
      described in my last question versus labeling                document in here. But you usually don't see it as
 7                                                            7
      something a delayed entry?                                   much after the preliminary phase. It's not really
 8                                                            8
          A. So at the time of this case when I was at             common, but it's not unusual to see it, either.
 9                                                            9
      Fort Stewart, there was no clear guidance on when               Q. Have you ever seen it where a Team Chief
 10                                                           10
      you could -- how long you had before it had to               always inputs for investigative activity for someone
 11                                                           11
      become a delayed entry. Okay. So let's say, and              who is investigating underneath them?
 12                                                           12
      I'm just using an example here, if it's all right.              A. I have seen that before. You will
 13                                                           13
          Q. Please.                                               typically see that with someone who has some type of
 14                                                           14
          A. Let's say I interviewed you yesterday, but            access issue with Alerts or -- I'm sorry, our new
 15                                                           15
      I was busy in five other cases, I did not have a             system is Alerts. The previous system then was
 16                                                           16
      chance to sit down and document it. If I document            ACI2. So if I had an agent who -- let's say a
 17                                                           17
      it today and go in there, it's okay for me to put --         reserve agent, for example. Their ACS2 account may
 18                                                           18
      enter it on the date that it was actually done.              not be activated yet. You know, so they are more
 19                                                           19
            Now, before at this time, whenever I was               than capable of doing the investigative activity,
 20                                                           20
      at Stewart, I think the term was a reasonable amount         but because it's taking time to get their account
 21                                                           21
      of time. That if the activity wasn't conducted in a          activated, the Team Chief will often put the
 22                                                           22
      reasonable amount of time, then the agent would make         information in for them. And we see that with Drug
 23                                                           23
      a delayed entry. Again, the term reasonable, same            Supression Teams also, where the guys are just
 24                                                           24
      as meaningful, is a subjective standard. So since            waiting on their account to get activated but they
 25                                                           25
      then CID has further clarified, I believe if it's            are actively doing work.




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 20 of 80

Toole, Wes                                                                               February 26, 2016
20 (Pages 74 to 77)
                                                      74                                                           76
  1                                                          1
          Q. Using the ACI2 system, is it correct that           BY MR. BROOK:
  2                                                          2
      each person had their own sort of dedicated log-in            Q. On page two.
  3                                                          3
      to it?                                                        A. I don't see anything on page two referring
  4                                                          4
          A. Yes.                                                to a name check on Isaac Aguigui.
  5                                                          5
          Q. So you could not create an entry on the                Q. Do you recall any reason why a name check
  6                                                          6
      CAS for someone else's name; is that right?                would not have been done on Isaac Aguigui?
  7                                                          7
          A. Again, I'm putting myself back at the time             A. I wasn't the one doing these checks or
  8                                                          8
      of Fort Stewart, because it's a different system           doing this investigation on page one, so I don't
  9                                                          9
      now. At the time an agent could not -- and you             know why it would or would not have been done.
 10                                                         10
      still can't, you can't log-in as someone else. But            Q. Do you know whether Agent Dale had a
 11                                                         11
      I believe at the time in ACS-2 I could go in and           previous relationship with Isaac Aguigui before this
 12                                                         12
      basically create activity for that person to where         investigation began?
 13                                                         13
      I'm logging in, but I'm saying that this agent                A. Can you define what you mean by
 14                                                         14
      conducted this activity. So if I remember correctly        relationship?
 15                                                         15
      when you look in the system, it would still show              Q. Did he have knowledge of him as a person?
 16                                                         16
      that I entered it, but on behalf of someone else. I           A. I believe that he did, but I can't recall
 17                                                         17
      hated that system.                                         exactly to what extent that was. I think he may
 18                                                         18
          Q. When did the system change?                         have been involved in a previous drug investigation,
 19                                                         19
          A. It changed over in April of 2015.                   but I could not tell you the details of it.
 20                                                         20
          Q. You said that you're still able to access              Q. Do you recall that there was a
 21                                                         21
      files that were created with that system, right?           confidential informant that was involved in this
 22                                                         22
          A. Yes, sir.                                           case?
 23                                                         23
          Q. And have those been moved over to the new              A. I'm looking on page one right now, and I
 24                                                         24
      system?                                                    see as the first CAS entry basis for investigation,
 25                                                         25
          A. Well, I mean, you can still retrieve                that a CID source is registered. So based on



                                                      75                                                           77
  1                                                          1
      anything that was put in under that system or the          reading that, I would say, yes, there was some type
  2                                                          2
      one -- the Legacy system before that. You can still        of source involvement in this case.
  3                                                          3
      retrieve it because it's all within the same                   Q. Do you have any recollection of that as we
  4                                                          4
      repository, but it's just -- there's a different           sit here today?
  5                                                          5
      interface. Yeah, a different interface.                        A. Yes, sir.
  6                                                          6
         Q. For example, when you were pulling up the                Q. Okay. Do you recall what the CID source's
  7                                                          7
      CAS for the Deidre Aguigui investigation, you used         relationship was with Isaac Aguigui?
  8                                                          8
      the new system to do that?                                     A. I don't recall.
  9                                                          9
         A. Yes, sir.                                                Q. Do you recall that the CID source, though,
 10                                                         10
         Q. I'm going to hand you what's been                    was connected with Isaac Aguigui and not with the
 11                                                         11
      previously marked as Exhibit 11. In previous               other individuals that were being investigated?
 12                                                         12
      depositions it's been established that this is the             A. I don't recall what the source's
 13                                                         13
      CAS or sometimes referred to as AAS for the                connection was with any of these subjects of this
 14                                                         14
      conspiracy to commit murder investigation. Does            case.
 15                                                         15
      that look correct to you?                                      Q. Do you recall whether at some point you or
 16                                                         16
         A. Yes, sir, it looks correct.                          others in your office developed concerns about the
 17                                                         17
         Q. I'd like you to turn to the second page.             reliability of the CID resource?
 18                                                         18
      This reflects that there were name checks done by              A. Without the benefit of having reviewed the
 19                                                         19
      Agent Dale for Nicholas Arranyos and Steven Lloyd,         case, I don't recall having any concerns as I sit
 20                                                         20
      correct?                                                   here today. But --
 21                                                         21
         A. Yes.                                                     Q. I'd like to direct your attention to page
 22                                                         22
         Q. It does not reflect a name check being               three. This is the SAC review, right?
 23                                                         23
      done for Isaac Aguigui?                                        A. Yes, sir.
 24                                                         24
             MS. JOHNSTON: On page two?                              Q. Was it common for you to conduct a SAC
 25                                                         25
                                                                 review the day after an investigation begins?




                                 Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 21 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                      21 (Pages 78 to 81)
                                                       78                                                          80
  1                                                           1
          A. On -- again, depending on the type of                to the CIC?
  2                                                           2
      investigation, the type of offense that's under                 A. So the way that this reads, was that it
  3                                                           3
      investigation, I'll typically put a review in before        went right back to Agent Dale. It doesn't look like
  4                                                           4
      an initial report is sent out.                              I documented that it was going over to the CIC. And
  5                                                           5
          Q. Now in an initial report, who was that               I'm trying to see -- yeah. So more than likely what
  6                                                           6
      sent to?                                                    happened, and this is not unusual or uncommon,
  7                                                           7
          A. So as discussed earlier, the initial                 either typically you would want the CIC to be able
  8                                                           8
      report or any CID reports, it's all going to be             to review the investigation right after the initial
  9                                                           9
      dependent upon the nature of the offense being              report is. That's typically how we try to make the
 10                                                          10
      investigated. The subject or suspects that are              case flow through the office. Again, because every
 11                                                          11
      under investigation. It may also depend on                  case is different, every case is unique, what will
 12                                                          12
      whether -- whether there's any type of undercover           often occur. If I don't want that case to go over
 13                                                          13
      activity or if we are concerned about the compromise        to the CIC review yet, meaning that it's more time
 14                                                          14
      of information. If that's the case, it would not be         away and out of the agent's hand, I will often get
 15                                                          15
      uncommon to have a report restricted to CID only.           it directly back to the agent so they continue
 16                                                          16
      You know, and I'll give you an example.                     working that investigation and work the CIC review
 17                                                          17
             If a soldier is under investigation but              in during the life of the case.
 18                                                          18
      does not know that CID is investigating them yet,               Q. Are CIC reviews required under CID?
 19                                                          19
      we'll often restrict that report to CID only. Just              A. Yes, sir.
 20                                                          20
      so that someone else who is another authorized                  Q. How soon after a case begins is there a
 21                                                          21
      recipient doesn't inadvertently make them aware of          CIC review required?
 22                                                          22
      it. But then we'll unrestrict it once the person                A. The regulatory requirement for CIC reviews
 23                                                          23
      knows they are under investigation. So that's why I         is that at a minimum they will be conducted upon
 24                                                          24
      say, it's really a situation dependent.                     initiation and then upon completion. And then it's
 25                                                          25
          Q. The line entry above SAC review, is                  suggested it should occur during the life of the



                                                       79                                                          81
  1                                                           1
      that -- it says send investigative report for               investigation, as well.
  2                                                           2
      approval. Is that referring to the initial report              Q. Okay. So if a CIC review does not occur
  3                                                           3
      you just mentioned?                                         say within the first month of an investigation, is
  4                                                           4
          A. Yes, sir. That's an automated message.               that something that is in violation of that
  5                                                           5
      That's not something that I manually entered in.            regulation?
  6                                                           6
      Once I hit send on that report, it creates a CAS               A. Well, as I said earlier, it says that it
  7                                                           7
      entry for me basically saying that that report was          should be reviewed upon the initiation and prior to
  8                                                           8
      sent. And then it looks like I put in my review             completion. But then there's also everything is
  9                                                           9
      immediately thereafter or documented my review              case dependent. If there's a reason, i.e., whether
 10                                                          10
      immediately thereafter.                                     the CIC is out of the office, whether or not she or
 11                                                          11
          Q. And up above the send investigative report           he is burdened with additional duties. You know,
 12                                                          12
      for approval, there's an entry referring to how             there's a number of reasons that would influence
 13                                                          13
      Andrew Dale drafted the initial report; is that             that. So while it is a requirement, there is always
 14                                                          14
      right?                                                      exceptions to those requirements. And if operations
 15                                                          15
          A. Yes, sir.                                            necessitate that that CIC review not be done within
 16                                                          16
          Q. The last part of that says, file to SAC,             the first few days or first month or so, then it's
 17                                                          17
      then CIC for review?                                        not the ideal, but it's not prohibited, either.
 18                                                          18
          A. That's right.                                           Q. Let me ask you to go back briefly to
 19                                                          19
          Q. That's why you have SAC review here?                 Exhibit 25. It's the Investigative Plan.
 20                                                          20
          A. Yes, sir.                                               A. Yes, sir.
 21                                                          21
          Q. At end of your review on page four, it                  Q. What does it mean at the bottom right of
 22                                                          22
      says that you sent it. It says, to SA Dale for              that box we were looking at where it says, action
 23                                                          23
      continuation?                                               taken, 30 calendar days?
 24                                                          24
          A. Yes, sir.                                               A. Okay. So what that means is this is
 25                                                          25
          Q. Does that mean that you did not send it on           really for dispatch of DA Form 4833. I mentioned




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 22 of 80

Toole, Wes                                                                                February 26, 2016
22 (Pages 82 to 85)
                                                        82                                                          84
  1                                                           1
      that earlier. That's the Commander's report of                  Q. But not necessarily 24 hours after the
  2                                                           2
      disciplinary action taken. So once we close an              crime occurred?
  3                                                           3
      investigation and that 4833 is sent to a Commander,             A. Yes, sir, that's correct.
  4                                                           4
      we have 30 days to get a response back. If we don't             Q. And so for that, in that RFA follow up, it
  5                                                           5
      receive that 4833 back within 30 days, then we have         says 15 duty days, that means 15 duty days after
  6                                                           6
      to issue second notice or reminder. Again, it's             sending the RFA?
  7                                                           7
      another card, kind of a trigger to assist the IST,              A. Yes, sir.
  8                                                           8
      Hey, I have 30 days to get this 4833 back.                      Q. I'd like to now go back -- sorry to jump
  9                                                           9
          Q. And how about the line above that, unknown           around -- to page three of Exhibit 11, your SAC
 10                                                          10
      subject, finals?                                            review. It says that you believe there's credible
 11                                                          11
          A. So at the time of the investigation the              information to believe Boyd committed the offense of
 12                                                          12
      regulation required that final reports -- if you had        communicating a threat and solicitation to commit
 13                                                          13
      a subject in a case where it was an unknown or if           murder. So is it correct that you titled him for
 14                                                          14
      you had a case where there was an unknown subject,          the offense at that point?
 15                                                          15
      once the determination was made that the case was               A. Without having the benefit of looking at
 16                                                          16
      going to be closed, the agent had 30 days to get all        the report that was dispatched on 18 May, usually --
 17                                                          17
      the final report built and all the exhibits together        I'm reading here that I'm concurring there's
 18                                                          18
      for dispatch and final report to be sent 30 days            credible information. So typically that would be a
 19                                                          19
      from the day the SAC said close it.                         trigger for titling somebody.
 20                                                          20
          Q. And what about unfounded finals?                         Q. If you wanted to get onto your computer
 21                                                          21
          A. The same thing, sir. So if -- so if an               system and pull up that report that you sent, would
 22                                                          22
      agent is conducting an investigation, they establish        you be able to do that?
 23                                                          23
      or they determine that the offense did not occur,               A. Yes, sir.
 24                                                          24
      then from the date that determination is made                   Q. Those are things that are accessible to
 25                                                          25
      usually in conjunction with an SJA opine or                 you?



                                                        83                                                          85
  1                                                           1
      concurrent, they have 15 days from the time that the            A. Yes, sir.
  2                                                           2
      supervisor says close it to get the final report                Q. Can you pull that up on your phone right
  3                                                           3
      dispatched. Again, that was the standard -- let me          now?
  4                                                           4
      rephrase that, sir. That's what's depicted on the               A. No, sir.
  5                                                           5
      investigative standards here, but I don't know if               Q. Going down to -- there's a set of numbers
  6                                                           6
      this Investigative Plan that the agent was using            after the first paragraph. Is that basically your
  7                                                           7
      was -- if that was a current timeliness standard or         contribution to the Investigative Plan for this case
  8                                                           8
      not. It's since changed, that's why I say to where          or how would characterize what you're doing there?
  9                                                           9
      every case is 30 days from the time they are told to            A. What I characterize here, this is part of
 10                                                          10
      close it. But that's what that meant. I can't say           my review. Generally what I'll do in any type of
 11                                                          11
      that that's what the standard was at the time this          review or in most reviews, I'll put in a narrative
 12                                                          12
      IP was generated.                                           kind of explaining justification for a certain
 13                                                          13
           Q. So that I'm sure I understand it. With              decision. Explaining my decision making process on
 14                                                          14
      all these time frames, this is from the time when           certain things. And whenever I start doing the
 15                                                          15
      it's determined that one of these things should be          numbered items, it's usually things to draw the
 16                                                          16
      happening; is that correct?                                 agent's attention to. Pointing out issues or
 17                                                          17
           A. From the time that a supervisor makes the           concerns or providing feedback on things. It's part
 18                                                          18
      determination that one of these things is going to          of the overall review. Things that I want them to
 19                                                          19
      happen, yes, sir.                                           specifically look at and then address line by line.
 20                                                          20
           Q. So, for example, victim's interview, that           Either respond to them or do it.
 21                                                          21
      would be 24 hours after a victim is identified?                 Q. Like action items?
 22                                                          22
           A. Yes, sir.                                               A. Some things are actionable. It may be --
 23                                                          23
           Q. And eyewitnesses interviewed, 24 hours              for their attention, for their situation. Something
 24                                                          24
      after being identified?                                     I just want them to acknowledge.
 25                                                          25
           A. Yes.                                                    Q. And just, again, to make sure I understand




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 23 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                      23 (Pages 86 to 89)
                                                        86                                                         88
 1                                                            1
      it right. The Investigative Plan doesn't have               and the community around Fort Stewart at the time,
 2                                                            2
      anything on it other than a list of leads for the           Hinesville, there were some gangs and there were
 3                                                            3
      investigator to follow or is there something else           some type of violent crimes being created in the
 4                                                            4
      that goes into the Investigative Plan?                      drug arena around that time. I just want to make
 5                                                            5
           A. Are we talking about this Investigative             sure anytime we are talking about guns and drugs, I
 6                                                            6
      Plan?                                                       wanted everything tight. So that everybody is safe.
 7                                                            7
           Q. The Investigative Plan in general, as a             That includes suspects, sources and investigators.
 8                                                            8
      concept.                                                        Q. And what does -- the next line refers to a
 9                                                            9
           A. Well, like I said, the Investigative Plan           TLE request. What is that?
 10                                                          10
      is a living, breathing document. So I'll give you               A. TLE is referred to or it's an acronym used
 11                                                          11
      an example. Two years ago -- because there's not a          for Technical Listening Equipment. So think in
 12                                                          12
      standard Investigative Plan in CID, there's guidance        terms of like a body wire.
 13                                                          13
      in terms of what is bare minimal required on an IP.             Q. Do you recall who you were planning on
 14                                                          14
      But I revised the IP that I use in my offices so            wearing a wire in this case?
 15                                                          15
      that it has prioritization, it has suspensions.                 A. I don't recall who the request was
 16                                                          16
      Although the intent of the Investigative Plan is to         going -- who the target of that request was going to
 17                                                          17
      identify investigative activity to be conducted,            be, but I wanted them to start drafting it up.
 18                                                          18
      it's also used for a number of things. It's used            Because there's an approval process it has to go
 19                                                          19
      for tracking, like this one here. It has the                through for Army CID. We have to -- any TLE request
 20                                                          20
      investigative standard. It's used to kind of help           has to be submitted through our battalion to our
 21                                                          21
      the case moving forward as a quick reference for the        group, ultimately to the Army General Council for
 22                                                          22
      Case Agent so that they don't have to go through            approval. So that can often be a lengthy process.
 23                                                          23
      every time they pick up the case to do something            I wanted him to start leaning forward, thinking
 24                                                          24
      they have to read through 20 pages of what happened         about that, again going back to the safety.
 25                                                          25
      since the last review. A quick reference for them.              Q. Is that the same thing as memo five?



                                                        87                                                         89
  1                                                           1
          Q. What is an OP plan?                                      A. No. That's a blast from the past. Memo
  2                                                           2
          A. So an OP plan is shortened version of                five used to be required for conducting off-post
  3                                                           3
      what's called an Operations Plan. So if an agent or         operations on a civilian target, if I remember
  4                                                           4
      a team is conducting a surveillance operation or if         correctly. They are different. You would usually
  5                                                           5
      they are going to conduct a controlled purchase or          see both of them being submitted at the same time,
  6                                                           6
      conduct a raid somewhere, they will put together an         you know, because if I'm doing an off-post operation
  7                                                           7
      OP plan. This was adopted -- several law                    on a civilian target and I want to aware TLE, we
  8                                                           8
      enforcement agencies use Operation Plans. Ours              would send both of them up together.
  9                                                           9
      follows along that model that's also adopted for                Q. Turning to page four, item number six.
 10                                                          10
      military operations. Any time we conduct a military         You said that anything that we do off-post will go
 11                                                          11
      -- or an operation in the military, there's a five          through MACE, M-A-C-E, first?
 12                                                          12
      paragraph OP order. We don't keep to the same                   A. Yes, sir.
 13                                                          13
      standards as a military OP order, but that's the                Q. Why did you say that?
 14                                                          14
      purpose of it.                                                  A. So anytime we are conducting law
 15                                                          15
          Q. And the next line after you mentioned OP             enforcement operations off the installation, we have
 16                                                          16
      plan, you said, risk assessment will be of the              responsibility to coordinate with local law
 17                                                          17
      utmost importance on this, exclamation mark. We             enforcement just so that they know we are out there.
 18                                                          18
      will, will in all caps, cover all of our bases and          MACE was the counter narcotics task force that was
 19                                                          19
      discuss every contingence and develop measures to           operating in that area. We had a partnership with
 20                                                          20
      mitigate each?                                              them. We did several joint operations.
 21                                                          21
          A. Sure.                                                       So going back to what I said earlier, guns
 22                                                          22
          Q. What were you concerned about?                       and drugs. We want to make sure they are aware of
 23                                                          23
          A. Guns and drugs. That's what I was                    anything we are doing out there so that they can
 24                                                          24
      concerned about. You know, we are talking about             either assist or respond as needed. But also to
 25                                                          25
      some off-post civilian targets, also. Fort Stewart          de-conflict information. You typically wouldn't




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 24 of 80

Toole, Wes                                                                                 February 26, 2016
24 (Pages 90 to 93)
                                                       90                                                                92
  1                                                           1
      want to start targeting a civilian and doing                prepare a status report adding Aguigui as a subject
  2                                                           2
      something directed towards them if another agency is        and listing the offense of conspiracy.
  3                                                           3
      also targeting them. Now you're stepping all over                  Does that mean you told him to title
  4                                                           4
      each other. That's why I want to make sure,                 Aguigui for conspiracy?
  5                                                           5
      de-conflict this with them and let them know.                   A. Yes, sir, that's the way it reads.
  6                                                           6
          Q. Did you interact personally with MACE in                 Q. Do you know whether or not that was
  7                                                           7
      your time at Fort Stewart?                                  followed through on?
  8                                                           8
          A. I think maybe just in passing or over                    A. Without the benefit of seeing the status
  9                                                           9
      emails. I never really did any joint operations             report that followed that, I don't know.
 10                                                          10
      with them. But Agent Dale, as our Drug Team Chief,              Q. If there was such a status report, would
 11                                                          11
      he was our the primary conduit with MACE.                   that have been something that went through your
 12                                                          12
          Q. Were there ever occasions with CID when              hands before it got distributed anywhere?
 13                                                          13
      you were in command at Fort Stewart, took a case                A. It depends. I mean, Team Chiefs they have
 14                                                          14
      that it was investigating and gave it to MACE in            the same ability to dispatch status reports. So
 15                                                          15
      order for them to complete the investigation and            depending on what was going on at the office at the
 16                                                          16
      decision whether to prosecute anyone?                       time, I might have just said, Hey, let me take a
 17                                                          17
          A. I don't remember anything like that. But             look at the stat or have Agent Greene take a look at
 18                                                          18
      that's not to say that it did not occur, nor would          the stat. You punch it out or, Hey, have Agent
 19                                                          19
      it be unusual. I mean, if during the course of an           Greene punch the status report out. So it may or
 20                                                          20
      investigation we identify subject suspects that have        may not have come through my hands, I don't
 21                                                          21
      military affiliation, then we would share that              remember.
 22                                                          22
      information with MACE, pass it off to them, because             Q. Because it's an automated process, as you
 23                                                          23
      we lack jurisdiction to pursue civilians where there        mentioned earlier, is there any way that a status
 24                                                          24
      isn't an Army nexus. If it was just strictly all            report would have been sent without it showing up in
 25                                                          25
      civilian, we would hand it off to them.                     CAS?



                                                       91                                                                93
  1                                                          1
           Q. What if a soldier was implicated in                     A. I don't know if it would or not. I would
  2                                                          2
      criminal activity that targeted civilians off base,         think that the CAS would show a status report was
  3                                                          3
      is that something that CID ever referred out?               sent.
  4                                                          4
           A. I don't know if we ever did or not. Are                 Q. We earlier talked about the OP plan. Is
  5                                                          5
      you asking if that's something that we did or for a         that something that was typically kept in the case
  6                                                          6
      specific example or if it's something that we could         file?
  7                                                          7
      do?                                                             A. Yes, sir.
  8                                                          8
           Q. It's something you could do?                            Q. So on the next page, page 11, it's SAC
  9                                                          9
           A. Right.                                              review by you, if I'm understanding it correctly.
 10                                                          10
           Q. But in your experience, it's not something          Item number two it says, that you -- I see the CRM
 11                                                          11
      CID did, correct?                                           and the risk assessment but not the OP plan that we
 12                                                          12
           A. Not during my time there. I can't                   discussed and approved. Was that something that was
 13                                                          13
      remember whether we did or didn't. Because, like I          unusual?
 14                                                          14
      said, I didn't really have a whole lot of daily                 A. I would typically want to see the OP plan
 15                                                          15
      interaction into the drug operations. I would               within the file whenever I'm reviewing it. But it's
 16                                                          16
      oversee any of their operations, I would review             quite possible also that the OP plan could have been
 17                                                          17
      them. But the day-to-day cases, I don't know if we          kept on the shared drive and they just hadn't
 18                                                          18
      referred any soldiers to MACE or not.                       printed it out and included it in the file. An OP
 19                                                          19
           Q. I'd like you to move ahead to page ten of           plan, similar to an IP, it's kind of a living,
 20                                                          20
      Exhibit 11 in front of you. At the bottom of this           breathing thing. As information changes or
 21                                                          21
      page is an entry on behalf or by Andrew Dale. And           situations dictate, that Operation Plan will have to
 22                                                          22
      it refers to advice that SA Toole gave to him on May        be revised, tweaked. So it may have been it just
 23                                                          23
      21st, 2011.                                                 wasn't printed out.
 24                                                          24
           A. Yes sir.                                                Q. When you performed this SAC review, who
 25                                                          25
           Q. It says, SA Toole advised SA Dale to                was supposed to respond or acknowledge the numbered




                                 Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 25 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                      25 (Pages 94 to 97)
                                                       94                                                          96
  1                                                          1
      items that you listed here?                                    Q. And then the 11th of July?
  2                                                          2
          A. Usually the agent to whom the case is                   A. Yes, sir.
  3                                                          3
      returned or whoever the primary Case Agent was.                Q. Okay. And did you consider that a timely
  4                                                          4
          Q. So since this was a case that was being              response?
  5                                                          5
      done through the Drug Supression Team, would that              A. You know, I wouldn't consider it a timely
  6                                                          6
      have been the same person as the Team Chief?                entry into a CAS, but that doesn't always mean that
  7                                                          7
          A. It would all depend. If Agent Dale                   the agent didn't receive and respond to -- or action
  8                                                          8
      decided he wanted to respond to my review and then          the guidance that was given so there was -- I'll
  9                                                          9
      give it back to his investigator, he could certainly        acknowledge that there was almost a month before any
 10                                                          10
      do that. Or depending on the investigator and his           response was documented in the CAS, but I cannot
 11                                                          11
      level of comfort with the investigator, he would            look at that and immediately infer that that means
 12                                                          12
      have him respond directly back to the SAC review.           they did not action something.
 13                                                          13
          Q. Putting aside who actually makes the                    Q. Jump around a little bit here. So I
 14                                                          14
      response, who is responsible for making sure that           apologize for that in an advance. Please go to the
 15                                                          15
      someone responds?                                           next page that you were just looking at, page 26.
 16                                                          16
          A. Who is responsible? I am.                            And that's Team Chief review by Agent Dale?
 17                                                          17
          Q. So in this instance, and you can correct                A. Yes.
 18                                                          18
      me if I'm wrong, you can flip through the next few             Q. That first line there it says, This ROI is
 19                                                          19
      pages, I don't see a response within the next couple        outside the ten day investigative activity window.
 20                                                          20
      of weeks it seems, at least afterwards. Is that                    Is that referring to the same thing that
 21                                                          21
      commonplace for people to not respond to these              you mentioned earlier about meaningful investigative
 22                                                          22
      things at all during your time at Fort Stewart?             activity being required to be done every ten duty
 23                                                          23
          A. So common. No, sir, not common. Is it                days?
 24                                                          24
      unusual? It's not unusual, either. Because, you                A. That's the way it looks, yes, sir.
 25                                                          25
      know, agents, investigators, what they will often do           Q. And he said, This is unacceptable. Why is



                                                       95                                                          97
  1                                                          1
      is get that case back, see what guidance was given          it unacceptable to have it be outside of ten duty
  2                                                          2
      and then start actioning on that. But then fail to          days?
  3                                                          3
      go in and document it. Or document it accordingly               A. So the CID Regulation 195-1 has an
  4                                                          4
      within CAS. So it's something that's not preferred.         appendix that discusses what we commonly refer to as
  5                                                          5
      We like to see an immediate response or close to an         the three Ts. Timeliness of investigative activity.
  6                                                          6
      immediate response in a reasonable -- air quotes            Thoroughness of investigative activity. And timely
  7                                                          7
      again -- reasonable amount of time. But sometimes           reporting.
  8                                                          8
      people become overwhelmed with circumstances and                  Within timeliness of investigative
  9                                                          9
      aren't able immediately put that in. It's not the           activity one of the guidelines that's given is that
 10                                                          10
      preferred method but, unfortunately, it happens.            a case should have meaningful investigative activity
 11                                                          11
      But I see that there was a response provided.               once every ten working days. And these guidelines
 12                                                          12
          Q. When was that?                                       were provided kind of as a way to say, hey, when all
 13                                                          13
          A. I'm sorry, I thought there was a response            else fails, if you can get meaningful investigative
 14                                                          14
      provided. Response to SAC review. 11 July.                  activity into your case once every ten days, it will
 15                                                          15
          Q. Okay.                                                keep the case moving forward. So that's a standard
 16                                                          16
          A. But it looks like it was in response to              that we have come to be held accountable to. It
 17                                                          17
      the 17 June review that I did.                              doesn't -- but there's also what's called a
 18                                                          18
          Q. So there were a few SAC reviews before               reasonable application standard within the
 19                                                          19
      there was any response in here, correct?                    regulation. Understanding that sometimes there are
 20                                                          20
          A. There was one SAC review in between the              things that are going on within an office, within a
 21                                                          21
      first one and his response.                                 certain team between agents. Going TDY or on
 22                                                          22
          Q. Okay. And so the one that -- the last one            temporary duty, leaves, passes, prioritization of
 23                                                          23
      before the response was on the 17th of June; is that        cases shifting or cases are simply not going to have
 24                                                          24
      right?                                                      activity in them once every ten days.
 25                                                          25
          A. Yes, sir, that's what it looks like.                       I see on the review Agent Dale saying that




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 26 of 80

Toole, Wes                                                                                February 26, 2016
26 (Pages 98 to 101)
                                                       98                                                         100
  1                                                          1
      it's unacceptable, it's certainly not in keeping            start out with one agent or investigator, it may be
  2                                                          2
      with the standard what the regulation says, but it          transferred to another because of leaves, schools,
  3                                                          3
      happens.                                                    those other considerations, caseload, etcetera.
  4                                                          4
          Q. Right. Now in this instance, he said it                  Q. Do you recall whether Investigator Spencer
  5                                                          5
      was unacceptable. And Agent Dale said further, You          left the Fort Stewart CID office at some point while
  6                                                          6
      will ensure this case file has no further                   you were there?
  7                                                          7
      investigative time gaps.                                        A. He did, yes, sir. I remember he left. I
  8                                                          8
             Is it correct to say in that instance                am trying to remember if he PCS, permanent change of
  9                                                          9
      whoever is responding to it, should be doing                station, or ended his active duty service. I can't
 10                                                          10
      something within every ten days?                            remember. I think it was one of those two.
 11                                                          11
          A. Agent Dale was the Team Chief and he's                   Q. Do you know whether that had any
 12                                                          12
      directing somebody to make sure there's no further          relationship to some of the delays that may have
 13                                                          13
      gaps. So it would be reasonable that person would           occurred in this case that we are looking at here?
 14                                                          14
      want to comply with that.                                       A. So with Investigator Spencer being the
 15                                                          15
          Q. At the end of that entry by Agent Dale, it           drug team NCOC, non-commission officer in charge,
 16                                                          16
      says file to Investigator Atkins. Does that mean            basically he was the right hand to Agent Dale, he
 17                                                          17
      you in the first part of that entry is referring to         was his Team Chief. Not his Team Chief, but they
 18                                                          18
      Investigator Atkins or could it be referring to             were kind of a team. So anytime that a Team Chief
 19                                                          19
      someone else?                                               loses their next senior person who they lean on to
 20                                                          20
          A. So the next entry after says, Follow                 help with reviews, operations, it always affects
 21                                                          21
      Investigator Atkins, is an AAS entry from me. All           operations. I'm going through it right now.
 22                                                          22
      non-SSIs will be held in abeyance. So this was an                  MR. BROOK: Off the record for a second.
 23                                                          23
      entry that I placed into every LER within the                      (Lunch recess taken.)
 24                                                          24
      office. Basically when we have significant type of          BY MR. BROOK:
 25                                                          25
      cases that occur, I'll often place cases in                     Q. Agent Toole, I'd like to direct your



                                                       99                                                         101
  1                                                           1
      abeyance. Hey, this is an all hands on deck,                attention back to Exhibit 13 that we were looking
  2                                                           2
      everybody is helping out. Allows them -- so they            at -- I'm sorry, 11. Page 12. It's the second part
  3                                                           3
      don't get gigged, if you will, for not having               of -- it's the second part of the June 1st, 2011 SAC
  4                                                           4
      activity in the case every ten days. I did not              review that you conducted.
  5                                                           5
      actually receive the file back when that entry was              A. Okay.
  6                                                           6
      made. I went in and put entries into the ACS2 in                Q. The very last paragraph there, you said
  7                                                           7
      every case.                                                 that you were going to dispatch the status report to
  8                                                           8
         Q. I guess my question is, I'm trying to                 add Aguigui as a subject and to add the offense of
  9                                                           9
      understand if it says at the end of the previous            conspiracy. And we talked about before that refers
 10                                                          10
      entry, file to Investigator Atkins, that means that         to titling him for the event, correct?
 11                                                          11
      Investigator Atkins was the one who was supposed to             A. Yes, sir.
 12                                                          12
      respond to the Team Chief review?                               Q. And then adds, Aguigui made admissions to
 13                                                          13
         A. It means the physical file went back to               smoking Spice, however I'm not inclined to title him
 14                                                          14
      Investigator Atkins. I don't know who Mr. Dale              for this offense as I believe it was previously
 15                                                          15
      wanted to respond to his review. But I read here            investigated in a separate ROI by this office. Make
 16                                                          16
      he's returning the file back to Investigator Atkins.        sure we document that case number for future
 17                                                          17
         Q. So it could have been someone else?                   reference.
 18                                                          18
         A. It could have.                                            A. Uh-huh.
 19                                                          19
         Q. Is it typically the Case Agent if there is                Q. Do you remember making that statement?
 20                                                          20
      one specified who responds to a Team Chief review?              A. I don't remember making that statement,
 21                                                          21
         A. Typically, yes, sir.                                  but I'm reading this, and that sounds like something
 22                                                          22
         Q. Are records kept of who is the Case Agent             I would say.
 23                                                          23
      on a given case?                                                Q. Okay. To whom were you making this
 24                                                          24
         A. The CAS is usually the best record on who             statement, Make sure we document that case number?
 25                                                          25
      the case is assigned to. Even though the case may               A. To the drug team. To the team that this




                                 Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 27 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                  27 (Pages 102 to 105)
                                                       102                                                        104
  1                                                           1
      is going back to.                                               A. I have no idea.
  2                                                           2
          Q. Now, were you ever given any information                 Q. Can you think of any circumstances in
  3                                                           3
      about whether there was, in fact, such a previous           which someone who is responding to this SAC review
  4                                                           4
      ROI for Aguigui smoking Spice?                              could have just found out that there was no separate
  5                                                           5
          A. I would have to assume there was. If                 ROI and kept that to themselves and that action
  6                                                           6
      I'm -- because I would not have inherently known            being proper?
  7                                                           7
      that, not having day-to -- familiarity with the drug            A. And that action being proper? I can't
  8                                                           8
      cases or the drug -- simple possession or use cases.        think of any scenario to where if someone saw this,
  9                                                           9
      So I would have had to known that in order to make          this review, and knew that there was not an ROI and
 10                                                          10
      that statement that he made admissions to Spice.            then ensuring that there was one, I can't -- I can't
 11                                                          11
      But I understand this was already investigated in           think of a scenario where that would be appropriate.
 12                                                          12
      another case, so we are not going to title him for              Q. Am I correct that in that scenario, if it
 13                                                          13
      that in this case because it's already been                 happened, without at least an ROI or anything like
 14                                                          14
      investigated.                                               that, the fact that Aguigui made admissions to
 15                                                          15
          Q. Did anyone tell you that there wasn't a              smoking Spice would not reach the chain of command?
 16                                                          16
      prior case?                                                         MS. JOHNSTON: Objection as to form. If
 17                                                          17
             MS. JOHNSTON: That there was not a prior                 you can understand, you can answer.
 18                                                          18
          case?                                                       A. Can you restate it?
 19                                                          19
      BY MR. BROOK:                                                   Q. Sure. In the scenario that I just
 20                                                          20
          Q. Right. Did anyone ever say something like            described, which I can repeat if you want me to --
 21                                                          21
      that to you?                                                    A. That's fine.
 22                                                          22
          A. Not that I remember, no.                                 Q. If that occurred, then how would the chain
 23                                                          23
          Q. If there was a prior case, or ROI, it                of command learn about the fact that Aguigui made
 24                                                          24
      would have a case number on it, right?                      admissions to smoking Spice?
 25                                                          25
          A. Yes, that would be reasonable.                           A. It would either be provided with a copy of



                                                       103                                                        105
 1                                                            1
         Q. Can you think of any reason why, if there             a report or they would be briefed in person by the
 2                                                            2
      was a separate ROI that was previously investigated,        agent or investigator that their soldier made
 3                                                            3
      there would be no case number associated with it?           admissions to smoking Spice.
 4                                                            4
         A. If there was a case that was done on a --                 Q. When you were the SAC at Fort Stewart, did
 5                                                            5
      by our office, it would either be assigned what we          you believe that it was important that if Aguigui --
 6                                                            6
      call a target analysis file or an ROI number, but           that because Aguigui made admissions to smoking
 7                                                            7
      there would be some type of case number associated          Spice that there be some sort of report on that made
 8                                                            8
      with that documenting that activity.                        to his chain of command?
 9                                                            9
         Q. Based on your instruction here, if the                    A. I felt that -- it's not necessarily I felt
 10                                                          10
      drug team determined that there was no such case            important that it be reported to as chain of
 11                                                          11
      number, is that something that they had to make note        command, because everything that we do a report of
 12                                                          12
      of?                                                         investigation on is reported to the chain of
 13                                                          13
         A. If there was no such case number, then it             command. It's almost like an automatic trigger.
 14                                                          14
      would either be documented within this -- within            That's why I put on there, I felt it was important
 15                                                          15
      this case or a separate number would be generated as        we document the fact that he had been previously
 16                                                          16
      a result. So just a scenario -- trying to play out          investigated for that offense.
 17                                                          17
      the scenario that, okay, if I said, Hey, he was                 Q. His offense of smoking Spice, something
 18                                                          18
      already investigated for Spice before, if they came         that was of concern generally at Fort Stewart when
 19                                                          19
      back to me and said, No, Chief, actually we don't           you were there?
 20                                                          20
      have another ROI on that. I would say, Okay,                    A. Yes, it was.
 21                                                          21
      generate another case number, because it's separate             Q. Why is that?
 22                                                          22
      from this or we would just include it in this and               A. Because Spice was a new substance. We
 23                                                          23
      have multiple offenses.                                     were seeing quite a surge of Spice activity and,
 24                                                          24
         Q. As you sit here today, do you know whether            obviously, health concerns with soldiers that, you
 25                                                          25
      there was a separate ROI?                                   know, have smoked Spice and the impact that could




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 28 of 80

Toole, Wes                                                                                       February 26, 2016
28 (Pages 106 to 109)
                                                      106                                                              108
  1                                                           1
      have. So we were having a hard push on trying to               A. Uh-huh.
  2                                                           2
      shut down the supply of Spice off post, and helping            Q. Is that a yes?
  3                                                           3
      identify soldiers that were using it for risk                  A. Yes, sir.
  4                                                           4
      reduction.                                                     Q. And do you recall, if you would, please,
  5                                                           5
          Q. At the time that you made this SAC entry             take a look at the first few sentences in this
  6                                                           6
      on June 1st, 2011, did you have any knowledge of            Andrew Dale, June 16th at 16:00 hours review. In
  7                                                           7
      Private Aguigui's security clearance?                       particular it says, From review of the statements it
  8                                                           8
          A. No.                                                  almost seems as if Aguigui is the main conspirator
  9                                                           9
          Q. Is that something that would be relevant             behind the conspiracy to commit murder. Lloyd still
 10                                                          10
      in determining whether it was important to do an ROI        seems to be the main drug pusher, but has denied all
 11                                                          11
      on a soldier admitting to smoking Spice?                    involvement.
 12                                                          12
          A. No.                                                         Do you remember this involvement in the
 13                                                          13
          Q. Are you aware of any regulations that                case?
 14                                                          14
      prohibit people with top security clearance from               A. Somewhat, yes, sir. I remember Dale
 15                                                          15
      using any kind of drugs?                                    coming to me with concern that, hey, it looks like
 16                                                          16
          A. I'm aware in order to retain a clearance             Aguigui was trying to underplay his level of
 17                                                          17
      you have to keep a clean criminal history, which you        involvement in the conspiracy. Yeah, I do remember
 18                                                          18
      know, is something that's checked during periodic           that, yes, sir.
 19                                                          19
      reviews, but -- I'm sorry, I'm really not -- I'm               Q. Did that change your opinion of Aguigui
 20                                                          20
      really not tracking with -- if you're looking for a         and how cooperative he was being?
 21                                                          21
      regulation that has to do with top secret clearances           A. It didn't necessarily change my opinion
 22                                                          22
      and criminal --                                             because I was looking at all three of them as
 23                                                          23
          Q. Would it surprise you that after you made            conspirators to commit murder. Who was the ring
 24                                                          24
      this notation in this report if Isaac Aguigui               leader or the main conspirator, I used air quotes,
 25                                                          25
      obtained a top security clearance for a                     was really in my opinion inconsequential, they were



                                                      107                                                              109
 1                                                           1
      month-and-a-half or more?                                   all being looked at as subjects of this
 2                                                           2
         A. No, it wouldn't surprise me. Insofar as,              investigation. It was definitely interesting and
 3                                                           3
      you know, most of the times -- once these reports           something that would be of note and of interest to
 4                                                           4
      are dispatched and a soldier is listed as a subject         make sure the command and the SJA were aware of, but
 5                                                           5
      and they are titled, you know, there's a requirement        it did not really surprise me.
 6                                                           6
      for the Commanders to flag that soldier. And part              Q. Did Agent Dale relate to you any specific
 7                                                           7
      of the flagging is suspension for favorable actions         statements that were made about Aguigui by some of
 8                                                           8
      and suspension of their security clearance. But             the witnesses who were interviewed that led him to
 9                                                           9
      that's not -- that's incumbent upon the chain of            that conclusion?
 10                                                          10
      command to make sure those flags are initiated.                A. I'm sure that he did, but I don't remember
 11                                                          11
      Sometimes commands -- it's not an automatic process         that conversation verbatim.
 12                                                          12
      to where the Commander can just turn on his computer           Q. Do you recall any -- do you recall whether
 13                                                          13
      and flip a switch and flag somebody. There's a              he told you about statements that were made by
 14                                                          14
      process that the command authority and SJA can speak        Solider Arranyos's wife, Jessica Valdez?
 15                                                          15
      toward. But, unfortunately, for my slice of the                A. I don't remember that at all. I'm not
 16                                                          16
      pie, if you will, I'm not familiar with that                saying we did not have a conversation, but I don't
 17                                                          17
      mechanism. So to say that it would take a month, I          remember.
 18                                                          18
      can't say that it surprises me, because I'm not                Q. Is it significant if a soldier threats the
 19                                                          19
      familiar with what the normal, you know, how long it        life of another soldier?
 20                                                          20
      would normally take, you know.                                 A. So if a solider threatens the life of
 21                                                          21
         Q. If you would go to page nine of Exhibit               another soldier. I guess it would depend on that
 22                                                          22
      11. You mentioned before that you remembered there          type of threat. Whether it's something like simple
 23                                                          23
      was a number of interviews that were conducted in           communication of a threat, you know, verbal; or
 24                                                          24
      connection with this case, the conspiracy to commit         whether it's presentation of actual deadly force.
 25                                                          25
      murder, correct?                                            Again, it all depends on the circumstances and




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 29 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                 29 (Pages 110 to 113)
                                                       110                                                       112
 1                                                            1
      severity.                                                   did Aguigui talk about killing his wife? A, After
 2                                                            2
              If two soldiers are arguing in the                  he bought his shotgun. It looks like he says, He
 3                                                            3
      barracks and one of them makes the statement, quote,        cracked a joke and said we all can split the money
 4                                                            4
      I'm going to kill you, end quote, that doesn't carry        if we keep quiet.
 5                                                            5
      the same severity in my opinion as someone pointing                Does it look like I read that correctly?
 6                                                            6
      a loaded weapon at someone else and threatening to              A. It looks like that's correct, yes, sir.
 7                                                            7
      kill them.                                                      Q. Were you aware that this statement was
 8                                                            8
          Q. Aside from threats, what about if a                  made by a witness?
 9                                                            9
      soldier talks about killing other soldiers?                     A. I don't know that I was aware at the time
 10                                                          10
          A. If a soldier talks about killing other               of this statement, and I don't recall this being
 11                                                          11
      soldiers?                                                   brought to my attention afterward. I don't remember
 12                                                          12
          Q. Right. With third parties.                           it.
 13                                                          13
          A. Right. It's a concern in my opinion, this                Q. In light of the date here, this is
 14                                                          14
      is Wes Toole's opinion, it's obviously a concern.           June 15th, 2011, correct?
 15                                                          15
      But then, you know, in the absence of an overt act,             A. Yes, sir.
 16                                                          16
      then, you know, that is something that may not rise             Q. Knowing now what happened a month later,
 17                                                          17
      to the conspiracy level. But would still be enough          do you consider that statement to have been
 18                                                          18
      concern to make people aware of.                            significant?
 19                                                          19
          Q. I know there's a bunch of notes here, but                   MS. JOHNSTON: Happened at the time or
 20                                                          20
      as you sit here today, do you recall whether any of             now?
 21                                                          21
      the witnesses that were interviewed by CID gave an          BY MR. BROOK:
 22                                                          22
      alternative target for conspiracy to commit murder              Q. Or do you consider that statement
 23                                                          23
      that that witness claimed Isaac Aguigui was trying          significant in light of what you learned a month
 24                                                          24
      to kill or planning to kill with the shotgun that he        later?
 25                                                          25
      purchased?                                                      A. Looking back in hindsight, it's certainly



                                                       111                                                       113
 1                                                            1
          A. With the shotgun that he purchased. I'm              of interest. Looking at it at the time, I have no
 2                                                            2
      not aware of any other target. And, again, like you         way to know what Jessica Vadelz's credibility is,
 3                                                            3
      said, without reviewing everything, and as I sit            what her motivation in rendering statements are or
 4                                                            4
      here today, that does not -- that does not ring any         motivations toward Aguigui or the wife or any of the
 5                                                            5
      bells.                                                      other conspirators. So, again, this would have been
 6                                                            6
             (Exhibit 29 marked.)                                 something that would have been noteworthy and
 7                                                            7
      BY MR. BROOK:                                               something to consider. There was no way at the time
 8                                                            8
          Q. Now, Exhibit 29 bears Bates numbers                  to consider this to have been significant without
 9                                                            9
      JAHR0002066 through 2068.                                   the benefit of hindsight.
 10                                                          10
          A. I was handed two of these.                               Q. I'm actually talking about after --
 11                                                          11
          Q. Do you recognize this document?                      obviously at the time the statement was made, you
 12                                                          12
          A. I recognize this insofar as it's a sworn             had no idea that Aguigui was going to kill his wife?
 13                                                          13
      statement. It is marked with file number -- CID                 A. No.
 14                                                          14
      204-11-CID-093. And appears to be a sworn statement             Q. But once his wife ended up dead, how is it
 15                                                          15
      of an indiscernible first name, last name Valdez.           possible that no one from CID recognized that this
 16                                                          16
      But that's the only way I recognize it.                     statement was in the file?
 17                                                          17
          Q. Do you recall whether you in conducting                  A. I can't say that no one from CID
 18                                                          18
      your SAC review on this case ever looked at actual          recognized it was in the file. All I can say is I
 19                                                          19
      sworn statements that had been signed by any                did not know it was in there.
 20                                                          20
      witnesses?                                                      Q. Whose responsibility would it have been to
 21                                                          21
          A. I would assume that I had, but I don't               make sure this statement in this 204 file was known
 22                                                          22
      recall this statement specifically.                         to those who were investigating the homicide?
 23                                                          23
          Q. I'd like to specifically direct your                     A. The Case Agent to whom the case was
 24                                                          24
      attention to the second page right in the middle.           assigned or that was managing the investigation.
 25                                                          25
      There's a statement in the Q and A, it says, When               Q. Case Agent. Would the Team Chief also




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 30 of 80

Toole, Wes                                                                                     February 26, 2016
30 (Pages 114 to 117)
                                                      114                                                               116
  1                                                          1
      have responsibility if he was aware of it?                  getting that done?
  2                                                          2
          A. The Team Chief would have the                           A. No, sir. There's a saying that we have in
  3                                                          3
      responsibility to review the statements to evaluate         the Army, it's all met T. It all depends on the
  4                                                          4
      them as evidence.                                           mission, troops, terrain. So it's situation
  5                                                          5
          Q. And you testified earlier that you brought           dependent. It would all depend on her availability.
  6                                                          6
      Agent Dale, Andrew Dale, to be involved in the              What all was going on, current operations, timing of
  7                                                          7
      homicide investigation of Deidre Aguigui                    things. Do we want to talk to someone else before
  8                                                          8
      specifically because he was familiar with this case         we talk to her? Are there other things that we need
  9                                                          9
      file?                                                       to gather? So there's not an automatic trigger
 10                                                          10
          A. Yes, sir.                                            that's put on that. Unless a supervisor says, By
 11                                                          11
          Q. Besides Agent Andrew Dale, can you think             this date I want you to do it. That's outside of
 12                                                          12
      of anyone else who might have knowledge about               those things that we discussed on the Investigative
 13                                                          13
      whether this statement was or was not communicated          Plan where you have to identify -- interview
 14                                                          14
      to those that were investigating the homicide?              eyewitnesses or victims within 24 hours.
 15                                                          15
          A. Besides Agent Dale and Investigator Atkins              Q. So in this instance, it's not someone who
 16                                                          16
      who took the statements, the only other person that         was an eyewitnesses or victim as far as this was
 17                                                          17
      I would know whether or not this information was            concerned?
 18                                                          18
      relayed to the investigating team for Deidre's death           A. As far as this was concerned, no, sir.
 19                                                          19
      would be Agent Kapinus and Agent Fox. They would               Q. Towards the end of this, it says, Brief
 20                                                          20
      know whether or not this information was                    Commander and SJA, provide high risk memo to
 21                                                          21
      communicated to them.                                       command.
 22                                                          22
          Q. Is that the kind of information that a CIC                 So is that telling investigators Spencer
 23                                                          23
      is supposed to notice during a review?                      and Atkins to brief the SJA?
 24                                                          24
          A. It's something that a CIC would -- we                   A. That's the way that appears, yes, sir.
 25                                                          25
      would want a CIC to review and extrapolate. But,               Q. And which Commander, which Commander does



                                                      115                                                               117
  1                                                          1
      again, it all depends when in the review process the        that refer to?
  2                                                          2
      CIC looks at the case. As I stated earlier, CIC,               A. That would refer to his immediate chain of
  3                                                          3
      you know, it's -- CIC is supposed to look at a case         command, and also up to the battalion.
  4                                                          4
      at the initiation and prior to the closure, but then           Q. And is it your understanding that's
  5                                                          5
      is encouraged to look at the life cycle of the case,        referring to Aguigui's chain of command?
  6                                                          6
      as well. Depending on when the statement was                   A. Yes, sir.
  7                                                          7
      obtained, when the CIC saw that case again, or if              Q. And it also refers to provide high risk
  8                                                          8
      they were able to see it again, unknown whether or          memo to chain command?
  9                                                          9
      not they would have seen that or not.                          A. Yes, sir.
 10                                                          10
          Q. If you would, please, turn to the next                  Q. How would you characterize the purpose of
 11                                                          11
      page on Exhibit 11 to page 20. And the continuation         the high risk memo?
 12                                                          12
      of the entry by Andrew Dale that we were looking at            A. So what's referred to here, is high risk
 13                                                          13
      earlier. It says -- first full paragraph, Also, we          memo. What I believe that he's referring to is the
 14                                                          14
      need to interview Aguigui's wife and determine what         memorandum pertaining to monitorship of --
 15                                                          15
      all she knows about the drugs and conspiracy.               monitorship of persons under investigation. That's
 16                                                          16
             Who was that statement directed to, as far           a memorandum that was published by the Commander of
 17                                                          17
      as you can tell?                                            CID, and it's required for CID agents to provide it
 18                                                          18
          A. I would -- it seems that the statement was           to commander subject to anytime we bring them into
 19                                                          19
      directed towards investigators Spencers and Atkins.         our office for questioning, you know, they are
 20                                                          20
      And I'm saying that because he returned the file --         advised of their rights. The purpose of this
 21                                                          21
      or he noted that he was returning the file back to          memorandum, it was initiated after an Army study,
 22                                                          22
      those two, so I assume that's who he directed it to.        and I can't quote the study, but they basically
 23                                                          23
          Q. When a statement like that is made, are              found what they believed to have been a -- some type
 24                                                          24
      there any of the time frame requirements that we            of significance or a significant statistical link
 25                                                          25
      were talking about earlier that are applicable to           between persons under investigation and being higher




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 31 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                  31 (Pages 118 to 121)
                                                      118                                                         120
 1                                                            1
      risk for suicide and self-harm. Because the CID --          of them.
 2                                                            2
      commanding general of the CID was aware of this                    We were talking earlier about canvas
 3                                                            3
      study, he deemed it appropriate that a memorandum be        interviews of a unit?
 4                                                            4
      provided to all Commanders, anytime someone is under            A. Yes, sir.
 5                                                            5
      investigation, brought in, advised of their rights              Q. Do you know how many people it was that
 6                                                            6
      and put in the title block. This memorandum be              were being specified for canvas interviews in this
 7                                                            7
      provided to them to remind them about the fact              instance?
 8                                                            8
      soldiers under CID will often experience stress. We             A. I have no idea, sir. I mean, it's hard
 9                                                            9
      would encourage you to take appropriate steps to            for me to say. I'm reading Rear-D, which means rear
 10                                                          10
      make sure that they did not harm themselves. So it          detachment, 6-8 CAV. Each unit, depending on the
 11                                                          11
      was a suicide prevention tool.                              type of unit they are, a calvary unit, say a company
 12                                                          12
         Q. Doesn't the memo also refer to the                    size element or what they would call a troop, they
 13                                                          13
      possibility of soldiers under investigation harming         are not all standard across every Army installation.
 14                                                          14
      others?                                                     And then a rear detachment, I mean, that could be
 15                                                          15
         A. I don't know if that memorandum that was              anywhere from 15 soldiers to 38. I have no idea
 16                                                          16
      issued did or not, because that was a previous              so --
 17                                                          17
      commanding general at the time. And without the                 Q. As you read this, this is something that
 18                                                          18
      benefit of having that memorandum, I can't say              was given as an instruction to the investigator by
 19                                                          19
      whether that did or not.                                    the Team Chief, correct?
 20                                                          20
         Q. Was this a standardized memorandum?                       A. That's the way this looks, yes, sir.
 21                                                          21
         A. Yes, sir.                                                 Q. So if he was not going to complete the
 22                                                          22
         Q. If I wanted to find a copy of that                    task, there would have had to have been something
 23                                                          23
      memorandum, or if you wanted to find a copy of that         like the conversation that you mentioned earlier you
 24                                                          24
      memorandum now, where would you go look for that?           would expect to have?
 25                                                          25
         A. A copy of that memorandum now? I don't                    A. Yes, sir.



                                                      119                                                         121
  1                                                           1
      know. Because the only version that I have now is               Q. If Investigator Atkins, for example, got
  2                                                           2
      the current version under our current Commander. I          this and he was not able to get the list from
  3                                                           3
      don't know that I have any historical record of what        Captain Daniels that this refers to, what should he
  4                                                           4
      it was in 2011. U.S. Army Criminal Investigation            have done next?
  5                                                           5
      Command, I don't know if they have historical                   A. You're asking me what should
  6                                                           6
      archives of what that memo looked like then.                Investigator -- what should the investigator have
  7                                                           7
          Q. But because it's a standardized memo, it's           done if he wasn't able to get the list?
  8                                                           8
      not something that was kept in the case file when it            Q. The list from Captain Daniels as
  9                                                           9
      was issued, correct?                                        instructed.
 10                                                          10
          A. I don't know if it was kept in the case                  A. Well, I can't really say what Atkins would
 11                                                          11
      file or not. Because we issue it to the Commander,          have done. There's any number of different
 12                                                          12
      we give them the memorandum.                                recourses from that point. I could tell you what I
 13                                                          13
              MR. BROOK: Go off the record for a                  would do if I were given that task. Is either try
 14                                                          14
          second.                                                 to obtain a list, otherwise. But if the list could
 15                                                          15
              (Off-the-record.)                                   not be obtained, then I would go back to my
 16                                                          16
              MR. BROOK: Back on.                                 supervisor and we'd look at a different approach.
 17                                                          17
      BY MR. BROOK:                                                   Q. Can you think of any reason why you would
 18                                                          18
          Q. If you could turn to page 27 of Exhibit              just ignore it when you couldn't get the list and
 19                                                          19
      11. And this is a continuation of an entry by               move on to other things without mentioning it to
 20                                                          20
      Andrew Dale that we were looking at earlier before          your supervisor?
 21                                                          21
      lunch today. The entry that is -- starts with --                A. I mean, I can think of any number of
 22                                                          22
      where it's supposed to be coordinate, says,                 things that could happen in any given scenario, but
 23                                                          23
      Coordinate with Captain Daniels. Obtain a list of           the most likely thing that happened here, which
 24                                                          24
      all Rear-D 6-8 CAV soldiers since January 11th to           occurs in investigations every day, is the person
 25                                                          25
      current. And then conduct canvas interviews of all          tries to accomplish the task to the best of their




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 32 of 80

Toole, Wes                                                                                 February 26, 2016
32 (Pages 122 to 125)
                                                       122                                                         124
 1                                                            1
      ability. If they encounter resistance or inability              Q. So red did not have anything to do with
 2                                                            2
      to do so, they adjust. They either adjust on the            the type of case or how far along it was?
 3                                                            3
      fly or they adjust under the advice of their Team               A. No.
 4                                                            4
      Chief. That's part of the -- part of what we want.              Q. I'm going to hand you what's been
 5                                                            5
      And we try to foster in investigators, is the               previously marked as Exhibit 13. This is the case
 6                                                            6
      ability to think independently. Yes, we give                activity summary for the Deidre Aguigui homicide?
 7                                                            7
      guidance and direction every single day, but we also            A. Yes.
 8                                                            8
      expect them to exercise discipline initiative. So I             Q. This is what you reviewed to prepare for
 9                                                            9
      don't need somebody that's necessarily going to come        this deposition?
 10                                                          10
      back to me every five minutes and say, "Hey, Chief,             A. Yes, sir.
 11                                                          11
      I tried to do this but I couldn't." And now I have              Q. How carefully did you review it?
 12                                                          12
      to tell them what to do. I can get a whole company              A. I'll be honest with you, I made several
 13                                                          13
      of privates to do that for me.                              valent efforts to read through the entire thing. I
 14                                                          14
             So I know that's a long answer, but it's             went through and reviewed as many of the entries
 15                                                          15
      kind of difficult to answer that question, because I        that had my name mentioned in there, but I wasn't
 16                                                          16
      don't know what Atkins tried to do or did not try to        able to read every single page. And kind of been
 17                                                          17
      do or what he may have said or did not say.                 going to midnight the last past three nights, so
 18                                                          18
          Q. I understand that you don't know what                it's been kind of hard.
 19                                                          19
      happened. But if what happened was that Atkins                  Q. In doing so, did that refresh your
 20                                                          20
      tried to get a list, was unable to do so after one          recollection of what went on in this case?
 21                                                          21
      attempt, and then never made another attempt again              A. Somewhat, yes.
 22                                                          22
      for five months, would that be acceptable in your               Q. I'd like to direct your attention to page
 23                                                          23
      view?                                                       three. There's an entry by you on July 17th, 2011.
 24                                                          24
          A. Again, it all depends on the circumstances           Says, Created new entity, entity ID number 2331691
 25                                                          25
      and the situation. If he tried to get the list and          with data copied from Aguigui, Isaac Glenn, entity


                                                       123                                                         125
  1                                                           1
      wasn't able to in the scenario that you described,          ID number 2318915. What was going on?
  2                                                           2
      and then did not try again for another five months,             A. So what it appears was going on there,
  3                                                           3
      I want to know, okay, what was he doing that five           this entry was made at 22:40 on the night of the
  4                                                           4
      months. If he was sitting in an office playing              17th, which is the night we were notified about the
  5                                                           5
      Brick Breaker on a computer; yes, that would be             death. This is an automated type entry, it's
  6                                                           6
      unacceptable. But if he's going out catching bad            nothing that I manually entered in. So I was logged
  7                                                           7
      guys and solving other felony investigations while          into ACS2 at the time, and while the agents were
  8                                                           8
      still perusing this one, it's understandable.               still conducting scene investigation and interviews,
  9                                                           9
          Q. The next line it says, "Get a red case               I started building the file. Started building the
 10                                                          10
      file folder for this ROI and get this case file all         file in Alert. So I was migrating information we
 11                                                          11
      in order." What is the significance of a red case           already had in the file to create a new entity.
 12                                                          12
      file folder?                                                Basically populating the system.
 13                                                          13
          A. It's just an administrative thing.                       Q. So is this indicating that there were --
 14                                                          14
      There's not a standardized way across CID on the            there was a new entity ID number that also referred
 15                                                          15
      colors of folders and what they mean or anything            to Isaac Aguigui? I'm trying to understand, what is
 16                                                          16
      like that. I think what he's -- and I'm trying to           an entity ID number?
 17                                                          17
      put myself in what he would try to say by saying at             A. Okay. So any entity that we input --
 18                                                          18
      the time at that office, the red case folders were          let's say I go into alerts or ACS or our automated
 19                                                          19
      multi-file folders, so they had dividers in them.           system and I type in someone's name, I enter it in
 20                                                          20
      The Greene folders that we had, they were the               and hit apply. It assigns a specific entity ID
 21                                                          21
      cheaper, single thing. I think what he's trying to          number. It's an automatic generated number. If I
 22                                                          22
      say, what I would be trying to say in that, we are          go back in -- let's say this was in a case two
 23                                                          23
      starting to accumulate a lot of documents here, we          months ago. If I go back in and I'm building a new
 24                                                          24
      want to make sure they are organized well. Move it          case and that person is also an entity in mind and I
 25                                                          25
      over into another folder.                                   go to enter their name, I can copy the information




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 33 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                  33 (Pages 126 to 129)
                                                     126                                                           128
  1                                                           1
      that was already inputted so I don't have to go                Q. Okay. Please turn to page 11 at the top
  2                                                           2
      through and write down -- type in everything else,          on July 18th. There's an entry by you referring to
  3                                                           3
      they are already captured in there. I can just copy         a call received from Mrs. Angie Bowen. Is this the
  4                                                           4
      it over and it assigns a new entity number, because         phone call you referred to earlier in your testimony
  5                                                           5
      it's a separate investigation.                              about a mother of a friend of Aguigui's?
  6                                                           6
           Q. So just as there's a different case number             A. Yes, sir, I believe it is.
  7                                                           7
      for each investigation, each individual would have a           Q. Was Ms. Bowen actually associated with the
  8                                                           8
      separate entity number for each investigation they          Beaufort County Sheriff's Office?
  9                                                           9
      appear in?                                                     A. I think the reason why I put in there --
 10                                                          10
           A. Yes, sir. Because they will show up as              associated with her Beaufort County Sheriff, I think
 11                                                          11
      what we call unique offenders. If one soldier is            whenever she called, she was saying, Hey, I'm a
 12                                                          12
      the subject of five different CID LERs over time,           dispatcher with Beaufort County Sheriff's Office, I
 13                                                          13
      every time they are entered in they will be assigned        just want to let you know. She identified herself
 14                                                          14
      a different entity number.                                  with Beaufort County Sheriff's Office.
 15                                                          15
           Q. Turning to page five, in the middle there,             Q. So she wasn't just a witness calling from
 16                                                          16
      it refers to an interview you conducted of Sergeant         the sheriff's office?
 17                                                          17
      First Class Sean Waldron?                                      A. She was -- she was a person reporting
 18                                                          18
           A. Yes, sir.                                           information to us, who also told us that she
 19                                                          19
           Q. You previously testified that you did not           happened to be employed by the Beaufort County
 20                                                          20
      recall any interviews other than the phone call that        Sheriff's Office. She wasn't calling like in an
 21                                                          21
      you received from a friend of Aguigui's mother?             official capacity that, Hey, this is so and so with
 22                                                          22
           A. Yes, sir.                                           the Beaufort County Sheriff's Office.
 23                                                          23
           Q. Looking at this entry now, do you recall               Q. And you made note here that she had told
 24                                                          24
      this interview?                                             you Aguigui made statements indicating that he
 25                                                          25
           A. Vaguely. And I don't believe this was               planned on moving to Columbia, South Carolina and


                                                     127                                                           129
  1                                                           1
      really an in-depth interview. Not like sitting down         was in the process of obtaining an undetermined
  2                                                           2
      in a room together. This was happening, again, you          amount of money through unknown means.
  3                                                           3
      see the time that it took, about ten minutes.                      What significance did that statement have
  4                                                           4
      Because he was PSE Aguigui's Acting First Sergeant,         to you at the time?
  5                                                           5
      just trying to determine what information he might              A. At the time what it meant to me was
  6                                                           6
      know that would be helpful to us. I did not                 that -- yeah, at the time, it was suspicious to me,
  7                                                           7
      specifically remember at the time. But looking at           that he was planning on moving. So I did not -- I
  8                                                           8
      that now, I remember talking to Sean Waldron.               did not take too much -- I did not take that to mean
  9                                                           9
          Q. What was the significance of noting that             too much, because that could either mean, he plans
 10                                                          10
      Private First Class Aguigui was friends with                on getting out, whatever, that he's in the process
 11                                                          11
      Specialist Schaefer?                                        of obtaining an amount of money. I don't know if
 12                                                          12
          A. We typically want to -- we want to                   that means because he wanted to rip off this drug
 13                                                          13
      identify people who are close to anyone in an               dealer that we were already investigating, or that
 14                                                          14
      investigation. Basically trying to develop a list           he planned on getting out of the Army and getting a
 15                                                          15
      of possible leads so we can evaluate it later and           new job. But looking at it all in its totality at
 16                                                          16
      prioritize them to see whether or not, interview of         that time, I found it suspicious and that's why we
 17                                                          17
      this person, Schaefer, his friend, etcetera,                wanted to action this and look into it further.
 18                                                          18
      etcetera, is something that we need to pursue.                  Q. Do you recall whether you took any
 19                                                          19
          Q. Now, the designation NFI after Specialist            specific action with respect to Aguigui regarding
 20                                                          20
      Schaefer, does that indicate that you know no               his attempts to get insurance benefits or death
 21                                                          21
      further information about this specialist?                  benefits as a result of his wife's death?
 22                                                          22
          A. It meant that at the time when I entered                 A. If I took specific actions?
 23                                                          23
      this in, I did not know his first name or unit,                 Q. Yes.
 24                                                          24
      Social Security number, things like that. Just                     MS. JOHNSTON: To Aguigui?
 25                                                          25
      Specialist Schaefer was all I was told.




                                 Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 34 of 80

Toole, Wes                                                                                February 26, 2016
34 (Pages 130 to 133)
                                                       130                                                        132
 1                                                            1
      BY MR. BROOK:                                                  A. I don't remember -- can you rephrase --
 2                                                            2
         Q. With anyone. If you took any actions.                 not rephrase it, can you restate the question?
 3                                                            3
         A. So I recall a conversation that I had with                   (Requested portion read.)
 4                                                            4
      Casualty Affairs Office with regard to death                       THE WITNESS: And, again, I don't know
 5                                                            5
      gratuity benefits.                                             whether we had a conversation -- I do remember
 6                                                            6
         Q. Does death gratuity benefits include the                 having a conversation with Greene about the
 7                                                            7
      SGLI?                                                          death gratuity and benefits, I don't recall if
 8                                                            8
         A. Yes, sir.                                                it was before this conversation with Ms. Oates
 9                                                            9
         Q. When did that conversation take place?                   or afterward. But I remember us having a
 10                                                          10
             MS. JOHNSTON: You can look.                             conversation about, you know, whether or not
 11                                                          11
         A. All right. I'm reviewing my CAS. So                      the CAO's office would be paying those benefits
 12                                                          12
      looking at the Case Activity Summary at 08:30 on the           or those -- the SGLI, whether or not they would
 13                                                          13
      morning of the 19th, I had a conversation with Ms.             pay them or if there was any way they could
 14                                                          14
      Oates, Casualty affairs Office regarding the SGLI.             withhold paying it until we could figure things
 15                                                          15
         Q. And do you remember that conversation?                   out better. Also the fact that we don't have
 16                                                          16
         A. Somewhat. I remember having the                          any control over that mechanism either way. I
 17                                                          17
      conversation. I remember certain details of it.                remember a conversation about that, but I don't
 18                                                          18
      But I remember it.                                             remember it in sequence. I don't remember what
 19                                                          19
         Q. Who initiated the call?                                  triggered what, if that helps.
 20                                                          20
         A. Says that Mrs. Oates contacted us. Says,              BY MR. BROOK:
 21                                                          21
      contacted by Mrs. Oates.                                       Q. Why were you concerned about trying to
 22                                                          22
         Q. Is that consistent with your recollection?            have the pay withheld from Private Aguigui?
 23                                                          23
         A. I mean, that's -- I recall the                           A. Because we had suspicion about Aguigui's
 24                                                          24
      conversation, but I don't remember who picked up the        involvement in his wife's death. Naturally, I did
 25                                                          25
      phone first, so that's why I'm going off the CAS            not want to see until we could either exonerate him


                                                       131                                                        133
  1                                                          1
      that says I was contacted by Mrs. Oates.                    completely or determine that he did cause the death,
  2                                                          2
          Q. Do you recall having any conversations               did not want to see the government pay out SGLI to
  3                                                          3
      with other agents at the CID office before having           somebody we later determined had killed her. That
  4                                                          4
      this conversation with Mrs. Oates?                          was the only concern there.
  5                                                          5
          A. I don't recall the sequence of events that               Q. Had you ever encountered this potential
  6                                                          6
      were going on beforehand or after whenever I had            situation before with any of your death
  7                                                          7
      this call. You know, this again, this was in 19             investigations?
  8                                                          8
      July, 2011. I remember the phone call, because I                A. No.
  9                                                          9
      remember it had to do with the SGLI of Aguigui. But             Q. Have you encountered it since?
 10                                                          10
      the events and circumstances surrounding it, I don't            A. Yes. No, actually I was incorrect in
 11                                                          11
      recall.                                                     that. I had encountered it once before with an
 12                                                          12
          Q. Specifically do you recall talking about             investigation we had at Fort Stewart a few months
 13                                                          13
      Aguigui's attempting to get death gratuity benefits         prior when I was the Assistant Special Agent in
 14                                                          14
      with Special Agent Greene?                                  charge. We had a spouse that stabbed her husband to
 15                                                          15
          A. Do I remember it? I don't remember a                 death and she was immediately listed as the subject
 16                                                          16
      specific conversation, but that doesn't mean that we        in the case. And the benefits were withheld until
 17                                                          17
      did not. In fact, I'm pretty confident I had                we were able to exonerate her. Long story short, it
 18                                                          18
      conversations with Agent Greene about it, he was my         was ruled as justifiable homicide because he was
 19                                                          19
      Assistant Special Agent in charge so we had a lot of        attacking her, attempting to rape her.
 20                                                          20
      different conversations. Especially about this                     So I was somewhat familiar, but I was the
 21                                                          21
      case, yes, sir.                                             ASAC at the time, so I had some little level of,
 22                                                          22
          Q. Did you talk with Agent Greene about                 okay, so there's a whole process here on CAO can
 23                                                          23
      proactively contacting the Casualty Assistance              only pay it out whenever a -- or they can't pay it
 24                                                          24
      Office, telling them not to make death benefit              out if somebody is listed as a subject.
 25                                                          25
      payments to Private Aguigui?                                    Q. Now, is it only if a person is listed as a




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 35 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                  35 (Pages 134 to 137)
                                                      134                                                        136
  1                                                           1
      subject, what if a person is a person of interest?          could not say whether he could be ruled out or not.
  2                                                           2
          A. If a person is a person of interest. What            So it would seem extremely, extremely unlikely that
  3                                                           3
      was -- and, again, reviewing back to the CAS entry          I had a conversation to say, Yeah, we ruled him out.
  4                                                           4
      detailing this conversation, she contacted -- she               Q. Do you recall whether you promised Ms.
  5                                                           5
      contacted us asking if he was -- if he was a suspect        Oates to get back in touch with her after the
  6                                                           6
      or if he was a person of interest. What I explained         autopsy of Deidre Aguigui?
  7                                                           7
      to her was that Aguigui had not been listed as the              A. Did you ask is it possible?
  8                                                           8
      subject of our case, which is that title block, but             Q. Can you recall whether --
  9                                                           9
      that we had not ruled him out either. And we                    A. I don't recall if I did or not. But that
 10                                                          10
      suggested that the payment be withheld until we can         sounds like -- if she says that we had said that --
 11                                                          11
      either, you know, rule him out or include him as our        or I said that, that sounds something that's
 12                                                          12
      primary suspect. That's the way that I recall that          reasonable. Because that would be my full intent.
 13                                                          13
      conversation going.                                         I can't really tell you anything -- I'm not going to
 14                                                          14
          Q. And how did Ms. Oates respond when you               know anything until after the autopsy.
 15                                                          15
      told her that?                                                  Q. And as you sit here today, you're not sure
 16                                                          16
          A. She seemed okay with that. She said,                 whether you had a conversation with her after the
 17                                                          17
      Okay, that seems reasonable. We can withhold                autopsy or not?
 18                                                          18
      payment until we get word that he's either cleared;             A. Well, I'm trying to remember. The autopsy
 19                                                          19
      or, Yes, he's the subject.                                  was completed, but we still did not have a report or
 20                                                          20
          Q. Did you speak with Ms. Oates again after             any results or anything. I think even up until the
 21                                                          21
      that?                                                       time I left. So, again, I don't remember another
 22                                                          22
          A. I don't remember if I do or not. Or if I             conversation with Ms. Oates, but I don't think we
 23                                                          23
      did or not.                                                 would have had any conversation about the results of
 24                                                          24
          Q. If you did speak with her, is that                   autopsy or anything like that.
 25                                                          25
      something you would have also noted in the CAS?                 Q. In your experience, how long does it



                                                      135                                                        137
 1                                                           1
          A. It's possible, yes, sir.                             typically take for an autopsy report to be received
 2                                                           2
          Q. Is it possible that you would not have               by CID?
 3                                                           3
      noted it in the CAS?                                           A. So based on my experience, it really all
 4                                                           4
          A. That's possible, also.                               depends on the type of death, the event and
 5                                                           5
          Q. How would you decide whether or not to               circumstances surrounding it. You know, I'll give
 6                                                           6
      note it in the CAS?                                         two examples.
 7                                                           7
          A. It probably wouldn't have been a decision.                 One, if a person is in a car, witnesses,
 8                                                           8
      It probably would have been based on the fact we're         and, you know, they get into a traffic accident,
 9                                                           9
      overseeing 140 different investigations and I get a         usually you would expect that autopsy would come
 10                                                          10
      two-minute call from somebody while someone else is         back relatively soon. Within a month or two.
 11                                                          11
      walking in the door. It could have been one of              Something else where someone died under, you know,
 12                                                          12
      those where we talked and I just did not document           unusual circumstances, it could take months. More
 13                                                          13
      it.                                                         than months. Possibly up to a year depending on the
 14                                                          14
          Q. Do you recall at any point in time telling           complexity of it. But, you know, at a minimum it's
 15                                                          15
      her that Private Aguigui was not a person of                going to take a few months.
 16                                                          16
      interest in the death of his wife?                             Q. Is CID required to wait for an official
 17                                                          17
          A. No.                                                  autopsy report before making someone a subject of a
 18                                                          18
          Q. Is it possible that you may have said                report of investigation for homicide?
 19                                                          19
      something like that to her?                                    A. No.
 20                                                          20
          A. Anything is possible, but I would find it               Q. Does CID typically wait for an autopsy
 21                                                          21
      highly, highly unlikely. Because by the time I was          report before doing so?
 22                                                          22
      deploying, he had not been ruled out. By the time I            A. We typically try to have all available
 23                                                          23
      left that office, he had not been ruled out.                evidence in order to review in its totality so we
 24                                                          24
      Because to the best of my recollection we still             can make an intelligent decision on credible
 25                                                          25
      hadn't been provided with a cause of death, so we           information for titling purposes.




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 36 of 80

Toole, Wes                                                                               February 26, 2016
36 (Pages 138 to 141)
                                                      138                                                        140
  1                                                          1
           Q. The note on -- I think we were looking at          not. It's quite possible, but I can't remember.
  2                                                          2
      it's page 16 for July 19th, 2011 regarding Ms.             Because I remember having a conversation with
  3                                                          3
      Oates. At the end it says, Ms. Oates provided a            another agent about the death gratuities. But I
  4                                                          4
      contact number, I guess for herself and also a             can't remember if it was whenever I was already
  5                                                          5
      number for the appointed casualty affairs office           deployed. I don't recall.
  6                                                          6
      Sergeant First Class Lapsley.                                  Q. I know this is a time period after you
  7                                                          7
              Did you ever speak with Sergeant First             were already deployed, but if you could turn to page
  8                                                          8
      Class Lapsley?                                             75, Exhibit 13.
  9                                                          9
           A. I'd have to look through the AESs to                   A. Yes, sir.
 10                                                         10
      confirm that. I assume that I did, by I'll have to             Q. At the bottom there's a quality control
 11                                                         11
      confirm it.                                                entry on December 7th, 2011 by Larry Turso. Did you
 12                                                         12
           Q. Direct your attention to the top of page           know Larry Turso?
 13                                                         13
      25.                                                            A. Yes, sir, I did.
 14                                                         14
           A. Yes, sir. Thank you. Review of the CAS,                Q. Who is he?
 15                                                         15
      I contacted Sergeant Lapsley on 19 July.                       A. Larry Turso was the Assistant Operations
 16                                                         16
           Q. Do you recall that conversation at all?            Officer for the Benning CID Battalion.
 17                                                         17
           A. I don't specifically recall that                       Q. So you reported to him?
 18                                                         18
      conversation. But, you know, I can tell you most of            A. No, sir. I reported to the operations
 19                                                         19
      the Casualty Affairs -- the CAO coordinations that         officer and the Battalion Commander. Mr. Turso was
 20                                                         20
      are done before a CLO brief, if you will, they are         an assistant to the Operations Officer. I say that
 21                                                         21
      typically designed to -- the intent is to make sure        to say he was not in my rating chain in military
 22                                                         22
      that I have good points of contact with the family,        parlance.
 23                                                         23
      with them to explain -- and also to explain CID                Q. So he occupied the same position that you
 24                                                         24
      roles and responsibilities and what me, as the SAC,        did when you first got to your current post?
 25                                                         25
      what my responsibilities are in keeping the family             A. Yes, sir.



                                                      139                                                        141
  1                                                          1
      informed.                                                     Q. Now, I'd like you to look at the bottom of
  2                                                          2
         Q. Did you inform Sergeant Lapsley that                 page 76, it's a continuation of a fairly long entry.
  3                                                          3
      Private Aguigui was a person of interest in the            Remarks, Good call by Mr. Toole on delaying payment.
  4                                                          4
      investigation?                                             How did we screw this up? Continues on the next
  5                                                          5
         A. I don't know if I did or not.                        page. Perhaps we need to look into freezing his
  6                                                          6
         Q. Do you know what happened with the death             accounts.
  7                                                          7
      gratuity benefit for Deidre Aguigui after your                   Were you aware of this statement by
  8                                                          8
      conversation with Ms. Oates?                               Mr. Turso?
  9                                                          9
         A. I heard after the fact that they had paid               A. I was made aware of that entry by
 10                                                         10
      out. That Private Aguigui was paid SGLI at some            Mr. Turso after the fact, yes, sir.
 11                                                         11
      point. I don't know when, but I heard about that              Q. And how were you made aware of it?
 12                                                         12
      after the fact.                                               A. I recall -- I had a conversation with an
 13                                                         13
         Q. Who did you hear about that from?                    agent who was here at the time. And I don't
 14                                                         14
         A. I don't remember. I don't know if it was             remember who I had the -- who told me about it, but
 15                                                         15
      from another agent or -- I can't remember.                 they told me about this review that he put in there.
 16                                                         16
         Q. Do you remember if it was before or after               Q. And did you attempt to try to answer the
 17                                                         17
      the reporting of the Roark and York murders that           question that he had posted?
 18                                                         18
      Aguigui was implicated in at the end of 2011?                 A. No. I had my own office in Kuwait that I
 19                                                         19
         A. I don't remember.                                    was worried about whenever he put that review in.
 20                                                         20
         Q. Were you ever contacted about that for                  Q. I'd like you to turn to page 78. What
 21                                                         21
      purposes of CID determining what you said to the           appears to be a response by Case Agent Jeremy Fox to
 22                                                         22
      insurance -- or to the death gratuity benefits             the entry by Mr. Turso that we looked. On the
 23                                                         23
      people?                                                    middle of page 78, a third of the way down, Mr. Fox
 24                                                         24
         A. I don't remember. I don't remember if I              wrote, Discussed with CAO. Their records indicate
 25                                                         25
      was -- if I was contacted by anybody about that or         the exact time and date of the coordination




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 37 of 80

Toole, Wes                                                                                 February 26, 2016
                                                                                  37 (Pages 142 to 145)
                                                     142                                                           144
  1                                                           1
      documented in this case file by SAC Toole. However,         purchasing weapons either while I was the SAC or
  2                                                           2
      their notes stated he was not a person of interest.         while I was deployed. I can't remember the timeline
  3                                                           3
              Were you aware that that was what their             when I learned that information or when I did not.
  4                                                           4
      notes showed?                                                   Q. Looking at this Exhibit 30, page nine.
  5                                                           5
          A. I was made aware of that after reviewing             The numbers are at the bottom left of each page.
  6                                                           6
      these CAS entries.                                              A. Yes, sir.
  7                                                           7
          Q. Recently you mean?                                       Q. For whatever reason this printed out
  8                                                           8
          A. Yes, sir.                                            without a Bates number on it. Page 9 of 130 it
  9                                                           9
          Q. Were you aware of that before preparing              says. At the top there's an entry that is dated
 10                                                          10
      for this deposition?                                        July 19th, 2011. That's the same date that we were
 11                                                          11
          A. No, sir.                                             just looking at in the CAS, correct?
 12                                                          12
          Q. Does that surprise you that was in their                 A. Yes, sir.
 13                                                          13
      notes?                                                          Q. If you would, please, read through that
 14                                                          14
          A. Yes.                                                 paragraph entry at the top referring to Agent Toole
 15                                                          15
          Q. Were those notes incorrect?                          and Mr. Plumey by Rosa Oates. And when you're done,
 16                                                          16
          A. I can't say what those notes said or not,            let me know.
 17                                                          17
      all I can tell you is what they conveyed to Agent               A. Okay, sir.
 18                                                          18
      Fox that he documented here. I will say that if                 Q. Having now seen the notes from staff
 19                                                          19
      their notes depicted that he was not a person of            journal Rosa M. Oates, is there anything in there
 20                                                          20
      interest, if those notes said that, then those notes        that you just read incorrect?
 21                                                          21
      would not be correct.                                           A. The information that I see that's
 22                                                          22
              (Exhibit 30 marked.)                                inconsistent is that the depiction saying that I
 23                                                          23
          Q. Let's take a look the Exhibit 30.                    said the spouse was not a person of interest. I
 24                                                          24
              Before we get to this, I want to follow up          told them that the spouse was not listed as a
 25                                                          25
      on something you said before. You had a                     subject at this time; however, we had not ruled him



                                                     143                                                           145
  1                                                          1
      conversation with an agent about the remarks made by        out on whether or not he is a person of interest.
  2                                                          2
      Mr. Turso, which agent was that?                            It appears that there was miscommunication here.
  3                                                          3
          A. I don't remember which agent it was. I               Either that or a misunderstanding on the part of the
  4                                                          4
      remember I had a conversation -- either while I was         person that entered this information.
  5                                                          5
      deployed or whenever I came back. It was just one               Q. Do you recall whether you told her, the
  6                                                          6
      of those things, catching up things, how's this case        person that you were speaking to, that there was an
  7                                                          7
      going. And someone made a comment about that                autopsy that was going to be performed that morning
  8                                                          8
      review.                                                     and that upon review of the results you would be
  9                                                          9
          Q. And as you sit here today, do you know               able to state whether or not the spouse is a person
 10                                                          10
      what Private Aguigui did with the money that he             of interest?
 11                                                          11
      received?                                                       A. I don't remember saying that specifically.
 12                                                          12
          A. I don't know what he did with that money.            But that seems very unreasonable considering we are
 13                                                          13
      I know what I've been told what he did with it, but         not given the results of an autopsy at completion of
 14                                                          14
      I don't know what he did with it.                           the exam itself. When we leave an autopsy suite,
 15                                                          15
          Q. What were you told he did with it?                   sometimes it jumps right out at you, There's two
 16                                                          16
          A. I was told that people have suggested that           bullet holes in somebody. Other times in a case
 17                                                          17
      he used the money to purchase weapons.                      like this, we are not going to know what the results
 18                                                          18
          Q. And who told you that?                               are, so we can't say whether someone still has been
 19                                                          19
          A. I don't remember. I don't remember if it             ruled out or not. So it would seem highly unusual
 20                                                          20
      was another agent or if it was something that I read        that I would make any assurances that, Hey, once
 21                                                          21
      in the news. Any number of sources.                         they are done with the autopsy this morning, I'll be
 22                                                          22
          Q. While you were a SAC in Fort Stewart, were           able to tell you what happened.
 23                                                          23
      you aware of any purchase of weapons by Private                 Q. How long was the phone call between you
 24                                                          24
      Aguigui?                                                    and Ms. Oates?
 25                                                          25
          A. I don't remember if I found out about                    A. I can't recall. But if I look at the




                                 Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 38 of 80

Toole, Wes                                                                                February 26, 2016
38 (Pages 146 to 149)
                                                      146                                                         148
  1                                                           1
      CASs, it might give me an indication of the time. I         conversation did not take place as it was depicted
  2                                                           2
      mean, I'm going to go out on a limb and say it was          here. Not exactly. Because, you know, she's again
  3                                                           3
      brief. Yeah, so approximately five minutes                  saying the spouse-- that I'm saying that Agent West,
  4                                                           4
      according to the CASs that I entered into. About a          I don't know who that is, stated that the spouse is
  5                                                           5
      five-minute conversation.                                   not considered a person of interest. I never had
  6                                                           6
          Q. And that entry would have been made                  that conversation, saying that someone is not a
  7                                                           7
      relatively quickly after the call?                          person of interest. So I probably said that the
  8                                                           8
          A. I would think so.                                    spouse is not listed as a subject at this time, but
  9                                                           9
          Q. Aside from what you have mentioned before            we haven't been able to rule it out. That seems
 10                                                          10
      about not being able to say whether the spouse was a        more consistent with what the conversation would
 11                                                          11
      person of interest, is there anything else that you         have been.
 12                                                          12
      noted -- and what else we talked about, about the               Q. Okay. Just to confirm. This is your
 13                                                          13
      autopsy, is there anything else about that that you         first time seeing these notes?
 14                                                          14
      think is incorrect in these notes?                              A. Yes, sir.
 15                                                          15
          A. I don't know. Because most of the                        Q. And your testimony is that these notes are
 16                                                          16
      information contained with this note also has               quite inaccurate; is that right?
 17                                                          17
      internal conversations between other people that I              A. I don't know that I would characterize
 18                                                          18
      did not have a conversation with, so aside from             them as quite. Because, again, a lot of the
 19                                                          19
      what's -- where it mentions me, I can't say whether         information within this note -- this is referring to
 20                                                          20
      something is accurate or not.                               other people that aren't me. But the portion that
 21                                                          21
          Q. Now, if you would, please, turn to page              does refer to me, is not the conversation that I
 22                                                          22
      15. There's a bottom entry, again by a Rosa Oates           recall having with the CAO's office.
 23                                                          23
      dated July 21st, 2011. And if you would, please,                Q. Having read this, do you recall whether
 24                                                          24
      read through that and let me know when you're done.         you spoke with anyone at the CAO office besides Ms.
 25                                                          25
          A. Yes, sir.                                            Oates?



                                                      147                                                         149
  1                                                           1
          Q. Having seen these notes, does this refresh               A. No. The only person I can remember
  2                                                           2
      your recollection about a subsequent conversation?          talking to was Ms. Oates and then Sergeant Lapsley
  3                                                           3
          A. Yes, sir, it does.                                   is referred to as a CAO, but he's not assigned to
  4                                                           4
          Q. And what do you recall about that                    the CAO's office. It's usually the Casualty Affairs
  5                                                           5
      conversation?                                               Officer appointed to the family. It's usually
  6                                                           6
          A. I recall them contacting -- contacting me            someone from a different unit and they are appointed
  7                                                           7
      again several days later. Again, asking, Have you           a temporary appointment order. So those two
  8                                                           8
      guys been able to make a determination? I said, No,         individuals are the only two I can remember from the
  9                                                           9
      there has not been any change, we are still waiting         CAO representation that I talked to.
 10                                                          10
      on, you know, to determine what the cause was so                Q. CAO is separate from CID, correct?
 11                                                          11
      that we can see whether -- you know, Mr. Aguigui                A. Yes, sir.
 12                                                          12
      is -- whether he's still a person of interest, but              Q. To your knowledge, is there any amount of
 13                                                          13
      we haven't been able to rule him out.                       official coordination between the CAO and CID
 14                                                          14
             What I recall from the conversation say,             office?
 15                                                          15
      Well, a soldier has to be, you know -- they have to             A. Only during a death investigations we'll
 16                                                          16
      be listed as a subject or if they are not -- if they        normally coordinate with the CAO's office to figure
 17                                                          17
      are not charged -- I forget the verbiage that she           out, Hey, have you appointed a Casualty Affairs
 18                                                          18
      used, but it was something that did not apply to us         Officer yet, can you provide me with their contact
 19                                                          19
      and CID reporting. Well, if a soldier is not                information so that I can do those CLO briefs that
 20                                                          20
      charged or arrested within a certain amount of time,        we discussed. And also, if there's issues with
 21                                                          21
      the payment is going to go through. I said, All I           returning property back to the next of kin, property
 22                                                          22
      can tell you is we have had no change. I can't tell         that we might have collected as evidence, making
 23                                                          23
      you that he is the offender, but I can't rule it out        sure that gets back to the next of kin. But that's
 24                                                          24
      either yet.                                                 kind of the extent of the involvement that CID and
 25                                                          25
             So I do recall that conversation. The                CAO normally have.




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 39 of 80

Toole, Wes                                                                                February 26, 2016
                                                                                  39 (Pages 150 to 153)
                                                       150                                                         152
 1                                                            1
          Q. Do you know whether in recent years                  and let me know when you're done.
 2                                                            2
      there's been any sort of change in the process of               A. Okay, sir.
 3                                                            3
      how CAO confirms whether or not someone is a person                 All right, sir.
 4                                                            4
      of person of interest before making death gratuity              Q. Starting first at the top, this is what
 5                                                            5
      payments?                                                   appears to be a copy of an email from Kirk Knoll,
 6                                                            6
          A. I'm not familiar with CAO's policies or              K-n-o-l-l, to a Curtis Brunsting, B-r-u-n-s-t-i-n-g.
 7                                                            7
      practices.                                                  Do you recognize either of those names?
 8                                                            8
             MR. BROOK: Okay. Show you what we are                    A. No, sir.
 9                                                            9
          going to mark as Exhibit 31.                                Q. And this is dated May 6th, 2014. And do
 10                                                          10
             (Exhibit 31 marked.)                                 you think it's a fair characterization to say that
 11                                                          11
      BY MR. BROOK:                                               this is basically a report generated by someone that
 12                                                          12
          Q. This is a document bearing Bates                     took the notes that we were just looking at and
 13                                                          13
      JAHR0001493 through 1494. And I know this document          accepted all those notes as the truth?
 14                                                          14
      is not addressed to you in any way, but is this a               A. That's the way -- some of the information
 15                                                          15
      form document along the lines of something that you         that I read within this email creates the appearance
 16                                                          16
      have seen?                                                  that the information that they are relating was
 17                                                          17
          A. I've never seen this document before.                derived from or from something similar to the notes
 18                                                          18
          Q. Are you familiar with the Thrift Savings             that we reviewed earlier.
 19                                                          19
      Plan?                                                           Q. And prior to seeing this, did you have any
 20                                                          20
          A. Yes, sir.                                            knowledge that there was an inquiry like this that
 21                                                          21
          Q. What is that?                                        went on?
 22                                                          22
          A. It's -- I mean, it's a plan for soldiers,                A. No, sir.
 23                                                          23
      other Federal employees, in order to pay into --                Q. And you were never contacted by anyone to
 24                                                          24
      toward retirement.                                          try to confirm or deny whether you made the
 25                                                          25
          Q. Is that a private institution or is that             statements reflected in these notes?



                                                       151                                                         153
  1                                                           1
      part of the Army?                                              A. Not that I remember, no.
  2                                                           2
          A. I don't know if -- I know that it's a                   Q. Can you think of why you possibly would
  3                                                           3
      program that the Army uses that -- benefits that a          have forgot something like that?
  4                                                           4
      soldier can elect in order to pay into the TSP,                A. I mean, I've never had a formal
  5                                                           5
      similar to an IRA. I don't know that it's Federally         conversation sitting down and being interviewed by
  6                                                           6
      or government administered or whether it's                  anybody having to do with anything regarding this
  7                                                           7
      contracted privately. I don't know. I know some of          case or these circumstances until now. I've had
  8                                                           8
      my money every month goes out into my TSP.                  conversations with people about, you know, the fact
  9                                                           9
          Q. Although you haven't seen this form, have            that the money that was paid out. But, again, those
 10                                                          10
      you seen any form of any kind relating to confirming        were conversations that I had with other agents
 11                                                          11
      whether individuals are under investigation in              where we were discussing circumstances around the
 12                                                          12
      relation to death gratuity benefits?                        case, whether I was deployed or came back from
 13                                                          13
          A. No. I can't remember any forms that CID              deployment.
 14                                                          14
      comes across. And I don't know that this is                    Q. And none of them ever told you that you
 15                                                          15
      something that's instituted locally or installation         were the guy who they were saying said that Aguigui
 16                                                          16
      by installation, I don't know. I can tell you, this         was not a person of interest?
 17                                                          17
      is the first time I've seen this form.                         A. I don't remember anybody saying that I was
 18                                                          18
             MR. BROOK: Exhibit 32.                               the guy that told them that. I mean, cops get
 19                                                          19
             (Exhibit 32. marked.)                                accused of stuff all the time. Hey, they said you
 20                                                          20
      BY MR. BROOK:                                               did this. That's why I'm saying -- I'm not trying
 21                                                          21
          Q. So showing you what's been marked as                 to be dodgy in my response. Because it's possible
 22                                                          22
      Exhibit 32. And this is pages 127 and 128 out of            that someone could have said, Hey, did you hear that
 23                                                          23
      130 also taken from the staff journal from the              this -- it's possible someone could have said that.
 24                                                          24
      Casualty Assistance Office. If you would, please, I         But it did not really register as a significant
 25                                                          25
      know it's relatively lengthy, just read through this        event for me, because I did not see it as an issue,




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 40 of 80

Toole, Wes                                                                               February 26, 2016
40 (Pages 154 to 157)
                                                     154                                                         156
  1                                                          1
      because I know what I did and did not say. I know,         being conducted. It may be on-the-fly a team chief
  2                                                          2
      so --                                                      huddling his guys together and going over certain
  3                                                          3
          Q. So you had no knowledge at the very least           aspects of Appendix D. It might be one-on-one
  4                                                          4
      of any sort of formal decision being made?                 mentorship. It's not set an in stone format on how
  5                                                          5
          A. No, sir. I wasn't involved in anything              it's going to be done every single time.
  6                                                          6
      like that. And especially this date of 2014, I                 Q. Is training on that ever done based upon a
  7                                                          7
      mean, I was already here at Fort Campbell working          perception that people in the office need it?
  8                                                          8
      over at the battalion. And the first contact that I            A. Sure. Yes, sir.
  9                                                          9
      had regarding this was whenever I was called a few             Q. Do you know whether any such training was
 10                                                         10
      weeks ago.                                                 ordered in connection with the Isaac Aguigui cases?
 11                                                         11
          Q. So have you ever heard of anything                      A. I don't know.
 12                                                         12
      relating more generally to an attempt by the family            Q. Do you recall whether you had an opinion
 13                                                         13
      of Deidre Aguigui, her parents, to get death               as the SAC in Fort Stewart that the special agents
 14                                                         14
      gratuity benefits paid to them?                            could use additional training on Appendix D?
 15                                                         15
          A. No. Not until -- this is for Deidre                     A. Every agent can use additional training on
 16                                                         16
      Aguigui. No, I haven't --                                  Appendix D. Whenever I come into my office in the
 17                                                         17
          Q. I may have misspoke. Okay. But did you              morning, there's two things I open up. CID reg
 18                                                         18
      ever speak to Deidre Aguigui's parents?                    195-1 and my email on two different screens.
 19                                                         19
          A. I did. Again, the CASs would reflect                Because I've been doing this for 19 years, and I'm
 20                                                         20
      those formal casually liaison briefings that were          constantly having to go through the regs. Every
 21                                                         21
      provided. But, you know, I spoke with them once            agent needs continual refresher. By reviewing cases
 22                                                         22
      whenever they were at the quarters I believe,              you identify, Hey, we need to draw this person back
 23                                                         23
      whenever I had to allow them in, escort them in to         to. Hey, we need to do this. So it's an ongoing
 24                                                         24
      get a few personal effects out. I don't remember           process.
 25                                                         25
      how many times I had -- I engaged with them, but,              Q. Do you know what it means to have a raw



                                                     155                                                         157
  1                                                          1
      you know --                                                data file that's called Extremist RDF?
  2                                                          2
              MR. BROOK: We can go off the record for a              A. Yes, sir. I know what the raw data file
  3                                                          3
          second.                                                is.
  4                                                          4
              (Off-the-record.)                                      Q. Can you describe that for me?
  5                                                          5
      BY MR. BROOK:                                                  A. A raw data file, it's a sequence action
  6                                                          6
          Q. In December of 2011, were you deployed to           that you open in alerts or ASC2 and then you create
  7                                                          7
      Kuwait at that time, right?                                a physical file. So if -- I'll give you an example.
  8                                                          8
          A. Yes, sir.                                           In my office, I keep several different raw data
  9                                                          9
          Q. Do you know what CID regulation 195-1               files. I keep one for general crimes, for economic,
 10                                                         10
      Appendix D is?                                             for drugs suppression activity. As we get
 11                                                         11
          A. Yes, sir.                                           information that may not be actionable or credible
 12                                                         12
          Q. What is that?                                       yet, we'll put it in a raw data tab and then the
 13                                                         13
          A. Investigative standards.                            agent -- whoever is responsible for that raw data
 14                                                         14
          Q. And is there regular training on Appendix           file will then evaluate it and see if it's
 15                                                         15
      D for CID agents?                                          actionable. If we need to open up an investigation
 16                                                         16
          A. At least every quarter whenever we go               or not.
 17                                                         17
      through staff assistance reviews, initial command              Q. Okay. And have you ever had an Extremist
 18                                                         18
      inspections, subsequent command inspections, and           raw data file?
 19                                                         19
      then on-the-spot training is provided. So most                 A. Extremist raw data file. So you're asking
 20                                                         20
      agents are pretty familiar with Appendix D.                me as the SAC at Fort Stewart or me right now
 21                                                         21
          Q. And when there's training on Appendix D,            whether I've had an Extremist raw data file?
 22                                                         22
      is that something that the whole office shuts down             Q. I'm asking in general, have you ever heard
 23                                                         23
      for?                                                       of an Extremist raw data file?
 24                                                         24
          A. It depends on the office. Who is in                     A. Sure.
 25                                                         25
      charge of the office. What type of training is                 Q. What is put into an Extremist raw data




                                 Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 41 of 80

Toole, Wes                                                                                 February 26, 2016
                                                                                   41 (Pages 158 to 161)
                                                        158                                                        160
  1                                                            1
      file?                                                        check the big criminal databases and the internal
  2                                                            2
          A. Any information that -- my interpretation             CID stuff?
  3                                                            3
      of what an Extremist, using air quotes, raw data                A. Yes, sir.
  4                                                            4
      file would be, anything having to do with hate bias             Q. Is that something that's specified by
  5                                                            5
      groups, gangs, you know, counter-establishment               regulations?
  6                                                            6
      organizations that undermine law enforcement,                   A. It states that law enforcement record
  7                                                            7
      government. Any of those type of things. Extremist           checks will be done for people who are suspects of a
  8                                                            8
      organizations, hate bias. I call it something                criminal offense. So there's several different
  9                                                            9
      different. We have a gang RDF at my office. But              databases. The regulation doesn't specify -- it
 10                                                           10
      that's what I would put in that.                             does specify at a minimum the NCIS checks will be
 11                                                           11
          Q. Were you aware whether or not there was an            done. But it does not specify further or doesn't
 12                                                           12
      Extremist raw data file that mentioned Isaac Aguigui         dictate further what law enforcement record checks
 13                                                           13
      in 2011?                                                     are. So, you know, obviously NCIS. There are
 14                                                           14
          A. I don't know.                                         number of other law enforcement databases that an
 15                                                           15
          Q. Do you have any recollection of that?                 individual can query. I mean, a laundry list could
 16                                                           16
          A. I don't remember.                                     be the length of your arm. So to try to hit every
 17                                                           17
          Q. Is that something that could be                       single database, you know what I'm saying, it all
 18                                                           18
      significant when you're investigating someone for            depends on the nature and circumstances. At a
 19                                                           19
      potential crimes that there's a raw data file open           minimum, we would do NCIS checks and then Crime
 20                                                           20
      on them?                                                     Records Center checks through our own internal
 21                                                           21
          A. You're asking me about something I don't              system there. But, otherwise, it doesn't say you
 22                                                           22
      even know existed was significant. I don't know.             will check this and you will check that.
 23                                                           23
          Q. Is it something that could be significant?               Q. And you mentioned name checks have to be
 24                                                           24
          A. Sure. I mean, if -- anything could be                 done on suspects, was the word that you used. Does
 25                                                           25
      significant when reviewed in its totality. So it's           suspect equal a person of interest or a subject?



                                                        159                                                        161
 1                                                             1
      just very difficult to answer if I don't know that               A. The term suspect and person of interest
 2                                                             2
      there was something like that. And then considering          are in my opinion kind of interchangeable. More
 3                                                             3
      when that information was known, what the quality            terms of art versus technical terms. A subject is
 4                                                             4
      and type of information there was, there's just a            someone, hey, we have credible information they are
 5                                                             5
      lot of ifs in that to see whether or not it would be         going in the title block, they are the subject of
 6                                                             6
      significant or I would think it's significant.               our investigation. A person of interest or suspect
 7                                                             7
          Q. In order to know you would have to see the            is someone that we have information about, but we
 8                                                             8
      raw data?                                                    are still trying to evaluate that and either confirm
 9                                                             9
          A. I would have to see it and then review it             it or rule it out.
 10                                                           10
      in terms of what the information said. When that                 Q. Just one last question. Ms. Tolbert was
 11                                                           11
      information was obtained. What it was in regards             with CIC; is that correct.
 12                                                           12
      to. It would have to be evaluated in its totality.               A. That's correct.
 13                                                           13
          Q. Do you know if someone is mentioned in an                 Q. Let's go to page 7 of Exhibit 13.
 14                                                           14
      Extremist or raw data file in general, is that                   A. Seven you said?
 15                                                           15
      something that comes up when you run a name check on             Q. Yes. And there is a continuation of the
 16                                                           16
      that individual?                                             entry we were looking at earlier by Larry Turso.
 17                                                           17
          A. So if you were to conduct a search of                 After the question that we looked at where you asked
 18                                                           18
      alerts or ACI2, yes, that would come up if that              about the payment to Aguigui. He asked, How is it
 19                                                           19
      person was entered in as an entity. If you went on           possible that Ms. Tolbert cites, quote, no
 20                                                           20
      and did like a typical NCIC, law enforcement                 information was identified to assist the Case Agent,
 21                                                           21
      criminal background, it would not show up. There's           end quote, during a criminal review when Aguigui is
 22                                                           22
      no conviction associated with it, it's just an               listed as a person of interest in 204-11-093
 23                                                           23
      indexing like database.                                      exclamation mark.
 24                                                           24
          Q. For CID name check procedures, for someone                A. Yes, sir.
 25                                                           25
      who is a person of interest, are you supposed to                 Q. Do you know how that's possible?




                                   Henderson Legal Services, Inc.
202-220-4158                                        www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 42 of 80

Toole, Wes                                                                                February 26, 2016
42 (Pages 162 to 165)
                                                      162                                                         164
 1                                                           1
          A. I believe you probably would have to ask            referring to Federal Law. Like arrest authority or
 2                                                           2
      Mr. Turso or Ms. Tolbert, because I'm sure they had        reasonable searches and seizures. That's not
 3                                                           3
      a question about it. I know how it's possible due          reasonable application insofar as CID standard.
 4                                                           4
      to the fact -- there's any number of ways that it          This is what we have to comply with. But those
 5                                                           5
      can be possible. If a person just simply overlooks         internal policies that we as in CID place on
 6                                                           6
      it or they make assumptions because the other case         ourselves through the reg, there's a reasonableness
 7                                                           7
      is still ongoing. I mean, both of these cases were         of application. And specific to Appendix D, there's
 8                                                           8
      opened simultaneously, so it's possible. I use the         a caveat in there that explains, you know,
 9                                                           9
      word possible, that she may not have included that         reviewers, auditors, etcetera, etcetera, will apply
 10                                                         10
      or cited that in her criminal review because she           reasonable application or reasonable -- I'm sorry
 11                                                         11
      knew that both cases were ongoing simultaneously,          I'm getting stuck here. Based on a number of
 12                                                         12
      and knew that both of those teams were                     factors. Whether it's manpower, operational tempo,
 13                                                         13
      communicating. Mr. Dale, Mr. Kapinus, me, the ASAC.        etcetera, etcetera.
 14                                                         14
      So it might not have registered to her to highlight           Q. And does -- and that applies to every
 15                                                         15
      that, because it would be almost like stating the          level of CID agent, is that right, so that each --
 16                                                         16
      obvious.                                                   every CID agent no matter what their level of
 17                                                         17
          Q. Now, as far as this reference goes,                 responsibility applies to reasonable application
 18                                                         18
      Mr. Turso described Aguigui as a person of interest        standards?
 19                                                         19
      in 204. But wasn't your testimony earlier that                A. Sure. Yes, sir. Yes, sir. And I'm
 20                                                         20
      based on these notes and your recollection, that he        again, using an example as a way to try to explain
 21                                                         21
      was actually more than that, he was a subject?             this. So if the regulation says that a case will be
 22                                                         22
          A. In 204?                                             reviewed by a supervisor once every ten working
 23                                                         23
          Q. In 204, that's the --                               days, and if it's day 11 and it's supposed to come
 24                                                         24
          A. The conspiracy. Yes, sir. It was my                 to me and that case isn't there, I'm not going to go
 25                                                         25
      testimony. But I can't tell you why Mr. Turso used         and give that agent a reprimand or a counseling



                                                      163                                                         165
  1                                                         1
      the term person of interest in here. Aguigui was           because it was one day late. Because I also know
  2                                                         2
      listed as a subject in LER-204.                            they stayed up 48 hours doing this or they had this
  3                                                         3
          Q. You mentioned that you keep open on your            case going on or they had this. So it's looking at
  4                                                         4
      computer a copy of the Regulation 195-1?                   everything in totality and trying to balance the
  5                                                         5
          A. Yes.                                                fact that this is an art versus a science. And
  6                                                         6
          Q. Is that because it's too much to memorize?          there has to be a reasonable expectation on certain
  7                                                         7
          A. Yes, sir.                                           things.
  8                                                         8
          Q. How big is it?                                          Q. In your opinion, would it be reasonable
  9                                                         9
          A. The current version on PDF is 784 pages,            for a Team Chief not to know that there was no Case
 10                                                         10
      before and including appendices and whatnot. It's          Agent assigned to a case?
 11                                                         11
      impossible to memorize. It's impossible to comply              A. There's no way that a Case Agent would not
 12                                                         12
      with the letter of a regulation 100 percent of the         be assigned to somebody. If a case was not assigned
 13                                                         13
      time at any given time. So that's the reason why we        to an agent or investigator subordinate to that Team
 14                                                         14
      are constantly providing training on it. Trying to         Chief, it's investigated by the Team Chief. It's
 15                                                         15
      reinforce it. And why we had those quick reference         assigned to that Team Chief. So there's -- I don't
 16                                                         16
      guides on there, etcetera, etcetera.                       know how that's possible.
 17                                                         17
          Q. Now, you mentioned earlier there's a -- a                  MR. BROOK: Okay. I have no further
 18                                                         18
      reasonableness component to Regulation 195-1?                  questions.
 19                                                         19
          A. Yes, sir.                                                  MS. JOHNSTON: Nothing from me. We'll
 20                                                         20
          Q. Does that apply to the entire regulation                reserve.
 21                                                         21
      or is it specific to the timing thing --                          COURT REPORTER: Do you want it typed up?
 22                                                         22
          A. Specific to Appendix D. I mean, there are                  MR. BROOK: Yes.
 23                                                         23
      certain things throughout the regulation the                      MS. JOHNSTON: I'll take Etran.
 24                                                         24
      reasonable application standard applies. There are                MR. BROOK: Yes.
 25                                                         25
      some things such as anything where they are                      (Deposition concluded at 2:51 p.m.)




                                  Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
      Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 43 of 80

Toole, Wes                                                              February 26, 2016
                                                                    43 (Pages 166 to 167)
                                                              166
 1
             ACKNOWLEDGMENT OF DEPONENT
 2

 3
            I, _______________________, do hereby
 4
      acknowledge that I have read and examined the
 5
      foregoing testimony, and the same is a true, correct
 6
      and complete transcription of the testimony given by
 7
      me, and any corrections appear on the attached Errata
 8
      Sheet signed by me.
 9

 10

 11
      ____________      ___________________________________
 12
       (DATE)               (SIGNATURE)
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25




                                                              167
  1
                 REPORTER CERTIFICATE
  2
      STATE OF TENNESSEE
  3
      COUNTY OF KNOX
  4
         I, Michele Faconti, RPR, Licensed Court
  5
      Reporter, LCR #667, in and for the State of
  6
      Tennessee, do hereby certify that the deposition of
  7
      Wes Toole taken on February 26th, 2016, was reported
  8
      by me and that the foregoing transcript, pages 1
  9
      through 167, inclusive, is a true and accurate
 10
      record to the best of my knowledge, skills and
 11
      ability.
 12
         I further certify that I am not related to, nor
 13
      an employee or counsel of any of the parties to the
 14
      action as defined under T.C.A. Section 24-9-136, nor
 15
      am I financially interested in the outcome of this
 16
      case. Read and sign reserved.
 17
         In witness thereof, I have hereunto set my hand
 18
      on this 8th day of March, 2016.
 19

 20

 21

 22
                          _________________________
 23
                          Michele Faconti: 03/08/16
                          22:32:01 AM; Knoxville
 24
                          Tennessee; TN LCR 667
                          expires: 6-30-2016
 25




                                       Henderson Legal Services, Inc.
202-220-4158                                            www.hendersonlegalservices.com
Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 44 of 80
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 45 of 80

Toole, Wes                                                   February 26, 2016
                                                                             1

        A         69:6 121:25    actioning 95:2     54:14         14:11 68:19
a.m 1:16 5:1     account 27:14   actions 107:7    adequately      87:8
AAS 75:13         27:16,18,20     129:22 130:2      52:10        agency 90:2
  98:21           27:22,25       activated        adjust 122:2,2 agent 13:24
abeyance          73:17,20,24     39:23 73:18       122:3         15:24,25
  98:22 99:1     accountable      73:21,24        administer      16:3,4,20
ability 5:21      97:16          active 40:18       33:16         17:2 19:24
  37:7 92:14     accounts 27:8    100:9           administered    22:9,10 41:5
  122:1,6         27:10 141:6    actively 73:25     151:6         41:13 43:17
  167:11         accumulate      activity 7:11    administrative  43:22 44:15
able 7:10,12      123:23          14:16,25          22:19 26:19   45:19 46:3
  7:13 8:1,6     accurate 71:2    52:17 56:21       40:21 123:13  47:20 48:1,4
  38:8 43:24      146:20 167:9    67:22 68:23     admissible      48:11,19
  46:18 50:24    accused          68:25 69:7        35:8          49:14 50:2
  58:1 74:20      153:19          69:19,24        admission       50:15,23
  80:7 84:22     ACI2 23:13       70:13,21          34:9,12       51:11,11,15
  95:9 115:8      70:25 73:16     71:21 73:10     admissions      56:4 59:22
  121:2,7         74:1 159:18     73:19 74:12       33:24 34:1    60:11,13,15
  123:1 124:16   acknowledge      74:14 78:13       46:16 101:12  62:13,15
  133:17 145:9    85:24 93:25     86:17 91:2        102:10        68:2 69:10
  145:22          96:9 166:4      96:19,22          104:14,24     70:8,11,14
  146:10 147:8   ACKNOWLE...      97:5,6,9,10       105:3,6       70:17 71:5
  147:13 148:9    166:1           97:14,24        admitting       71:22 72:18
absence          acronym 27:12    99:4 103:8        34:10 106:11  72:20 73:16
  110:15          68:12 88:10     105:23 124:6    adopted 87:7    73:17 74:9
absolutely       acronyms 48:9    130:12            87:9          74:13 75:19
  36:14 59:2     ACS 125:18       157:10          advance 96:14   76:10 80:3
  70:1           ACS-2 74:11     actual 52:3      advice 91:22    80:15 82:16
absolve 67:3     ACS2 73:17       72:7 109:24       122:3         82:22 83:6
abuse 14:17       99:6 125:7      111:18          advised 91:25   86:22 87:3
academy 12:5     act 38:14       add 37:21 56:6     117:20 118:5  90:10 92:17
acceptable        110:15          101:8,8         Advocate        92:18 94:2,3
  122:22         acted 58:14     adding 92:1        37:19         94:7 96:7,16
accepted         Acting 127:4    additional       AESs 138:9      97:25 98:5
  152:13         action 22:23     56:6 57:24      affairs 130:4   98:11,15
access 23:4,7     23:1,1 81:22    58:3 59:3         130:14 138:5  99:19,22
  73:14 74:20     82:2 85:21      81:11 156:14      138:19 149:4  100:1,16,25
accessible        96:7,12         156:15            149:17        105:2 109:6
  84:24           104:5,7        address 27:24    affiliation     113:23,25
accident 137:8    129:17,19       66:5 85:19        90:21         114:6,11,15
accidental        157:5 167:14   addressed        afford 43:21    114:19,19
  50:21          actionable       150:14          afterward       131:14,18,19
accomplish        85:22 157:11   adds 101:12        112:11 132:9  131:22
                  157:15         adequate         agencies 14:8   133:13


                      Henderson Legal Services, Inc.
202-220-4158                           www.hendersonlegalservices.com
    Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 46 of 80

Toole, Wes                                                    February 26, 2016
2
 139:15 140:3     58:22 62:19    air 69:11,14      Ansbach 12:6      164:17
 141:13,21        63:7,16          70:6 95:6       answer 6:18      applies 163:24
 142:17 143:1     64:23 65:3       108:24 158:3     29:25 30:2       164:14,17
 143:2,3,20       75:7,23 76:4   AIT 11:1           32:21 34:21     apply 35:15
 144:14 148:3     76:6,11 77:7   alcohol 45:8       34:24 37:7       125:20
 156:15,21        77:10 92:1,4   Alert 125:10       104:17           147:18
 157:13           101:8,12       alerts 73:14,15    122:14,15        163:20 164:9
 161:20           102:4 104:14     125:18 157:6     141:16 159:1    appointed
 164:15,16,25     104:23 105:5     159:18          answers 5:20      15:25 138:5
 165:10,11,13     105:6 106:24   allegations        6:5,13           149:5,6,17
agent's 70:5,6    108:8,16,19      25:23 42:18     anybody 22:5     appointment
 80:14 85:16      109:7 110:23   alleged 44:19      35:4 139:25      149:7
agents 20:21      112:1 113:4      44:25 45:17      153:6,17        approach
 33:15 39:20      113:12 114:7     48:14           anymore 61:4      121:16
 39:22 40:10      124:6,25       allergic 52:23    anytime 88:5     appropriate
 40:11,17,18      125:15         allow 154:23       89:14 100:18     104:11 118:3
 41:15,22         127:10         allowed 9:8        117:18 118:4     118:9
 44:2,4 46:3      128:24           60:6            apologize 8:20   appropriately
 48:3 50:12       129:19,24      Allows 99:2        17:21 25:13      22:21
 51:12 67:8       131:9,25       alternative        96:14           approval 79:2
 67:19 70:20      132:22 134:7     110:22          appear 126:9      79:12 88:18
 73:2 94:25       135:15 136:6   ambiguous          166:7            88:22
 97:21 117:17     139:3,7,10       61:24           appearance       approved
 125:7 131:3      139:18         AMERICA 1:9        152:15           93:12
 153:10           143:10,24      amount 36:8       APPEARAN...      approximately
 155:15,20        147:11           36:10 46:8       2:1              146:3
 156:13           153:15           69:9 71:20      appears 55:15    April 74:19
ago 60:23         154:13,16        71:22 95:7       111:14          AR195-2 15:4
 86:11 125:23     156:10           129:2,11         116:24 125:2    archived 23:18
 154:10           158:12           147:20           141:21 145:2    archives 119:6
agree 60:1,3      161:18,21        149:12           152:5           area 89:19
agreed 4:9,15     162:18 163:1   analysis 24:12    appendices       areas 18:23
agreement        Aguigui's         103:6            163:10           41:19
 72:17            49:12 52:20    and/or 36:15      appendix 15:4    arena 88:4
Aguigui 8:22      58:19,19         45:25            35:24 97:4      arguing 110:2
 9:8 18:1 29:9    62:16,23       Andrea 65:25       155:10,14,20    arm 160:16
 29:13,21         66:23 106:7    Andrew 38:25       155:21 156:3    Army 10:17,21
 30:12 44:13      115:14 117:5     51:24 79:13      156:14,16        12:14 14:9
 45:7 46:14       126:21 127:4     91:21 108:6      163:22 164:7     14:15 15:12
 46:19 47:5,7     128:5 131:13     114:6,11        applicable 4:4    24:15 26:1
 49:11 50:3,7     132:23           115:12           115:25           27:10,16
 50:24 52:4       154:18           119:20          application       29:9,11 38:7
 52:21,23        ahead 34:24     Angie 128:3        97:18 163:24     88:19,21
 53:6 54:24       91:19          Annual 21:24       164:3,7,10       90:24 116:3


                      Henderson Legal Services, Inc.
202-220-4158                           www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 47 of 80

Toole, Wes                                                      February 26, 2016
                                                                                     3
 117:21 119:4      66:1 99:25        145:20          authorized       143:23
 120:13            103:5 113:24    Atkins 98:16       23:23 33:15     158:11
 129:14 151:1      126:13 149:3      98:18,21         78:20
 151:3             165:10,12,12      99:10,11,14     automated              B
Arranyos           165:15            99:16 114:15     7:12 23:12     B 2:9 15:4
 75:19            assignment         115:19           26:10 40:19    B-r-u-n-s-t-i-...
Arranyos's         11:10 18:18       116:23 121:1     79:4 92:22      152:6
 109:14            20:12,17          121:10           125:5,18       Bachelor's
arrest 164:1      assignments        122:16,19       automatic        9:21,23
arrested           20:17           attached 166:7     105:13         back 8:6 18:16
 147:20           assigns          attacking          107:11 116:9    23:2 27:5,16
arrive 11:2        125:20 126:4      133:19           125:21          29:15 35:1
 38:5             assist 15:9      attempt 29:12     automatically    46:25 60:17
art 161:3 165:5    18:25 20:25       122:21,21        27:7,21         60:25 65:12
ASAC 48:5          59:8 82:7         141:16           49:23           67:6,13 71:1
 133:21            89:24 161:20      154:12          autopsy 64:9     74:7 80:3,15
 162:13           assistance       attempting         136:6,14,17     81:18 82:4,5
ASC2 157:6         41:19 68:13       131:13           136:18,24       82:8 84:8
aside 37:8         68:19,22          133:19           137:1,9,17      88:24 89:21
 52:14 59:3        131:23          attempts           137:20 145:7    94:9,12 95:1
 94:13 110:8       151:24            129:20           145:13,14,21    99:5,13,16
 146:9,18          155:17          attention 9:6,7    146:13          101:1 102:1
asked 6:16        assistant 2:9      43:19 58:15     availability     103:19
 13:24 26:4        15:24 18:20       70:16 77:21      116:5           112:25
 29:4 30:25        20:7 21:14        85:16,23        available        115:21
 31:9 161:17       131:19            101:1 111:24     20:21 35:11     119:16
 161:18            133:13            112:11           137:22          121:15
asking 25:14       140:15,20         124:22          Avenue 2:4       122:10
 57:16 65:2       assisting 19:6     138:12          aware 14:14      125:22,23
 91:5 121:5        73:3            attorney 2:9       25:4 26:25      134:3 136:5
 134:5 147:7      associated         25:25            28:12,18        137:10 143:5
 157:19,22         103:3,7         Attorney's         29:17,19        149:21,23
 158:21            128:7,10          1:18 4:5         30:15,16,18     153:12
aspects 156:3      159:22          auditors 164:9     30:24 32:9      156:22
Assault 21:7      assume 6:19      augment 39:21      45:6,9 47:19   background
assaults 48:10     17:20 48:1,4    Austin 10:4        53:5 57:20      9:13 159:21
assessment         102:5 111:21    authority          78:21 89:7     bad 123:6
 87:16 93:11       115:22            16:10,12         89:22 106:13   balance 165:4
assigned 13:5      138:10            24:18 37:20      106:16 109:4   bare 86:13
 15:23 16:12      assumed            37:23 38:1,3     110:18 111:2   barracks
 16:18 20:21       19:22             38:11 107:14     112:7,9         110:3
 21:8 51:1        assumptions        164:1            114:1 118:2    base 62:18
 52:11 56:4        162:6           authorizations     141:7,9,11      91:2
 61:25 62:19      assurances         20:22            142:3,5,9      based 33:3


                        Henderson Legal Services, Inc.
202-220-4158                             www.hendersonlegalservices.com
    Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 48 of 80

Toole, Wes                                                      February 26, 2016
4
 35:11 36:6      behalf 2:2,8       99:24 121:25     116:19,23       bunch 110:19
 36:22 37:18      74:16 91:21       135:24           138:20 146:3    burdened
 76:25 103:9     behavior 62:5      167:10          briefed 105:1     81:11
 135:8 137:3      63:8,11,13       better 132:15    briefing 47:1    bus 10:19
 156:6 162:20    belief 36:22      bias 158:4,8     briefings        busy 71:15
 164:11          believe 7:9,21    big 20:18         154:20
bases 87:18       9:5 18:2          160:1 163:8     briefly 63:20            C
basic 5:15        30:20 38:12      bit 5:17 9:12     81:18           C 2:3 57:24
 11:1 25:15       38:15 44:14       43:21 96:13     briefs 63:17     calendar 81:23
basically         46:14,23         blah 49:18,19     149:19          call 8:14 11:19
 16:11 19:2       47:2,14           49:19           brigade 62:1      50:6 52:24
 22:19 27:12      48:11 50:1       blank 57:4,5,8   bring 8:10        53:13 57:23
 29:16 42:20      52:18 65:10       58:17,17         117:18           103:6 120:12
 65:6 67:1,7      71:25 74:11      blast 89:1       broadening        126:11,20
 67:18 74:12      76:16 84:10      block 118:6       20:11,16         128:3,4
 79:7 85:6        84:11 101:14      134:8 161:5     Brook 2:3,4       130:19 131:7
 98:24 100:16     105:5 117:13     body 88:12        3:4 5:7 26:23    131:8 135:10
 117:22           126:25 128:6     Boman 17:8        27:3 34:19       141:3 145:23
 125:12           154:22 162:1     born 9:14         35:1,6 37:1      146:7 158:8
 127:14          believed          borrow 39:18      47:23 65:18     called 4:2
 152:11           117:23           bottom 81:21      67:10,12         14:21 22:22
basis 62:25      bell 45:15         91:20 140:10     76:1 100:22      23:13 49:14
 76:24           bells 111:5        141:1 144:5      100:24           49:21 52:20
Bates 3:12       Bellville 12:19    146:22           102:19 111:7     62:20 87:3
 65:20 111:8     Belvir 15:17      bought 52:21      112:21           97:17 128:11
 144:8 150:12     26:1              112:2            119:13,16,17     154:9 157:1
battalion        benefit 63:5      Bowen 128:3,7     130:1 132:20    calling 128:15
 12:20 18:19      64:25 77:18      box 56:24         150:8,11         128:20
 18:22 20:12      84:15 92:8        67:16,17         151:18,20       Calls 34:17
 24:15 88:20      113:9 118:18      81:22            155:2,5          62:11
 117:3 140:16     131:24 139:7     Boyd 84:11        165:17,22,24    calvary 120:11
 140:19 154:8    benefits          break 6:22,24    Brooks 3:16      Camp 11:1,17
bearing 65:20     129:20,21        Breaker 123:5    brought 8:24      11:18 18:12
 150:12           130:5,6          breathing         9:6,7 47:7      Campbell
bears 111:8       131:13 132:7      31:10 56:2       70:16 112:11     18:18 19:16
Beaufort 128:8    132:11            86:10 93:20      114:5 118:5      20:15 27:19
 128:10,12,14     133:16           BRENDA 1:5       Brunsting         27:21 154:7
 128:19,22        139:22 151:3     BRETT 1:5         152:6           candid 58:18
began 76:12       151:12           BRIAN 2:3        Buehring         canvas 58:20
beginning         154:14           brian@clint...    18:12            58:23,25
 7:19 46:11      Benning            2:5             building 125:9    59:3,5,13
 50:18            140:16           Brick 123:5       125:9,23         61:6,21
begins 77:25     best 5:20 6:4,8   brief 53:22,23   built 82:17       62:16 63:2
 80:20            6:12 37:6         63:8 64:7,10    bullet 145:16     119:25 120:2


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 49 of 80

Toole, Wes                                                   February 26, 2016
                                                                                 5
 120:6           72:22 74:6      88:14 90:13      156:10,21         147:20 156:2
canvased         75:7,13         93:5 94:2,3,4    162:7,11          163:23 165:6
 61:22           76:24 79:6      95:1 97:10      Casey 11:1,17     certainly 37:20
CAO 133:22       92:25 93:2      97:14,15         11:18             54:8 59:10
 138:19          95:4 96:6,10    98:6 99:4,7     CASs 7:10,13       94:9 98:1
 141:24          99:24 130:11    99:19,22,23      7:25 8:2,4,15     112:25
 148:24 149:3    130:25 134:3    99:25,25         26:9 146:1,4     certificate
 149:9,10,13     134:25 135:3    100:13           154:19            4:16 167:1
 149:25 150:3    135:6 138:14    101:16,24       Cassandra         certified 5:4
CAO's 132:11     142:6 144:11    102:12,13,16     39:7             certify 167:6
 148:22 149:4   case 1:7 7:10    102:18,23,24    casually           167:12
 149:16 150:6    7:15,17,24      103:3,4,7,10     154:20           CG 28:17
capabilities     8:14,18,21      103:13,15,21    casualty 53:13    chain 46:25
 40:10           9:2 19:6        107:24           130:4,14          104:15,22
capable 73:19    22:19,24        108:13           131:23 138:5      105:8,10,12
capacity 45:4    24:22 25:7      111:18           138:19 149:4      107:9 117:2
 51:2 128:21     25:22 26:2,5    113:23,23,25     149:17            117:5,8
caps 87:18       26:8,13,13      114:8 115:2      151:24            140:21
Captain          28:19,23        115:3,5,7       catching 123:6    Chairman
 119:23 121:3    29:5 30:23      119:8,10         143:6             12:23
 121:8           32:11,13        123:9,10,11     categories        chance 17:14
caption 4:16     43:4,15,17      123:18 124:2     61:15             32:19 71:16
captured         43:17,19,23     124:5,20        category 34:2     change 43:4
 70:19 126:3     45:5 46:17      125:22,24       causal 53:15       74:18 100:8
car 137:7        49:1,5 51:1     126:6 130:12    cause 33:5         108:19,21
card 67:23       51:21 52:2      131:21           36:22 38:13       147:9,22
 82:7            55:24 56:3,3    133:16 134:8     52:22,22          150:2
career 20:8      57:23 58:3      141:21 142:1     64:5 66:22       changed 19:20
careers 41:2     59:13,21        143:6 145:16     133:1 135:25      74:19 83:8
carefully        60:10,12,12     153:7,12         147:10           changes 93:20
 124:11          60:13,15,20     161:20 162:6    CAV 119:24        characteriza...
Carolina         62:15 63:4,6    164:21,24        120:10            152:10
 128:25          67:19 69:12     165:3,9,10      caveat 164:8      characterize
carried 9:9      70:5,8,11,14    165:11,12       cell 8:15 20:13    85:8,9
 48:23           71:8 72:3,4     167:16           42:21             117:10
carry 8:13       72:20 76:22    caseload         Center 23:3,5      148:17
 26:10 28:3      77:2,14,19      100:3            23:9,14          charge 15:24
 110:4           78:14 80:10    cases 7:11        24:16 160:20      15:25 16:3
CAS 28:22,24     80:11,11,12     26:15 43:18     certain 14:16      16:20 17:3
 51:5 57:22      80:17,20        49:8 53:21       18:23 28:13       19:24 22:10
 58:4 64:20      81:9 82:13      71:15 91:17      41:19 52:15       42:13 47:10
 64:24 65:1      82:14,15        97:23,23         60:16 67:20       100:15
 69:25 70:3,4    83:9 85:7       98:25,25         85:12,14          131:19
 70:9,12,15      86:21,22,23     102:8,8          97:21 130:17      133:14


                     Henderson Legal Services, Inc.
202-220-4158                          www.hendersonlegalservices.com
    Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 50 of 80

Toole, Wes                                                      February 26, 2016
6
 155:25           114:22,24,25    CID's 29:18         63:8,17         164:23
charged           115:2,2,3,7       37:11             138:20         comes 24:13
 147:17,20        161:11          circumstanc...      149:19          151:14
charges 38:10    CID 12:4 13:3      43:16 95:8      CLOers 53:13      159:15
 38:10 47:7       14:4 16:8,15      104:2 109:25    close 28:1       comfort 94:11
cheaper           18:19,22,23       122:24            65:13 82:2     comfortable
 123:21           19:12,13,23       131:10 137:5      82:19 83:2      40:19 66:24
check 75:22       20:1,8,11,14      137:12 153:7      83:10 95:5      72:14
 76:4,5           20:18 24:14       153:11            127:13         coming 73:4
 159:15,24        26:21 27:7,9      160:18          closed 22:20      108:15
 160:1,22,22      28:9 31:3       CIS 64:15           22:24 27:18    command
checked           33:12,15        citation 32:18      31:24 57:23     13:12 16:9
 106:18           35:18 36:24     cited 162:10        82:16           16:11,14
checks 75:18      37:3,6,7 38:7   cites 161:19      closer 68:22      17:20 19:23
 76:7 160:7       39:14 40:21     civilian 21:2,3   closes 32:13      23:25 24:18
 160:10,12,19     47:22 53:14       21:7 45:22        62:3            37:13,17
 160:20,23        54:21 62:7        87:25 89:3,7    closure 60:21     38:11 41:24
chief 12:23       67:8,21           90:1,25           115:4           43:2 46:25
 17:7 19:15       68:15 71:25     civilians 90:23   co-conspira...    47:4 90:13
 22:9 39:3,8      76:25 77:6,9      91:2              29:22           104:15,23
 44:10 49:15      77:17 78:8      claimed           co-workers        105:8,11,13
 49:18 59:22      78:15,18,19       110:23            30:3            107:10,14
 59:23 60:14      80:18 86:12     clarified 71:25   cocaine 24:13     109:4 116:21
 60:16,16,24      88:19 90:12     clarify 25:1      Coincidental      117:3,5,8
 70:8 72:21       91:3,11 97:3      27:9 40:12        51:25           119:5 155:17
 73:9,21          100:5 110:21      72:23           collected         155:18
 90:10 94:6       111:13          clarifying 25:8     52:12 149:22   commander
 96:16 98:11      113:15,17       Clarksburg        collects 68:2     16:1,2 28:16
 99:12,20         117:17,17         9:17            college 10:4      82:3 107:12
 100:17,17,18     118:1,2,8       Class 126:17        10:16,17        116:20,25,25
 103:19           123:14            127:10 138:6    colors 123:15     117:16,18
 113:25 114:2     126:12 131:3      138:8           Columbia          119:2,11
 120:19 122:4     137:2,16,20     clean 106:17        128:25          140:19
 122:10 156:1     138:23          clear 6:17        combat 11:19     Commander's
 165:9,14,14      139:21            25:14 71:9        11:24,25        22:22 82:1
 165:15           140:16          clearance         come 27:19       commanders
Chiefs 72:15      147:19            106:7,14,16       31:15 39:20     22:25 107:6
 92:13            149:10,13,24      106:25 107:8      39:22 40:6,7    118:4
CIC 21:15 22:1    151:13 155:9    clearances          40:8 45:13     commanding
 22:11,12         155:15            106:21            59:22 72:16     118:2,17
 79:17 80:1,4     156:17          cleared 18:16       92:20 97:16    commands
 80:7,13,16       159:24 160:2      29:16 134:18      122:9 137:9     107:11
 80:18,21,22      164:3,5,15      Clinton 2:4         156:16         comment
 81:2,10,15       164:16          CLO 53:21,23        159:18          143:7


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 51 of 80

Toole, Wes                                                  February 26, 2016
                                                                              7
commit 15:13    completion       59:12 61:6      77:10             48:20
 48:17 49:2      10:25 31:16     62:16 77:24    connection        constantly
 75:14 84:12     80:24 81:8      87:5,6,10       26:5,7 30:19      156:20
 107:24 108:9    145:13          119:25          58:21 77:13       163:14
 108:23         complexity       159:17          107:24           contact 63:25
 110:22          137:14         conducted        156:10            138:4,22
committed       comply 98:14     46:13 53:21    consensus          149:18 154:8
 34:8 38:14      163:11 164:4    58:21 63:4      72:15            contacted
 84:11          component        71:21 74:14    consider           25:25 26:3
common 33:21     13:14,20        80:23 86:17     34:12 59:11       29:25 30:2,3
 34:6 45:13      163:18          101:4 107:23    61:12,17          50:2,8,15,23
 70:20 72:20    compromise       126:16 156:1    96:3,5            130:20,21
 72:24,25        78:13          conducting       112:17,22         131:1 134:4
 73:8 77:24     computer         11:13 13:6,8    113:7,8           134:5 138:15
 94:23,23        23:10 84:20     52:16 70:21    consideratio...    139:20,25
commonly         107:12 123:5    82:22 87:4      100:3             152:23
 97:4            163:4           89:2,14        considered        contacting
commonplace     concept 86:8     111:17 125:8    49:8 61:16        131:23 147:6
 94:21          concern 52:20   conduit 90:11    148:5             147:6
communicate      52:21 105:18   confession      considering       contained
 26:12,14,17     108:15          33:21 34:2,8    145:12 159:2      146:16
communicat...    110:13,14,18   confessions     consistent        contingence
 114:13,21       133:4           33:23           41:20 130:22      87:19
communicat...   concerned       confident        148:10           continual
 84:12 162:13    48:16,18        72:10 131:17   conspiracy         156:21
communicat...    78:13 87:22    confidential     7:24 15:13       continuation
 109:23          87:24 116:17    76:21           44:19,25          55:19 79:23
community        116:18         confinement      45:18 46:6        115:11
 88:1            132:21          38:12,15,16     46:20 47:12       119:19 141:2
company         concerns         38:19,22        48:15,17          161:15
 120:11          48:14,20,22    confirm          49:2 75:14       continue 9:8
 122:12          77:16,19        138:10,11       92:2,4 101:9      46:5 80:15
competent        85:17 105:24    148:12          107:24 108:9     continued
 37:19          concluded        152:24 161:8    108:17            47:15
compile 21:23    165:25         confirming       110:17,22        continues
complete        conclusion       151:10          115:15            55:11 141:4
 90:15 120:21    58:3 109:9     confirms         162:24           contracted
 166:6          concurrent       150:3          conspirator        151:7
completed        30:22 83:1     confusing        108:8,24         contribution
 4:18 23:18     concurring       52:1           conspirators       85:7
 56:19,22        84:17          conjunction      108:23 113:5     control 14:23
 64:9 136:19    conduct 19:4     82:25          conspired          19:5 66:5
completely       36:15 53:4     connect 22:2     45:21             132:16
 61:2 133:1      53:18 58:18    connected       conspiring         140:10


                     Henderson Legal Services, Inc.
202-220-4158                          www.hendersonlegalservices.com
    Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 52 of 80

Toole, Wes                                                    February 26, 2016
8
controlled       21:5,9,16       93:9 112:5        84:10,18       163:22 164:7
 87:5           copied 124:25   Council 88:21      137:24        DA 81:25
conversation    copies 22:20    counsel 2:1        157:11 161:4  DA4833 22:22
 44:15,20       cops 41:1        167:13           crime 14:5,12  daily 91:14
 45:16 52:18     153:18         counseling         14:19,21,25   Dale 38:25
 59:20 109:11   copy 23:16       164:25            15:6,9 23:3,4  44:15 45:12
 109:16          24:16 28:16    counter 89:18      23:8,14        45:19 46:1,3
 120:23 130:3    28:17 29:2     counter-esta...    24:16 34:8     47:20 48:1
 130:9,13,15     32:5,11         158:5             34:10 36:23    50:2,15,23
 130:17,24       104:25         County 128:8       51:16 65:4     51:1,7,18,24
 131:4,16        118:22,23,25    128:10,12,14      84:2 160:19    75:19 76:10
 132:5,6,8,10    125:25 126:3    128:19,22        crimes 15:1,3   79:13,22
 132:17 134:4    152:5 163:4     167:3             15:5,8 29:22   80:3 90:10
 134:13 136:3   correct 17:15   couple 6:4         30:13 39:9     91:21,25
 136:16,22,23    19:18,19        58:16 60:22       39:10,11       94:7 96:16
 138:16,18       21:1 37:13      65:5 94:19        88:3 157:9     97:25 98:5
 139:8 140:2     39:14 48:25    course 10:7        158:19         98:11,15
 141:12 143:1    53:7 54:24      90:19            criminal 13:11  99:14 100:16
 143:4 146:5     56:19 66:10    court 1:2 4:7      21:5,9,16      108:6,14
 146:18 147:2    69:16 74:1      4:10 5:24 7:2     68:20 91:2     109:6 114:6
 147:5,14,25     75:15,16,20     7:3 35:8          106:17,22      114:6,11,15
 148:1,6,10      83:16 84:3      65:25 67:1,3      119:4 159:21   115:12
 148:21 153:5    84:13 91:11     165:21 167:4      160:1,8        119:20
conversations    94:17 95:19    cover 67:2,3       161:21         162:13
 53:12 131:2     98:8 101:10     87:18             162:10        Daniels 119:23
 131:18,20       104:12         cracked 112:3     criminality     121:3,8
 146:17 153:8    107:25 112:6   CRC 23:5,17        50:20         darn 62:14
 153:10          112:14 119:9    23:21 32:9       criteria 32:23 data 124:25
conveyed         120:19         create 27:16      CRM 93:10       157:1,2,5,8
 142:17          142:21          74:5,12          culminated      157:12,13,18
conviction       144:11          125:11 157:6      12:24          157:19,21,23
 159:22          149:10         created 24:25     current 19:14   157:25 158:3
cooperative      161:11,12       74:21 88:3        83:7 116:6     158:12,19
 108:20          166:5           124:24            119:2,2,25     159:8,14
coordinate      corrected       creates 79:6       140:24 163:9  database
 89:16 119:22    70:10           152:15           currently       159:23
 119:23         correction      credentials        30:17          160:17
 149:16          41:19 42:14     42:19,22         Curtis 152:6   databases
coordination    corrections     credibility       cycle 115:5     160:1,9,14
 141:25          166:7           113:2                           date 14:24
 149:13         correctively    credible 33:3,7         D         16:25 55:3,4
coordinations    52:12           34:13 35:7       D 58:19 155:10  55:6,8,9,9,10
 52:16 138:19   correctly        35:10,14,20       155:15,20,21   56:18,20
Coordinator      74:14 89:4      35:22 36:1,7      156:3,14,16    66:8,13 69:3


                     Henderson Legal Services, Inc.
202-220-4158                          www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 53 of 80

Toole, Wes                                                    February 26, 2016
                                                                                  9
 71:2,18          65:14 66:5      definitions       122:24 137:4     16:1,2,8
 82:24 112:13     66:10,21,23      35:23            155:24           19:23 120:10
 116:11           114:18 125:5    degree 9:21,23    160:18           120:14
 141:25           129:20,21        10:1            depicted 83:4    detail 28:24
 144:10 154:6     130:4,6         Deidre 54:24      142:19 148:1    detailing 134:4
 166:12           131:13,24        58:22 75:7      depiction        details 64:3
dated 66:6        132:7,24         114:7 124:6      144:22           76:19 130:17
 144:9 146:23     133:1,6,15       136:6 139:7     deployed 8:22    detain 36:2,3,6
 152:9            135:16,25        154:13,15,18     18:3,11          36:21,24
day 4:4 55:7      137:4 139:6     Deidre's          29:14 140:5      37:4,8,24
 68:4 77:25       139:22 140:3     114:18           140:7 143:5      38:8
 82:19 96:19      149:15 150:4    delayed 70:18     144:2 153:12    detained 29:10
 121:24 122:7     151:12           71:7,11,23       155:6           detectives
 164:23 165:1     154:13           72:2,6,10       deploying         41:1
 167:18          deceased 8:20    delaying 141:3    135:22          detention 36:5
day-to 102:7      28:16 49:16     delays 100:12    deployment        36:18 38:6
day-to-day       deceased's       deleted 25:3      17:9 18:7,9      38:16,20,21
 19:7 45:11       8:21             25:18 27:7       18:16 29:15     detentions
 91:17           December         deleting 26:21    29:23 153:13     37:10,12
days 10:18        29:10 140:11    demeanor         DEPONENT         determination
 52:25 53:2       155:6            62:4,5           166:1            33:2 35:11
 68:9 69:2,3,5   decide 56:10     denied 108:10    deposed 5:13      36:11 50:18
 69:8 72:1        135:5           deny 152:24      deposit 68:1      68:10 69:17
 81:16,23        decided 64:7     department       deposition        82:15,24
 82:4,5,8,16      94:8             15:11            1:12 4:2,11      83:18 147:8
 82:18 83:1,9    decision 64:2    departments       4:18 7:5,7      determine
 84:5,5 96:23     85:13,13         14:9             8:8,18 26:3      36:9 38:9
 97:2,11,14       90:16 135:7     depend 78:11      124:9 142:10     82:23 115:14
 97:24 98:10      137:24 154:4     94:7 109:21      165:25 167:6     127:5 133:1
 99:4 147:7      decisions         116:5           depositions       147:10
 164:23           37:16,18        dependent         25:13 75:12     determined
de-conflict      deck 99:1         24:23 78:9      derived 152:17    25:6,17
 89:25 90:5      dedicated 74:2    78:24 81:9      describe 157:4    36:11 57:2
dead 113:14      deemed 118:3      116:5           described         83:15 103:10
deadly 109:24    Defendant        depending         28:21 71:6       133:3
dealer 45:22      1:10 2:8         28:25 32:6       104:20 123:1    determining
 129:13          Defense 12:25     40:25 43:14      162:18           106:10
dealing 50:13    define 63:10      59:8 78:1       designation       139:21
death 7:16        63:12 76:13      92:15 94:10      16:7 127:19     develop 58:9
 8:24 25:22      defined 167:14    115:6 120:10    designed          64:11 87:19
 30:19 48:7      definitely        137:13           138:21           127:14
 50:16 52:8       109:2           depends 24:6     destroyed        developed
 53:2 55:1       definition        92:13 109:25     24:24 25:1,2     55:7 77:16
 59:1 64:5        35:23            115:1 116:3     detachment       development


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 54 of 80

Toole, Wes                                                      February 26, 2016
10
 10:14             98:12             22:20           124:19          duties 41:15
Devon 42:7        direction         distributed      137:21           42:18,23
devoted 35:20      59:20 122:7       92:12           156:19 165:2     52:15 81:11
dictate 93:21     directive 28:18   distribution    Don 17:8         duty 10:24,25
 160:12           directly 23:13     44:18          door 135:11       40:18 49:14
died 50:19         80:15 94:12      DISTRICT 1:2    dot 27:14         68:4 69:2,2,5
 137:11           director 14:16     1:2            dots 22:2         69:8 72:1
differed 40:17    disagrees         dividers        double 9:24       84:5,5 96:22
difference         34:15 35:5        123:19         doubt 62:13       97:1,22
 34:7             disciplinary      DNA 68:6        drafted 79:13     100:9
differences        22:23 82:2       document        drafting 88:17
 40:9,13,14       discipline         31:10 54:18    draw 85:15               E
different 11:22    122:8             56:2 61:20      156:22          earlier 17:23
 13:1,3,3,10      discuss 60:1       65:21 66:2     dress 65:9         17:24 37:24
 14:16 18:23       60:14,16          70:15,22,23    dressed 49:20      56:1 78:7
 21:12 27:15       87:19             71:16,16       drive 93:17        81:6 82:1
 27:22 34:2       discussed          73:6 86:10     drug 15:7 39:3     89:21 92:23
 36:17 43:5        78:7 93:12        95:3,3          42:11 44:15       93:4 96:21
 43:15,16          116:12            101:16,24       44:18,19          114:5 115:2
 46:13 55:16       141:24            105:15          45:11,22          115:13,25
 55:22,22          149:20            111:11          46:2,4 49:4       119:20 120:2
 56:4 60:13       discusses          135:12          73:22 76:18       120:23 128:4
 72:4,5 73:3       97:4              150:12,13,15    88:4 90:10        152:18
 74:8 75:4,5      discussing         150:17          91:15 94:5        161:16
 80:11 89:4        153:11           documented       100:15            162:19
 121:11,16        discussion         72:1 79:9       101:25 102:7      163:17
 126:6,12,14       29:6 59:3         80:4 96:10      102:8 103:10    economic 39:9
 131:20 135:9      60:10             103:14 142:1    108:10            39:10 157:9
 149:6 156:18     discussions        142:18          129:12          education
 157:8 158:9       37:18 58:20      documenting     drug-related       9:20
 160:8             58:23,25          73:4 103:8      49:1            effecting
difficult         dispatch 24:18    documents       drugs 45:7,25      37:25
 122:15 159:1      81:25 82:18       26:5,7          87:23 88:5      effects 65:7
digit 7:18         92:14 101:7       123:23          89:22 106:15      66:20 67:6
direct 23:4,6     dispatched        DOD 12:22        115:15            154:24
 58:15 77:21       83:3 84:16       dodgy 153:21     157:10          effort 15:9
 100:25            107:4            doing 13:7,19   DST 42:14,16     efforts 124:13
 111:23           dispatcher         19:5 46:24      42:19           either 37:9
 124:22            128:12            58:13 73:3     dual 13:4          49:14 57:1
 138:12           disprove 58:1      73:19,25       dual-hatted        58:2 63:17
directed 59:23    disregard 61:2     76:7,8 85:8     16:13             70:17 73:8
 90:2 115:16      distinction        85:14 89:6     due 162:3          80:7 81:17
 115:19,22         33:24             89:23 90:1     duly 5:3           85:20 89:24
directing         distribute         98:9 123:3     duration 64:1      94:24 103:5


                        Henderson Legal Services, Inc.
202-220-4158                             www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 55 of 80

Toole, Wes                                                    February 26, 2016
                                                                               11
  103:14          118:9             99:6 124:14     127:15          87:17 161:23
  104:25         encouraged         142:6           157:14 161:8   EXCLUDING
  121:13 122:2    115:5           entry 3:15       evaluated        4:17
  129:9 132:16   ended 100:9        70:18,18        159:12         exclusion
  132:25 134:9    113:14            71:7,11,23     event 71:1       50:19
  134:11,18      energy 43:21       72:2,6 74:5     101:10 137:4   execute 37:9
  143:4 144:1    enforcement        76:24 78:25     153:25          46:9
  145:3 147:24    7:20 13:1,10      79:7,12        events 8:1      executive
  152:7 161:8     13:19 31:22       91:21 96:6      55:10 131:5     12:22
elect 151:4       37:20 38:5        98:15,17,20     131:10         exercise 122:8
electronic        40:25 41:2        98:21,23       everybody       Exhibit 3:9,10
  32:8            87:8 89:15        99:5,10         14:18,24        3:12,13,15
electronically    89:17 158:6       106:5 115:12    88:6 99:2       54:17 65:17
  23:21,22        159:20 160:6      119:19,21      evidence         65:20 67:13
element           160:12,14         124:23 125:3    52:11 61:12     75:11 81:19
  120:12         engage 28:14       125:5 126:23    61:13,14        84:9 91:20
Elizabeth        engaged            128:2 134:3     68:1,2,3,4      101:1 107:21
  51:18           154:25            140:11 141:2    114:4 137:23    111:6,8
Ellie 22:16      enlisted 10:17     141:9,22        149:22          115:11
else's 74:6      enrolled 10:12     144:9,14       exact 141:25     119:18 124:5
email 26:12,14   ensure 52:9        146:6,22       exactly 76:17    140:8 142:22
  26:17,21        98:6              161:16          148:2           142:23 144:4
  27:8,9,10,24   ensuring         equal 160:25     exam 68:11       150:9,10
  27:24 28:10     14:19 104:10    Equipment         145:14          151:18,19,22
  28:15,17,19    entail 18:21       88:11          Examination      161:13
  28:25 31:3     enter 71:18      Errata 166:7      3:1,4 5:6      exhibits 3:7,16
  152:5,15        125:19,25       escort 65:11     examined         82:17
  156:18         entered 74:16      65:12 154:23    166:4          existed 158:22
emails 27:1,4     79:5 125:6      especially       example 23:19   exists 36:22
  27:7 28:3,21    126:13            131:20 154:6    24:10 27:19    exonerate
  29:1 90:9       127:22 145:4    ESQUIRE 2:3       36:18 54:2      132:25
emotion 50:13     146:4 159:19      2:3,9           56:17 60:19     133:17
employed         entire 63:5      establish         61:20 62:19    expect 57:14
  128:19          124:13            27:20 82:22     68:7 71:12      72:17 120:24
employee          163:20          established       73:2,17 75:6    122:8 137:9
  167:13         entirely 11:18     75:12           78:16 83:20    expectation
employees         65:2            etcetera 4:17     86:11 91:6      165:6
  150:23         entity 124:24      100:3 127:17    121:1 157:7    experience
en 49:16,22       124:24,25         127:18          164:20          40:16 43:24
encounter         125:11,14,16      163:16,16      examples         56:9 60:18
  122:1           125:17,20,24      164:9,9,13      137:6           91:10 118:8
encountered       126:4,8,14        164:13         exceptions       136:25 137:3
  133:5,9,11      159:19          Etran 165:23      81:14          experienced
encourage        entries 72:10    evaluate 114:3   exclamation      40:24


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 56 of 80

Toole, Wes                                                       February 26, 2016
12
expires 167:24   fails 97:13         149:16            81:16,16       follow 84:4
explain 23:6     fair 34:11 54:3   file 27:17          85:6 89:11       86:3 98:20
 35:14 60:25       152:10            28:11,18,20       95:21 96:18      142:24
 67:1,15         fairly 34:5         28:23 29:3        98:17 108:5    followed 92:7
 138:23,23         141:2             32:5,12           111:15           92:9
 164:20          fall 50:21          55:24 59:21       115:13         follows 5:4
explained        familiar 30:11      79:16 93:6        126:17 127:4     87:9
 63:21 70:11       30:21 40:19       93:15,18          127:10,23      force 89:18
 134:6             50:3 107:16       98:6,16 99:5      130:25 138:6     109:24
explaining         107:19 114:8      99:10,13,16       138:7 140:24   foregoing
 85:12,13          133:20 150:6      103:6 111:13      148:13           166:5 167:8
explains 164:8     150:18            113:16,18,21      151:17 152:4   forget 70:22
expressly 4:17     155:20            114:9 115:20      154:8            147:17
extent 76:17     familiarity         115:21 119:8    five 12:11       forgot 153:3
 149:24            102:7             119:11            15:18 17:4,5   form 4:12,13
extrapolate      family 8:20,24      123:10,10,12      17:17 68:9       35:9 81:25
 114:25            138:22,25         125:9,10,11       71:15 72:1       104:16
extremely          149:5 154:12      142:1 157:1       73:2,3 87:11     150:15 151:9
 136:2,2         far 14:3 28:4       157:2,5,7,14      88:25 89:2       151:10,17
Extremist          28:10 38:7        157:18,19,21      122:10,22      formal 153:4
 157:1,17,19       63:24 69:14       157:23 158:1      123:2,3          154:4,20
 157:21,23,25      115:16            158:4,12,19       126:12,15      formalities
 158:3,7,12        116:16,18         159:14            146:3            4:15
 159:14            124:2 162:17    files 74:21       five-minute      format 156:4
eyewitnesses     favorable           157:9             146:5          formed 64:12
 83:23 116:14      107:7           fill 39:19        flag 41:23       forms 151:13
 116:16          February 1:15     final 57:24         107:6,13       Fort 10:19
                   4:4 9:15          82:12,17,18     flagged 42:17      11:7,11 12:1
        F          167:7             83:2            flagging 107:7     12:19 15:17
Faconti 1:22     Federal 150:23    finals 82:10,20   flags 107:10       15:22 16:6,7
  4:7,9 167:4      164:1           financially       flexible 33:9      16:16,24
  167:23         Federally           167:15          flip 94:18         17:3,8 18:4
fact 46:19,22      151:5           find 30:6           107:13           18:17,17
  66:22 102:3    feed 23:13          118:22,23       Floor 2:4          19:16 20:9
  104:14,23      feedback            135:20          flow 80:10         20:15,18
  105:15 118:7     85:17           finding 50:9      fluid 31:13        21:4 22:14
  131:17         feel 53:25        fine 104:21         56:3 60:13       23:11 26:1
  132:15 135:8   felony 123:7      finish 6:12,13    fly 122:3          26:11,16,22
  139:9,12       felt 64:16        first 5:3 9:13    focused 15:1       26:23,24,25
  141:10 153:8     72:16 105:9       10:16,24,25       46:7             27:5,18,19
  162:4 165:5      105:9,14          25:21 44:12     folder 123:10      27:20 29:16
factors 164:12   field 11:21         44:21 45:15       123:12,25        32:2 38:24
fail 95:2          13:23             49:10 50:12     folders 123:15     39:14 41:24
failed 70:14     figure 132:14       76:24 81:3        123:18,19,20     43:3 51:14


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 57 of 80

Toole, Wes                                                   February 26, 2016
                                                                              13
  71:9 74:8        98:5,6,12    Germany 12:5       86:22 88:18     145:7,17
  87:25 88:1       127:21        12:6,10,17        89:10 95:3      146:2 147:21
  90:7,13          129:17        12:18             96:14 107:21    150:9 156:2
  94:22 100:5      160:11,12    gestures 6:6       118:24          156:5 161:5
  105:4,18         165:17       getting 10:19      119:13          164:24 165:3
  133:12           167:12        33:12 60:20       121:15         good 32:21
  143:22 154:7   future 26:3     61:22 67:6        125:18,22,23    44:9,10 60:2
  156:13           101:16        69:13 116:1       125:25 126:1    138:22 141:3
  157:20                         129:10,14,14      146:2 147:21   government
forward 28:3           G         164:11            155:2,16        133:2 151:6
  46:9 86:21     gambit 26:19   gigged 99:3        156:20          158:7
  88:23 97:15    gang 158:9     girlfriend 9:11    161:13         graduate 9:22
foster 122:5     gangs 88:2     give 6:4 17:1      164:24          10:6,11
found 49:15       158:5          17:14 52:12      goes 28:10      graduation
  50:7 60:24     gaps 98:7,13    78:16 86:10       43:20 86:4      10:18,19
  104:4 117:23   Garrison 24:19  94:9 119:12       151:8 162:17    12:5
  129:16         gather 116:9    122:6 137:5      going 6:2,10    grape-lipped
  143:25         gathering 67:5  146:1 157:7       6:19 21:25      46:15
four 17:4,5,17   general 15:8    164:25            24:21,22,23    gratuities
  55:18 79:21     32:11,14      given 20:20        26:2 45:24      140:3
  89:9            38:1 39:11     49:22 60:5        46:5 49:17     gratuity 130:5
Fox 40:3 41:13    61:12 63:22    62:22 70:9        58:10 60:17     130:6 131:13
  51:11,12        66:16 86:7     95:1 96:8         61:17 62:9      132:7 139:7
  114:19          88:21 118:2    97:9 99:23        63:22 64:2,7    139:22 150:4
  141:21,23       118:17 157:9   102:2 120:18      65:14 68:8      151:12
  142:18          157:22         121:13,22         70:20 73:5      154:14
Fox's 41:5        159:14         145:13            75:10 78:8     Great 69:13
frame 115:24     generally       163:13 166:6      80:4 82:16     Greene 48:4
frames 83:14      48:18 72:15   giving 60:17       83:18 85:5      48:11 92:17
fraud 14:17       85:10 105:18 glad 31:8           87:5 88:16      92:19 123:20
frauds 15:7       154:12        gleaned 21:19      88:16,24        131:14,18,22
freezing 141:5   generate       Glenn 124:25       89:21 92:15     132:6
fresh 55:12       66:17,18      go 11:6 12:3       97:20,21,23    grew 9:19
friend 126:21     103:21         13:24 14:1        100:21 101:7   grooming
  127:17 128:5   generated       19:4 23:20        102:1,12        20:13
friends 52:20     46:23 66:4     23:21 24:5        110:4 113:12   ground 5:16
  127:10          66:12,25       24:14,23          116:6 120:21   group 15:11
front 7:3 65:1    83:12 103:15   27:11 34:24       122:9 123:6     24:15 88:21
  67:14 91:20     125:21         46:9 59:16        124:4,17       groups 158:5
full 5:20         152:11         60:2 67:10        125:1,2        grow 9:18
  115:13         genesis 44:17   69:10 70:17       130:25 131:6   guess 13:9
  136:12         geographic      71:1,17 72:1      134:13          68:25 70:8
further 4:15      18:23          74:11 80:12       136:13          99:8 109:21
  63:10 71:25    Georgia 15:23   81:18 84:8        137:15 143:7    138:4


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 58 of 80

Toole, Wes                                                    February 26, 2016
14
guidance       145:22          hereinafter 5:3    52:4 113:22        156:22
 52:13,17     happening        hereunto           114:7,14         ifs 159:5
 58:10,14      83:16 127:2      167:17            124:6 133:18     ignore 60:4,6
 60:5,17      happens 56:13    hey 13:24          137:18             121:18
 62:22 71:9    56:13 95:10      45:20 50:16      honest 41:6,9     immediate
 86:12 95:1    98:3             57:3 59:21        72:11 124:12       95:5,6 117:2
 96:8 122:7   hard 32:4,11      59:22 60:21      hot 24:12,13      immediately
guidances      44:8 46:17       70:23 73:5       hour 7:9            79:9,10 95:9
 61:2          106:1 120:8      82:8 92:16       hours 9:21          96:11 133:15
guidelines     124:18           92:18 97:12       83:21,23         impact 105:25
 97:9,11      harm 118:10       99:1 103:17       84:1 108:6       implicated
guides 27:13  harming           108:15            116:14 165:2       91:1 139:18
 163:16        118:13           122:10           house 49:21       importance
guilt 34:1    hate 158:4,8      128:11,21         66:20              87:17
guns 87:23    hated 74:17       145:20           how's 143:6       important 5:19
 88:5 89:21   head 34:4         149:17           huddling            6:1,16 105:5
guy 153:15,18 headquarters      153:19,22         156:2              105:10,14
guys 46:5      24:15            156:22,23        huge 14:15          106:10
 60:23 73:23  health 105:24     161:4            husband           impossible
 123:7 147:8  hear 44:12,22    high 116:20        133:14             163:11,11
 156:2         139:13           117:7,11,12      hysterical        in-depth 48:6
               153:22          higher 117:25      50:10              64:3 127:1
      H       heard 18:1       highest 9:20                        inability 122:1
hand 75:10     25:21 139:9     highlight                I          inaccurate
 80:14 90:25   139:11           162:14           i.e 81:9            148:16
 100:16 124:4  154:11          highly 44:10      ID 124:24         inactivity
 167:17        157:22           62:13 135:21       125:1,14,16       68:24
handed 111:10 hearing 4:14      135:21             125:20          inadvertently
hands 92:12    44:21,23         145:19           idea 104:1          78:21
 92:20 99:1   heavily 51:13    hindsight           113:12 120:8    inbound 17:7
handwriting    51:17            112:25 113:9       120:15          incident 44:19
 55:16        held 97:16       Hinesville 88:2   ideal 81:17       incidents 45:7
happen 18:9    98:22           historical        Ideally 50:19     inclined
 83:19 121:22 help 13:23        119:3,5          identified 17:9     101:13
happened       14:2 17:15      history 106:17      52:12 60:21     include 20:24
 16:24 17:6    31:1 35:14      hit 79:6 125:20     83:21,24          21:1 68:5
 30:11 38:3    39:23 50:24      160:16             128:13            103:22 130:6
 46:21 47:9    54:10 86:20     hold 36:14          161:20            134:11
 56:8 80:6     100:20           38:4 66:21       identify 21:22    included 23:24
 86:24 104:13 helpful 127:6     66:21              31:14 54:15       93:18 162:9
 112:16,19    helping 58:9     holding 65:6        56:7 61:15      includes 88:7
 121:23        99:2 106:2      holes 145:16        86:17 90:20     including
 122:19,19    helps 21:21      homicide            106:3 116:13      163:10
 128:19 139:6  132:19           50:17 51:8         127:13          inclusive


                      Henderson Legal Services, Inc.
202-220-4158                           www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 59 of 80

Toole, Wes                                                          February 26, 2016
                                                                                      15
  167:9             81:12             79:2,13 80:8       21:5,9,16,19      160:1,20
inconseque...     inform 21:21        155:17             21:20             164:5
  108:25            50:24 66:4      initially 15:23    intelligent       interpret 62:17
inconsistent        139:2           initiated            137:24          interpretation
  144:22          informant           107:10           intend 57:9         158:2
incorrect           76:21             117:21           intended 7:25     interview
  133:10          information         130:19           intent 34:3         36:12,15
  142:15            27:13 29:5      initiation           86:16 136:12      53:21 62:9
  144:20            30:25 33:3,7      80:24 81:7         138:21            62:14,23
  146:14            34:13 35:7        115:4            interact 65:3       83:20 115:14
incumbent           35:10,12,14     initiative 122:8     90:6              116:13
  107:9             35:21,22        input 72:21        interacted          126:16,24
indefinitely        36:1,1,7          125:17             63:20             127:1,16
  65:6              38:14 44:24     inputs 73:10       interaction       interviewed
independent         45:20 46:8      inputted 126:1       91:15             46:15 63:19
  33:2              47:1 62:4       inquiries 29:9     interactions        71:14 83:23
independently       70:9,19           29:11 30:9         63:16 64:10       109:8 110:21
  122:6             73:22 78:14     inquiry 152:20     interchange...      153:5
INDEX 3:1,7         84:11,18        inside 66:20         161:2           interviews
indexing            89:25 90:22     insist 6:23        interest 49:1       46:13 53:4,9
  159:23            93:20 102:2     insofar 64:7         53:24 61:7        53:19 58:18
indicate 57:7       114:17,20,22      107:2 111:12       109:3 113:1       58:21 59:1,3
  127:20            125:10,25         164:3              134:1,2,6         59:5,13 61:6
  141:24            127:5,21        inspections          135:16 139:3      61:21 62:16
indicated 3:12      128:18            155:18,18          142:2,20          63:3 107:23
indicates           137:25 144:3    installation         144:23 145:1      119:25 120:3
  54:23             144:21 145:4      24:21 28:1         145:10            120:6 125:8
indicating          146:16            89:15 120:13       146:11            126:20
  125:13            148:19            151:15,16          147:12 148:5    intimate 60:11
  128:24            149:19          instance 94:17       148:7 150:4     intricacies
indication          152:14,16         98:4,8             153:16            60:12
  146:1             157:11 158:2      116:15 120:7       159:25          invaluable
indiscernible       159:3,4,10      instituted           160:25 161:1      50:4
  111:15            159:11 161:4      151:15             161:6,22        investigate
individual 22:8     161:7,20        institution          162:18 163:1      29:13 43:23
  37:13 126:7     informed            150:25           interest's 59:6     46:5
  159:16            49:15 53:17     instructed         interested        investigated
  160:15            139:1             34:21 121:9        167:15            24:7 77:11
individuals       informing 26:1    instruction        interesting         78:10 101:15
  77:11 149:8     inherent 14:19      103:9 120:18       109:2             102:11,14
  151:11          inherently        insurance          interface 75:5      103:2,18
infantry 14:21      102:6             129:20             75:5              105:16
infer 96:11       initial 18:18       139:22           internal 29:9       165:14
influence           50:6 78:4,5,7   intelligence         29:11 146:17    investigating


                        Henderson Legal Services, Inc.
202-220-4158                             www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 60 of 80

Toole, Wes                                                       February 26, 2016
16
  26:15 33:22      157:15 161:6    investigator      Isaac 18:1       JAHR00020...
  38:9 44:16     investigations      21:8 31:11        29:9,13,21       3:11
  44:18 51:14      13:4,6,9 19:3     42:7,15 44:9      30:12 44:12    January
  73:11 78:18      21:21,25          86:3 94:9,10      45:7 49:11       119:24
  90:14 113:22     22:3,7 40:24      94:11 98:16       53:6 63:7      Jeremy 141:21
  114:14,18        42:2,4 48:7       98:18,21          64:23 65:3     Jessica
  129:13           121:24 123:7      99:10,11,14       75:23 76:4,6     109:14 113:2
  158:18           133:7 135:9       99:16 100:1       76:11 77:7     job 10:16 11:9
investigation      149:15            100:4,14          77:10 106:24     13:14 15:17
  13:12 14:6     investigative       105:2 114:15      110:23           18:21 69:13
  14:13,14         13:15 16:5        120:18 121:1      124:25           129:15
  21:17 23:20      19:1 21:6,11      121:6,6           125:15         jogged 42:16
  24:7,9 29:18     21:13,18          165:13            156:10         Johnston 2:9
  29:21 31:12      22:17 26:18     investigators       158:12           7:8 8:8 26:22
  31:19,24         31:7,8,13,14      20:24 28:9      isms 40:21         29:7 34:17
  43:9,10 46:2     31:18 32:4        48:2 88:7       issue 23:25        35:2,9 36:24
  46:11 47:13      33:1,12           94:25 115:19      35:20 57:1       42:15 47:22
  47:14,18,21      42:18,23          116:22 122:5      73:14 82:6       62:11 75:24
  47:25 48:14      43:6 50:25      involved 8:22       119:11           102:17
  48:21 49:11      52:3,17           9:2 13:15         153:25           104:16
  50:17 51:9       53:16 54:6,8      29:20 45:10     issued 24:2        112:19
  52:5,9 53:18     54:13,21          47:2,20,24        118:16 119:9     129:24
  53:24 54:6       55:23 56:1,5      48:3,5,10       issues 9:2,5       130:10
  54:12 58:22      56:10,14          49:10 51:13       41:13,21,21      165:19,23
  59:9 61:13       57:11,14,15       51:15,17,20       85:16 149:20   joint 12:23
  64:4,8 65:14     57:19 62:8        54:5,7,9 58:6   IST 21:11,13       89:20 90:9
  69:9 75:7,14     63:4 67:16        63:15 76:18       82:7           joke 112:3
  76:8,12,18       67:17,18,22       76:21 114:6     item 89:9        journal 3:15
  76:24 77:25      68:25 69:7        154:5             93:10            144:19
  78:2,3,11,17     69:24 70:6      involvement       items 58:16        151:23
  78:23 80:8       70:21 72:21       8:2 52:3,6        85:15,21       joys 43:1
  80:16 81:1,3     73:10,19          58:9 77:2         94:1           Judge 34:23
  82:3,11,22       79:1,11           108:11,12,17    Ivory 39:7         37:19
  90:15,20         81:19 83:5,6      132:24                           judicial 33:2
  105:12 109:2     85:7 86:1,4,5     149:24                J          July 7:17
  113:24 114:7     86:7,9,12,16    involves 33:12    JAHR 1:5           95:14 96:1
  117:15,25        86:17,20        involving         JAHR0001475        124:23 128:2
  118:5,13         96:19,21          25:22            3:9 65:20         131:8 138:2
  119:4 125:8      97:5,6,8,10     IOA 21:13         JAHR0001493        138:15
  126:5,7,8        97:13 98:7      IP 55:7 57:5       150:13            144:10
  127:14           116:12            58:11 83:12     JAHR00014...       146:23
  133:12           155:13            86:13,14         3:14            jump 84:8
  137:18 139:4   investigativ...     93:19           JAHR0002066        96:13
  151:11           40:22           IRA 151:5          111:9           jumps 145:15


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
    Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 61 of 80

Toole, Wes                                                      February 26, 2016
                                                                                  17
June 16:21          53:17 67:6      51:15,18        145:17             141:18 155:7
  17:19 43:1        149:21,23       55:23 58:1      146:15,24
  95:17,23        kind 9:11         59:10 60:13     147:10,11,15             L
  101:3 106:6       11:25 13:3      60:22 61:11     148:2,4,17        lab 68:5,8
  108:6 112:14      14:18,24        61:14 63:6      150:1,13          labeling 71:6
jurisdiction        21:3 40:15      63:18 64:5      151:2,2,5,7,7     lack 70:9
  90:23             46:19 50:11     64:25 70:17     151:14,16,25        90:23
jurisdictions       50:22 52:13     73:18 76:9      152:1 153:8       Lapsley 138:6
  41:1              63:22 67:2      76:10 78:16     154:1,1,21          138:8,15
justifiable         67:19,23        78:18 81:11     155:1,9             139:2 149:2
  133:18            69:19 73:4      83:5 87:24      156:9,11,25       larger 20:14
justification       82:7 85:12      89:6,17 90:5    157:2 158:5         20:15,17
  85:12             86:20 93:19     91:4,17 92:6    158:14,22,22      Larry 140:11
Justin 44:1         97:12 100:18    92:9 93:1       159:1,7,13          140:12,15
                    106:15          94:25 96:5      160:13,17           161:16
        K           114:22          99:14 100:11    161:25 162:3      late 165:1
K-n-o-l-l 152:6     122:15          103:24          164:8 165:1       laundry 160:15
Kansas 11:8         124:16,18       105:25          165:9,16          law 7:20 11:20
Kapinus 44:1        149:24          106:18 107:3   Knowing              11:23 13:1,9
  51:11,12          151:10 161:2    107:5,19,20     112:16              13:19 31:22
  114:19          Kirk 152:5        109:23         knowledge            37:19 38:5
  162:13          knew 50:2,16      110:15,16,19    25:13 28:5          40:24 41:2
keep 28:17          104:9 162:11    112:9 113:2     29:8 37:6           87:7 89:14
  53:16 56:5        162:12          113:19          47:16 50:4          89:16 158:6
  73:5 87:12      Knoll 152:5       114:17,20       50:24 60:11         159:20 160:6
  97:15 106:17    know 6:10         115:3 117:19    76:15 106:6         160:12,14
  112:4 157:8       8:17,21         118:15 119:1    114:12              164:1
  157:9 163:3       11:24 13:23     119:3,5,10      149:12            LCR 1:22
keeping 66:18       16:5,11         120:5 122:14    152:20 154:3        167:5,24
  98:1 138:25       26:21 27:11     122:16,18       167:10            lead 59:8,10
Kentucky            28:4,8 29:14    123:3 127:6    known 35:12          60:22 61:10
  18:18 19:17       30:4,5,22       127:20,23       102:6,9           leader 108:24
kept 28:22          31:25 32:18     128:13          113:21 159:3      leaders 20:11
  93:5,17           32:20 33:20     129:11 131:7   knows 32:15        leadership
  99:22 104:5       34:9,15 35:4    132:4,10        34:8 78:23          10:13 12:23
  119:8,10          35:19,22,24     134:11          115:15              24:20
key 14:23           36:12 37:11     136:14 137:5   KNOX 167:3         leads 31:14
kill 110:4,7,24     37:18 38:3,8    137:8,11,14    Knoxville            54:10,15
  110:24            38:13,17        138:18 139:5    167:23              55:15 56:7
  113:12            41:18,20        139:6,11,14    Korea 11:1           57:24 58:3
killed 133:3        45:12,23,24     140:6,12       KRISTIN 2:9          60:14,16
killing 110:9       47:8,9 48:1,2   143:9,12,13    kristin.b.joh...     61:15 86:2
  110:10 112:1      48:10,17,19     143:14          2:11                127:15
kin 28:15           50:4,12         144:16         Kuwait 18:12       lean 100:19


                        Henderson Legal Services, Inc.
202-220-4158                             www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 62 of 80

Toole, Wes                                                         February 26, 2016
18
leaning 88:23     Licensed 4:7       locally 151:15      55:15 76:23     mail 23:16,16
learn 104:23         4:10 167:4      located 10:4        81:22 84:15     main 108:8,10
learned 52:2      Lieutenant           22:12             96:15 100:13     108:24
  112:23 144:3       65:24           location 14:1       101:1 106:20    maintained
leave 145:14      life 80:17,25      log-in 74:2,10      108:22           32:12
Leavenworth          109:19,20       logged 125:6        112:25 113:1    major 9:24
  11:7               115:5           logging 74:13       115:12          making 14:23
leaves 97:22      light 112:13,23    logistics 16:11     119:20           25:14 43:9
  100:2           limb 146:2         long 11:4 12:1      126:23 127:7     52:15 54:9
leaving 49:21     line 56:24 57:1      12:10 15:16       129:15           64:22 85:13
led 109:8            57:8 60:1         16:23 17:2        130:12 138:1     94:14 101:19
LEE 1:5              68:12 78:25       18:13 36:6        144:4,11         101:20,23
left 26:11 55:3      82:9 85:19        36:12,13          152:12           137:17
  55:7 100:5,7       85:19 87:15       38:20 41:8        161:16 165:3     149:22 150:4
  135:23             88:8 96:18        64:10 66:22     looks 55:12       malicious 61:1
  136:21 144:5       123:9             71:10 107:19      75:16 79:8      management
Legacy 75:2       lines 150:15         122:14            95:16,25         10:15
legal 9:2,5       link 117:24          133:17            96:24 108:15    managing
length 160:16     list 15:3 58:2       136:25 141:2      112:2,6          113:24
lengthy 88:22        86:2 119:23       145:23            115:2 120:20    maneuver
  151:25             121:2,7,8,14    longer 32:7       loses 100:19       11:21
LER 7:17,18          121:14,18         36:14 57:1,9    loss 14:17        manner 31:12
  98:23              122:20,25         57:13,25          15:7,9           32:14
LER-204 163:2        127:14            61:3            lot 11:21 23:24   manpower
LERs 126:12          160:15          look 8:4 50:16      33:11 40:23      164:12
let's 5:15 24:9   listed 25:11         63:6 65:1         41:7 47:15      manually 79:5
  60:19 67:10        94:1 107:4        67:2,8,13         48:5 91:14       125:6
  71:11,14           133:15,24,25      74:15 75:15       123:23          March 19:22
  73:16 125:18       134:7 144:24      80:3 85:19        131:19           167:18
  125:22             147:16 148:8      92:17,17          148:18 159:5    marijuana
  142:23             161:22 163:2      96:11 108:5     lower 67:15        24:13
  161:13          Listening            112:5 115:3     lunch 100:23      mark 87:17
letter 163:12        88:11             115:5 118:24      119:21           150:9 161:23
level 9:20 28:4   listing 92:2         121:16                            marked 54:17
  28:6 58:9       little 5:17 9:12     129:17                 M           65:17,19
  94:11 108:16       43:21 96:13       130:10 138:9    M 5:2 65:25        75:11 111:6
  110:17             133:21            141:1,5          144:19            111:13 124:5
  133:21          living 31:9          142:23          M-A-C-E 89:11      142:22
  164:15,16          56:2 86:10        145:25          MACE 89:11         150:10
Levinworth           93:19           looked 58:5        89:18 90:6        151:19,21
  11:11 12:1      Lloyd 75:19          109:1 111:18     90:11,14,22      Marshall 9:19
Lexington 2:4        108:9             119:6 141:22     91:18            martial 7:2
liaison 53:13     loaded 110:6         161:17          machine 4:11       65:25 67:1,4
  53:15 154:20    local 89:16        looking 21:18     Mahon 51:15       math 17:16


                         Henderson Legal Services, Inc.
202-220-4158                              www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 63 of 80

Toole, Wes                                                  February 26, 2016
                                                                             19
matter 10:10     42:12 56:19    mention 34:20    minimal 86:13     18:14 60:23
 32:11 43:12     56:21 62:2     mentioned        minimize 48:8     66:9 122:22
 164:16          69:5 81:24      42:16 51:5      minimum           123:2,4
MATTHEW 2:3      84:5 96:11      63:3 79:3        80:23 137:14     125:23
maximum 69:9     99:10,13        81:25 87:15      160:10,19        133:12
McClellan        120:9 129:2     92:23 96:21     minute 64:1       137:12,13,15
 10:20           129:12          107:22          minutes          morning
mean 14:15       156:25          120:23           122:10 127:3     130:13 145:7
 16:2 23:6,12   meant 19:11      124:15 146:9     146:3            145:21
 25:1,2,10       69:15 83:10     158:12          miscommun...      156:17
 28:13 29:6      127:22 129:5    159:13           145:2           mother 52:19
 33:23 36:24    measures         160:23 163:3    missed 54:10      52:19 126:21
 38:11 41:17     87:19           163:17          mission 11:23     128:5
 43:12 47:14    mechanism       mentioning        13:4,10,24      motivation
 55:4 56:23      107:17          121:19           14:2 116:4       113:3
 56:25 57:6      132:16         mentions         missions         motivations
 60:10 61:16    mechanized       146:19           11:22            113:4
 62:17 63:10     14:22          mentorship       misspoke         move 20:8,14
 67:25 69:2,4   media 30:10      156:4            154:17           20:14 27:17
 72:24 74:25    medicine        mess 50:11       mistakes          91:19 121:19
 76:13 79:25     52:22          message 79:4      41:18 43:9       123:24
 81:21 90:19    medium 20:9     met 32:24        misundersta...   moved 74:23
 92:3,13 96:6   meet 36:20       116:3            145:3           moving 20:11
 98:16 120:8    memo 28:17      method 95:10     misuse 42:18      86:21 97:15
 120:14          66:12,25       Michele 1:22     mitigate 87:20    128:25 129:7
 121:21          88:25 89:1      4:6,9 167:4     model 20:8       MP 11:19
 123:15 129:8    116:20 117:8    167:23           87:9             20:24 42:7
 129:9 130:23    117:11,13      middle 58:16     money 45:25       56:24
 131:16 142:7    118:12 119:6    111:24           112:3 129:2     MPs 11:22
 146:2 150:22    119:7           126:15           129:11           50:10,13
 153:4,18       memorandum       141:23           143:10,12,17    multi-file
 154:7 158:24    65:24 66:3     midnight          151:8 153:9      123:19
 160:15 162:7    66:18 117:14    124:17          monitorship      multiple
 163:22          117:16,21      migrating         117:14,15        103:23
meaning 57:24    118:3,6,15      125:10          month 11:3       murder 15:14
 80:13           118:18,20,23   mil 27:14         25:25 40:8       48:17 49:2
meaningful       118:24,25      military 11:13    81:3,16 96:9     75:14 84:13
 68:24 69:7      119:12          16:6,8,9         107:17           107:25 108:9
 69:11,12,15    memorial 65:9    19:23 37:23      112:16,23        108:23
 69:24 70:13    memorialized     38:1 68:20       137:10 151:8     110:22
 71:24 96:21     70:2            87:10,10,11     month-and-...    murders 15:13
 97:10,13       memorize         87:13 90:21      107:1            30:4,7
means 5:19       163:6,11        140:21          months 17:1,4     139:17
 6:17,18        memory 42:16    mind 125:24       17:5,17


                     Henderson Legal Services, Inc.
202-220-4158                          www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 64 of 80

Toole, Wes                                                  February 26, 2016
20

       N         necessitate      100:15          55:10            138:3 139:8
name 5:8 8:21     81:15          non-commis...   notified 125:4    144:15,19
 18:1 25:10      need 6:3,8       38:2 42:12     Notifying         145:24
 27:24 40:2       13:24 14:1      42:13           46:25            146:22
 42:15 44:12      36:20 37:9     non-SSI 49:8    noting 127:9      148:25 149:2
 44:14,21         39:12,13       non-SSIs        November         oath 5:18
 45:1,3,14        41:19 59:24     98:22           12:8            oaths 33:16
 49:22,25         59:25 70:17    normal 37:11    Nowadays         Object 35:9
 51:5,18,21       115:14 116:8    46:24 49:17     31:6            objection
 74:6 75:18       122:9 127:18    50:1 52:15     nuances 43:16     34:17 35:2
 75:22 76:4,5     141:5 156:7     107:19         number 7:17       62:11 104:16
 111:15,15        156:22,23      normally 37:8    7:18,19         objections
 124:15           157:15          107:20          65:20 81:12      4:12 34:22
 125:19,25       needed 19:7      149:16,25       86:18 89:9      objectively
 127:23           65:7,9 89:24   Notary 4:7       93:10 101:16     69:20
 159:15,24       needs 37:3      notation         101:24          observe 41:5
 160:23           43:19 68:10     106:24          102:24 103:3     41:10
names 152:7       68:11 70:10    note 57:19,21    103:6,7,11      obtain 33:23
narcotics         156:21          103:11 109:3    103:13,15,21     33:25 56:24
 89:18           neighborhood     128:23 135:6    107:23           119:23
narrative         59:1            138:1 146:16    111:13           121:14
 85:11           never 7:3,5      148:19          121:11,21       obtained
Nashville 1:19    60:25 90:9     notebook 8:12    124:24 125:1     46:15 106:25
 4:6              122:21 148:5   noted 57:15      125:14,16,21     115:7 121:15
natural 50:21     150:17          64:15 115:21    125:21 126:4     159:11
Naturally         152:23 153:4    134:25 135:3    126:6,8,14      obtaining
 132:24          new 2:5 27:20    146:12          127:24 138:4     129:1,11
nature 21:24      73:14 74:23    notes 8:13,15    138:5 143:21    obvious
 78:9 160:18      75:8 105:22     70:5 110:19     144:8 160:14     162:16
navigate 43:24    124:24          142:2,4,13      162:4 164:11    obviously 48:7
NCIC 159:20       125:11,14,23    142:15,16,19   numbered          48:16 61:25
NCIS 68:21        126:4 129:15    142:20,20       85:15 93:25      105:24
 160:10,13,19    news 143:21      144:18         numbers 3:12      110:14
NCOC 100:15      nexus 46:4       146:14 147:1    85:5 111:8       113:11
NCOIC 42:11       90:24           148:13,15       144:5            160:13
NEC 27:11        NFI 127:19       152:12,13,17   NY 2:5           occasions
necessarily      Nicholas         152:25                           53:7 90:12
                  75:19           162:20               O          occupied
 19:12 20:6
 53:18 84:1      night 125:3,4   noteworthy      Oates 130:14      140:23
 105:9 108:21    nights 124:17    113:6           130:20,21       occur 80:12,25
 122:9           nine 107:21     notice 4:16      131:1,4          81:2 82:23
necessary         144:4           5:24 63:8       132:8 134:14     90:18 98:25
 36:15 66:4      non-CID 68:19    82:6 114:23     134:20 136:5    occurred 8:22
                 non-commis...   notification     136:22 138:3     30:4 47:16


                      Henderson Legal Services, Inc.
202-220-4158                           www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 65 of 80

Toole, Wes                                                      February 26, 2016
                                                                                  21
 66:10 69:19       128:16,20,22      103:17,20        26:19 87:4,8    organizations
 84:2 100:13       130:4,14          123:3 125:17     87:11 89:6       158:6,8
 104:22            131:3,24          128:1 133:22     93:21           organized
occurrence         132:11            134:16,17       operational       123:24
 34:6 70:20        135:23 138:5      144:17           164:12          originals
occurs 121:24      141:18            148:12 150:8    operations        23:17
off-post 45:22     148:22,24         152:2 154:17     11:25 16:5      OSI 68:21
 87:25 89:2,6      149:4,14,16       157:17           18:20,25        outcome
 89:10             151:24            165:17           19:1 20:7,13     167:15
Off-the-record     155:22,24,25     old 27:4          21:13 37:11     outlined 67:21
 119:15 155:4      156:7,16         on-the-fly        45:11 81:14     outside 37:8
offender           157:8 158:9       156:1            87:3,10 89:3     37:10 41:2
 147:23           officer 12:25     on-the-spot       89:15,20         62:5 96:19
offenders          14:21 17:8        155:19           90:9 91:15       97:1 116:11
 45:13 126:11      18:20,25         once 17:9,11      91:16 100:20    overall 52:13
offense 9:10       19:15 20:7,7      18:16 22:19      100:21 116:6     85:18
 24:7 25:6,16      38:1,2 42:12      22:24 23:17      140:15,18,20    overcome 8:1
 32:7,25 33:1      42:13 65:25       50:19 69:8      opine 82:25      overlap 22:3
 48:18,23          67:2 100:15       78:22 79:6      opinion 35:10    overlooks
 55:9 69:3         140:16,19,20      82:2,15          108:19,21,25     162:5
 78:2,9 82:23      149:5,18          97:11,14,24      110:5,13,14     overriding
 84:11,14         officers 53:14     107:3 113:14     156:12 161:2     60:9
 92:2 101:8        68:15             133:11           165:8           oversaw 39:11
 101:14           offices 4:5        145:20          opportunity      oversee 91:16
 105:16,17         18:23 19:2,3      154:21           41:4            overseeing
 160:8             19:5,9 22:12      164:22          opposed 6:5       135:9
offenses 30:17     39:19,22         one-on-one       order 11:20,23   oversight 16:5
 34:3 103:23       86:14             156:3            20:10 31:11      18:25 19:2
office 1:18 4:6   official 128:21   ones 67:4         36:15,21        overt 110:15
 16:4,6,15,17      137:16           ongoing 26:2      37:4 42:22      overwhelmed
 19:25 20:2,9      149:13            64:8 156:23      65:11 70:18      43:18 95:8
 20:9,14,16       okay 5:15 6:13     162:7,11         87:12,13
 20:19 21:8        6:14,20,24       OP 87:1,2,7,12    90:15 102:9            P
 32:6 38:24        11:16 16:3        87:13,15         106:16          p.m 1:16
 39:15 49:5        17:14 39:7        93:4,11,14       123:11           165:25
 63:18 67:4        44:22 48:22       93:16,18         137:23 149:7    page 3:2,8
 72:3,3,9,19       49:24 54:23      open 27:20        150:23 151:4     55:11,13,14
 77:16 80:10       61:1 67:17        31:19 156:17     159:7            55:14,18,19
 81:10 92:15       67:25 71:11       157:6,15        ordered           56:18 58:16
 97:20 98:24       71:17 77:6        158:19 163:3     156:10           58:17 75:17
 100:5 101:15      81:2,24          opened 162:8     organization      75:24 76:2,3
 103:5 117:19      95:15,22         operating         14:15 16:9       76:8,23
 123:4,18          96:3 101:5        89:19           organizational    77:21 79:21
 128:8,12,14       101:23           operation         10:13,13,15      84:9 89:9


                        Henderson Legal Services, Inc.
202-220-4158                             www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 66 of 80

Toole, Wes                                                 February 26, 2016
22
 91:19,21        167:13         percent          144:23 145:1    piece 66:15
 93:8,8 96:15   partnership      163:12          145:4,6,9       place 26:20,25
 96:15 101:2     89:19          percentage       146:11           28:9 38:12
 107:21         pass 90:22       34:5            147:12 148:5     62:21 98:25
 111:24         passes 97:22    perception       148:7 149:1      130:9 148:1
 115:11,11      passing 63:17    156:7           150:3,4          164:5
 119:18          63:18 90:8     Perfect 6:8      153:16          placed 98:23
 124:16,22      patience 6:11   perfectly        156:22          Plaintiffs 1:7
 126:15 128:1   patrol 11:14     32:21           159:19,25        2:2 4:3
 138:2,12        11:19          perform 53:15    160:25 161:1    plan 31:7,8,13
 140:7 141:2    pay 132:13,22   performance      161:6,22         31:18 32:4
 141:5,20,23     133:2,23,23     41:20           162:5,18         54:6,8,13,21
 144:4,5,8       150:23 151:4   performed        163:1            56:5,10,14
 146:21         paying 132:11    93:24 145:7    personal 8:12     57:12,14,15
 161:13          132:14         performing       13:7 31:3        57:19 62:8
pages 35:20     payment          41:11,15        65:7 66:19       63:4 67:18
 86:24 94:19     134:10,18      period 70:10     67:5 154:24      81:19 83:6
 151:22 163:9    141:3 147:21    70:13 140:6    personally        85:7 86:1,4,6
 167:8           161:18         periodic         41:4 57:16       86:7,9,12,16
paid 139:9,10   payments         106:18          57:17 90:6       87:1,2,3,7,16
 153:9 154:14    131:25 150:5   periods 40:6    personnel         93:4,11,14
paragraph       PCS 12:19       permanent        16:11 21:2,3     93:16,19,21
 85:6 87:12      27:23 100:8     100:8           43:4             116:13
 101:6 115:13   PDF 163:9       person 6:1      persons           150:19,22
 144:14         Peed 2:3,4       16:10 25:18     117:15,25       planned
parenthesis     pending 6:24     34:8 35:12     pertaining        128:25
 16:8           people 16:15     36:16 43:11     117:14           129:14
parents          16:17,18        50:19 53:24    perusing         planning 88:13
 154:13,18       23:25 38:23     58:13 59:5      123:8            110:24 129:7
parlance         39:18 41:18     59:13,16       phase 52:7       plans 55:23
 140:22          41:18 45:13     61:7 74:2,12    63:19 73:1,7     56:2 87:8
part 46:19       46:8,14         76:15 78:22    phone 7:8 8:15    129:9
 57:13 62:8      61:22 62:2      94:6 98:13      42:21 63:25     platoon 62:6
 63:7 79:16      62:10,15,17     100:19 105:1    85:2 126:20     play 103:16
 85:9,17         62:24 72:4,8    114:16          128:4 130:25    playing 123:4
 98:17 101:2     72:22 94:21     121:24          131:8 145:23    please 5:8
 101:3 107:6     95:8 106:14     125:24         physical 15:8     24:11 34:24
 122:4,4         110:18 120:5    127:17          61:13 99:13      34:25 37:22
 145:3 151:1     127:13          128:17          157:7            71:13 96:14
particular       139:23          133:25 134:1   physically        108:4 115:10
 47:10 48:13     143:16          134:1,2,2,6     7:13 22:12       128:1 144:13
 51:8 108:7      146:17          135:15 137:7   pick 86:23        146:21,23
parties 66:4     148:20 153:8    139:3 142:2    picked 130:24     151:24
 110:12          156:7 160:7     142:19         pie 107:16       plug 51:10


                      Henderson Legal Services, Inc.
202-220-4158                           www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 67 of 80

Toole, Wes                                                     February 26, 2016
                                                                                 23
Plumey 144:15    post 9:22        previous 73:15    problems         prosecution
point 34:16       27:13 28:2       75:11 76:11       41:10,14         30:18 31:1
 47:18 59:10      28:17 106:2      76:18 99:9        47:17           protection
 77:15 84:14      140:24           102:3 118:16     procedures        12:22 13:5
 100:5 121:12    posted 141:17    previously         159:24          protective
 135:14          potential         54:16 75:11      proceeded         12:20,24
 139:11           48:23 60:22      101:14 103:2      50:1,22          13:16,21
pointing 85:16    68:6 133:5       105:15 124:5     process 10:9      15:16
 110:5            158:19           126:19            26:18 36:16     protocols 28:9
points 138:22    practice 43:12   primary 53:17      37:10 49:18     prove 58:1
police 11:13      59:6,7 61:5      90:11 94:3        50:25 53:16     provide 5:20
 16:8 19:23       65:13 72:20      134:12            63:22 85:13      14:2 19:2
 37:23           practices        printed 28:23      88:18,22         26:4 28:16
policies 150:6    150:7            29:2,3 93:18      92:22 107:11     29:4 64:3
 164:5           pre-deploym...    93:23 144:7       107:14 115:1     70:18 116:20
policy 32:16      17:12           prior 45:7 81:7    129:1,10         117:7,17
poor 41:20       prefer 38:10      102:16,17,23      133:22 150:2     149:18
populating       preferred 95:4    115:4 133:13      156:24          provided
 125:12           95:10            152:19           processed         35:23 95:11
portion 35:3     preliminary      prioritization     23:18 52:10      95:14 97:12
 132:3 148:20     51:16 52:6       86:15 97:22       68:3             104:25 118:4
position 16:13    54:12 63:19     prioritize        processing        118:7 135:25
 19:20 20:4       73:1,7           31:15 127:16      36:13            138:3 154:21
 140:23          prepare 7:6      private 106:7     program 10:14     155:19
possession        20:17 22:20      127:10            151:3           providing 47:3
 49:4 102:8       92:1 124:8       131:25           progress          52:16 85:17
possibility      preparing         132:22            20:11 53:17      163:14
 118:13           20:13 54:5,8     135:15 139:3     progressed       PSE 127:4
possible 22:4     58:6 142:9       139:10            46:18           PST 27:17
 29:22 40:12     present 65:10     143:10,23        prohibit         psychology
 44:18 62:7      presentation      150:25            106:14           9:25
 64:19 69:23      109:24          privately 151:7   prohibited       Public 4:8
 70:1,25 71:4    press 38:10      privates           81:17           publications
 93:16 113:15    pressed 44:8      122:13           promised          35:13
 127:15 135:1    pretrial 36:18   proactively        136:4           published
 135:2,4,18      pretty 33:9       131:23           promoted          117:16
 135:20 136:7     131:17          probable 33:4      16:19           pull 23:9 34:4
 140:1 153:21     155:20           36:22 38:13      proper 104:6,7    84:21 85:2
 153:23          prevent 14:17    probably 26:2     property 15:8    pulled 8:6
 161:19,25       prevention        58:8,13,13        149:21,21        42:20
 162:3,5,8,9      14:5,13,20       135:7,8          prosecute        pulling 21:20
 165:16           14:21,25         148:7 162:1       90:16            75:6
possibly 45:23    15:6,9          probative         prosecuted       punch 92:18
 137:13 153:2     118:11           31:17             30:13,16,20      92:19


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 68 of 80

Toole, Wes                                                    February 26, 2016
24
purchase 87:5    154:22            157:2,5,8,12    reason 8:17        63:2 76:5,16
 143:17,23      query 160:15       157:13,18,19      24:25 25:3       76:20 77:6,8
purchased       question 4:13      157:21,23,25      43:8 59:18       77:9,12,15
 110:25 111:1    6:10,12,15        158:3,12,19       59:23 63:2,2     77:19 88:13
purchasing       6:17,18,19        159:8,14          64:21 76:5       88:15 100:4
 144:1           6:24 25:8       RDF 157:1           81:9 103:1       108:4 109:12
purpose 21:23    27:2 34:25        158:9             121:17 128:9     109:12
 53:11 66:2      37:2,7,9 60:7   reach 68:21         144:7 163:13     110:20
 67:15 87:14     71:6 99:8         104:15          reasonable         111:17,22
 117:10,20       122:15 132:2    reaction 11:14      36:8,10          112:10
purposes 38:4    141:17            52:23             71:20,22,23      126:20,23
 137:25          161:10,17       reactivate 28:3     72:16,17         129:18 130:3
 139:21          162:3           read 30:10          95:6,7 97:18     130:23 131:2
pursuant 4:3    questioning        35:1,3 66:3       98:13 102:25     131:5,11,12
pursue 90:23     37:5 38:4         86:24 99:15       134:17           132:7 134:12
 127:18          117:19            112:5 120:17      136:12           135:14 136:4
push 106:1      questions          124:13,16         163:24 164:2     136:8,9
pusher 108:10    6:15 9:7,13       132:3 143:20      164:3,10,10      138:16,17
put 28:22,23     25:15 30:1,3      144:13,20         164:17 165:6     140:5 141:12
 29:3 41:23      165:18            146:24            165:8            145:5,25
 44:7 56:9      quick 67:19,23     148:23          reasonablen...     147:4,6,14
 59:20 64:19     86:21,25          151:25            163:18 164:6     147:25
 70:12,17        163:15            152:15 166:4    reasoning          148:22,23
 71:1,17 72:5   quickly 146:7      167:16            60:1,10          156:12
 72:6,18        quiet 112:4      reading 4:18      reasons 36:21    receive 10:1
 73:21 75:1     quite 70:20        57:11 77:1        37:4,25          23:2 82:5
 78:3 79:8       93:16 105:23      84:17 101:21      81:12            96:7 99:5
 85:11 87:6      140:1 148:16      120:9           reassign 43:17   received 62:15
 95:9 99:6       148:18          reads 80:2          43:19            126:21 128:3
 105:14         quote 64:23        92:5            reassigned         137:1 143:11
 116:10 118:6    110:3,4         ready 60:20         18:17          recess 100:23
 123:17 128:9    117:22          really 11:22      recall 7:17      recipient
 141:15,19       161:19,21         51:17 64:10       11:3 16:19       78:21
 157:12,25      quotes 69:11       72:3 73:7         16:22,23,25    recipients
 158:10          69:14 95:6        78:24 81:25       25:21 40:1       23:23 24:14
putting 22:6     108:24 158:3      90:9 91:14        42:7,14,16     recognize
 36:17 74:7                        106:19,20         44:13,23         45:14 54:17
 94:13                R            108:25 109:5      45:3,17          65:21 111:11
               RAF 68:12           121:10 127:1      46:10,21         111:12,16
       Q       raid 87:6           136:13 137:3      47:17,21         152:7
quality 19:5   rank 19:12,14       153:24            48:13 51:4,6   recognized
 140:10 159:3 rape 133:19        rear 120:9,14       51:13 52:18      49:23,24
quarter 155:16 rating 140:21     Rear-D 119:24       58:5,20,23       113:15,18
quarters       raw 156:25          120:9             58:25 59:2     recollection


                      Henderson Legal Services, Inc.
202-220-4158                           www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 69 of 80

Toole, Wes                                                     February 26, 2016
                                                                               25
  5:21 77:3        125:14 128:4      81:5 82:12      20:21 32:2       107:22
  124:20           149:3             97:3,19 98:2    38:23,25       remembering
  130:22         referring 38:17     106:21 155:9    39:21 40:2,5     46:17
  135:24 147:2     76:3 79:2,12      160:9 163:4     41:7,8,12,17   remind 67:20
  158:15           96:20 98:17       163:12,18,20    41:21 42:5,6     118:7
  162:20           98:18 117:5       163:23          42:9,10        reminded
record 5:9         117:13 128:2      164:21          44:16,20         70:23
  34:22 67:10      144:14          regulations       45:4,19        reminder 82:6
  67:11 69:13      148:19 164:1      35:13,25        46:12,18       remove 43:10
  99:24 100:22   refers 88:8         67:21 106:13    47:6 48:2,21   removed 42:17
  119:3,13         91:22 101:9       160:5           49:13 51:17    rendering
  155:2 160:6      117:7 121:3     regulatory        52:7 54:1,7      113:3
  160:12           126:16            32:17 80:22     63:24 65:8     repeat 104:20
  167:10         reflect 56:15     reinforce         66:14,19       rephrase 9:6
recorded           75:22 154:19      163:15          72:11,18         26:13 37:2
  69:25 70:2,5   reflected         relate 109:6      74:14 89:3       58:24 83:4
records 23:3,5     152:25          related 167:12    90:17 91:13      132:1,2
  23:9,14        reflects 75:18    relating          92:21 100:7    replace 43:11
  24:16 99:22    refresh 124:19      151:10          100:8,10       repopulate
  141:24           147:1             152:16          101:19,20        27:21
  160:20         refresher           154:12          102:22         report 4:10
recourses          156:21          relation 51:23    108:12,14,17     7:20 22:22
  121:12         reg 156:17          51:25 151:12    109:10,15,17     23:16,20
recover 67:9       164:6           relationship      112:11 127:7     24:2,14,17
red 123:9,11     regard 130:4        76:11,14        127:8 130:15     24:23 25:11
  123:18 124:1   regarding           77:7 100:12     130:16,17,18     25:17 40:20
reducing 4:11      28:19 29:9      relatively        130:24 131:8     46:23 47:3
reduction          44:24 49:11       39:15 54:3      131:9,15,15      56:24 70:6
  106:4            129:19            137:10 146:7    132:1,5,9,17     78:4,5,8,15
refer 97:4         130:14 138:2      151:25          132:18,18        78:19 79:1,2
  117:1,2          153:6 154:9     relayed 114:18    134:22           79:6,7,11,13
  118:12         regards           release 67:8      136:18,21        80:9 82:1,17
  148:21           159:11          releasing         139:14,15,16     82:18 83:2
reference        register            66:24           139:19,24,24     84:16,21
  67:19,23         153:24          relevant 61:3,4   140:1,2,4        92:1,9,10,19
  86:21,25       registered          106:9           141:14 143:3     92:24 93:2
  101:17           76:25 162:14    reliability       143:4,19,19      101:7 105:1
  162:17         regs 156:20         77:17           143:25 144:2     105:7,11
  163:15         regular 40:10     relieved 42:23    145:11 149:1     106:24
referred 21:12     62:18,24        remain 17:2       149:8 151:13     136:19 137:1
  35:25 45:18      155:14          remarks 64:13     153:1,17         137:17,18,21
  75:13 88:10    regulation          64:16,22        154:24           152:11
  91:3,18          28:14 29:2        141:3 143:1     158:16         reported
  117:12           35:17,18        remember        remembered         105:10,12


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 70 of 80

Toole, Wes                                                        February 26, 2016
26
  167:7             32:23 81:14        52:11 138:24   returning           93:15 111:3
reporter 4:7,10     115:24             138:25           99:16 115:21      130:11 134:3
  5:24 7:3        requires 29:2      responsibility     149:21            142:5 156:21
  165:21 167:1    resecure 65:12       12:21 14:5     review 7:10,14    reviews 19:6
  167:5           reserve 39:20        14:10,17,19      8:1 33:2 49:4     52:16 80:18
reporting 97:7      40:10,17           14:25 15:6       54:12,13,13       80:22 85:11
  128:17            73:17 165:20       15:12 18:24      77:22,25          95:18 100:20
  139:17          reserved 4:13        18:24 21:15      78:3,25 79:8      106:19
  147:19            167:16             22:6 89:16       79:9,17,19        155:17
reports 22:21     reservists           113:20 114:1     79:21 80:8      revised 86:14
  23:2 24:24        39:23,24,25        114:3 164:17     80:13,16,21       93:22
  25:3 31:22        40:23            responsible        81:2,15         revolve 9:8
  78:8 82:12      residence            14:12,23         84:10 85:10     RFA 84:4,6
  92:14 107:3       49:16 50:9         15:2 16:4,10     85:11,18        right 7:20,23
repository          65:12              18:22 21:17      86:25 91:16       20:2,22,25
  75:4            resistance           67:5 94:14       93:9,24 94:8      25:19 29:8
representati...     122:1              94:16 157:13     94:12 95:14       31:1 33:11
  149:9           resolve 31:11      restate 104:18     95:17,20          42:13 45:2
reprimand         resolved 57:2        132:2            96:16 97:25       49:13 53:9
  164:25          resource           restrained         99:12,15,20       54:14,15
request 68:8        77:17              50:11            101:4 104:3       55:13,19,23
  68:10,13,18     respect 29:5       restrict 78:19     104:9 108:6       56:18 57:10
  68:22 88:9        47:10,11,12      restricted         108:7 111:18      66:7,19
  88:15,16,19       129:19             78:15            114:3,23,25       67:16 68:16
Requested         respond 85:20      result 103:16      115:1 124:11      69:21 71:12
  35:3 132:3        89:24 93:25        129:21           137:23            74:6,21
required 31:21      94:8,12,21       results 68:5       138:14            76:23 77:22
  52:8 53:16        96:7 99:12         136:20,23        141:15,19         79:14,18
  57:3,25 68:7      99:15 134:14       145:8,13,17      143:8 145:8       80:3,8 81:21
  80:18,21        responded          retain 31:23       159:9 161:21      85:2 86:1
  82:12 86:13       52:7               32:1,10          162:10            91:9 95:24
  89:2 96:22      responding           106:16         reviewed 26:9       98:4 100:16
  117:17            98:9 104:3       retained 3:16      51:5 77:18        100:21
  137:16          responds             28:20 32:5,7     81:7 124:8        102:20,24
requirement         94:15 99:20      retaining          124:14            110:12,13
  31:25 32:3,9    response 82:4        26:21 27:1       152:18            111:24
  32:17 53:14       94:14,19         retention          158:25            130:11
  57:17,19,21       95:5,6,11,13       28:10 32:3,9     164:22            145:15
  58:2 60:4         95:14,16,19      retirement       reviewers           148:16 152:3
  66:17 69:6        95:21,23           150:24           164:9             155:7 157:20
  80:22 81:13       96:4,10          retrieve 74:25   reviewing 7:25      164:15
  107:5             141:21             75:3             8:5 21:17       rights 117:20
requirements        153:21           returned 29:15     48:11 54:9        118:5
  19:7 31:23      responsibilit...     94:3 115:20      58:7,8 60:20    ring 45:15


                         Henderson Legal Services, Inc.
202-220-4158                              www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 71 of 80

Toole, Wes                                                  February 26, 2016
                                                                             27
  108:23 111:4     148:9 161:9   62:13 104:8    Schaefer          60:15,19,21
rip 45:21        ruled 64:4,6    115:7           127:11,17,20     72:25 73:6,8
  129:12           133:18 134:9 saying 6:2       127:25           73:13,22
rise 110:16        135:22,23     56:19 64:17    scheduled         76:3,24 80:5
risk 87:16         136:1,3       74:13 79:7      18:6             89:5 93:10
  93:11 106:3      144:25        97:25 109:16   school 10:3,6     93:14 94:19
  116:20 117:7     145:19        115:20 116:2    10:12 12:4       95:1,5,11
  117:11,12      rules 4:4 5:16  123:17         schools 100:2     97:25 115:8
  118:1            28:8          128:11         science 165:5     127:3,16
roadmap          run 159:15      144:22         screens           132:25 133:2
  31:10          Ruth 65:25      145:11 148:3    156:18           144:21
Roark 1:6                        148:3,6        screw 141:4       147:11
  139:17                S        153:15,17,20   Sean 126:17       153:25
ROI 96:18        S-2 62:20       160:17          127:8            157:14 159:5
  101:15 102:4   SA 79:22 91:22 says 54:25      search 37:9       159:7,9
  102:23 103:2    91:25,25       55:1 67:25      159:17          seeing 92:8
  103:6,20,25    SAC 17:17,25    68:24 79:1     searches          105:23
  104:5,9,13      20:1,9,15      79:16,22,22     164:2            148:13
  106:10          22:10 42:6     81:6,22 83:2   Seattle 1:3       152:19
  123:10          45:10 52:15    84:5,10         2:10            seen 62:8 73:9
role 11:16,24     53:14 59:12    91:25 93:10    second 21:10      73:12 115:9
  39:2,4 53:15    60:18 77:22    96:18 98:2      55:11 65:24      144:18 147:1
  63:21           77:24 78:25    98:16,20        75:17 82:6       150:16,17
roles 52:10       79:16,19       99:9 108:7      100:22 101:2     151:9,10,17
  138:24          82:19 84:9     111:25 112:2    101:3 111:24    segregate
room 6:1 68:4     93:8,24        115:13          119:14 155:3     46:6
  127:2           94:12 95:14    116:10,19      secret 13:7      seizures 164:2
Rosa 144:15       95:18,20       119:22 123:9    106:21          self-harm
  144:19          101:3 104:3    124:24         Secretary         118:1
  146:22          105:4 106:5    130:20,20       12:25           send 22:24
route 49:16,22    111:18         131:1 136:10   section 62:20     79:1,6,11,25
routine 62:18     138:24 142:1   138:3 144:9     167:14           89:8
  62:24           143:22 144:1   164:21         security 10:15   sending 84:6
routinely         156:13        scenario 24:9    11:24 13:7      senior 12:22
  26:17 28:13     157:20         103:16,17       15:8 106:7       16:4 19:8
  33:23 34:5     SACs 19:8       104:8,11,12     106:14,25        43:22 44:2
  45:10          safe 48:4 88:6  104:19          107:8 127:24     46:3 100:19
ROY 54:21        safety 36:21    121:22 123:1   see 20:10        sent 23:22
RPR 1:22 4:7      37:24 38:4    scene 49:17      21:12,19,21      24:17 28:19
  167:4           88:24          51:16 52:7,9    34:2 38:21       28:25 68:15
rule 34:23       save 28:10      59:2 65:4,6     45:12,12         78:4,6 79:8
  50:19,20       Savings         65:14 66:4,5    55:11,21         79:22 82:3
  134:11          150:18         66:18,21        56:23,25         82:18 84:21
  147:13,23      saw 51:4 59:23  67:9 125:8      57:5,14          92:24 93:3


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 72 of 80

Toole, Wes                                                     February 26, 2016
28
sentences          133:2 139:10    significant       68:17 69:1       164:19,19
 108:5           shalt 59:11         48:8,18         69:18,22       sit 63:1 71:16
sentencing       share 90:21         98:24 109:18    70:1,14 71:4     77:4,19
 30:21           shared 93:17        112:18,23       72:23 74:22      103:24
separate 30:23   shares 14:24        113:8 117:24    75:9,16 77:5     110:20 111:3
 101:15 103:2    Sheet 166:8         153:24          77:23 79:4       136:15 143:9
 103:15,21,25    Sheriff 128:10      158:18,22,23    79:15,20,24    sitting 58:12
 104:4 126:5     sheriff's 128:8     158:25 159:6    80:19 81:20      123:4 127:1
 126:8 149:10      128:12,14,16      159:6           82:21 83:4       153:5
September          128:20,22       similar 55:22     83:19,22       situation 59:9
 17:11,18        Sherman 10:4        93:19 151:5     84:3,7,23        78:24 85:23
 66:6            shifting 97:23      152:17          85:1,4 89:12     116:4 122:25
sequence         short 5:11        simple 102:8      91:24 92:5       133:6
 131:5 132:18      39:15 64:1        109:22          93:7 94:23     situations
 157:5             133:17          simply 97:23      95:25 96:2       93:21
Sergeant         shortened           162:5           96:24 99:21    six 17:1 18:23
 49:11 50:7        87:2            simultaneou...    100:7 101:11     89:9
 52:4,23         shorter 40:6        162:8,11        108:3,14,18    size 20:9 62:6
 66:23 126:16    shorthand         single 20:1       112:6,15         120:12
 127:4 138:6       4:11              122:7 123:21    114:10 116:2   SJA 24:19
 138:7,15        shortly 10:18       124:16 156:5    116:18,24        82:25 107:14
 139:2 149:2       42:25             160:17          117:6,9          109:4 116:20
Serious 48:8     shotgun 45:23     sir 5:12 7:5      118:21 120:4     116:23
served 18:19       110:24 111:1      10:23 13:13     120:8,20,25    SJAs 22:25
 40:25             112:2             13:18 15:10     124:10         skills 167:10
server 28:6      show 74:15          15:15,18,20     126:10,18,22   slash 15:25
service 12:24      93:2 126:10       19:13 23:11     128:6 130:8    slice 107:15
 13:7 65:10        150:8 159:21      24:1,4 25:20    131:21 135:1   slow 10:8
 100:9           showed 50:10        27:2,6 28:7     138:14 140:9   smoked
services 12:20     142:4             29:6,14,24      140:13,18,25     105:25
 13:16,21        showing 54:16       30:2,8,14       141:10 142:8   smoking
 15:17             65:19 92:24       31:2,5,22       142:11 144:6     101:13 102:4
serving 11:14      151:21            32:14 33:6,8    144:12,17        104:15,24
 19:24 30:17     shut 106:2          33:10,14,17     146:25 147:3     105:3,6,17
set 72:8,12,13   shuts 155:22        36:19 37:15     148:14           106:11
 85:5 156:4      sign 167:16         38:21 39:1,6    149:11         Social 127:24
 167:17          signature 4:19      39:13,17        150:20 152:2   sociology 9:24
Seven 161:14       166:12            42:9 44:3,6     152:3,8,22     soldier 9:10
severity 110:1   signed 111:19       48:8,9 49:3,6   154:5 155:8      11:13 23:25
 110:5             166:8             49:9 51:19      155:11 156:8     24:3,13
sexual 21:7      significance        54:4 55:2,17    157:2 160:3      33:22 36:2,3
 48:9              117:24            55:20,25        161:24           37:14 38:4,8
SGLI 130:7,14      123:11 127:9      57:12 58:8      162:24 163:7     38:9,12,13
 131:9 132:12      129:3             66:8,11         163:19           41:25 42:1


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 73 of 80

Toole, Wes                                                       February 26, 2016
                                                                                   29
 47:1,2 48:20      133:20            109:6 125:20   stabbed             123:23 152:4
 49:15 61:25      soon 80:20         129:19,22        133:14          starts 119:21
 78:17 91:1        137:10            131:16         staff 3:15        stat 92:17,18
 105:2 106:11     sorry 21:10        163:21,22        12:23 37:19     state 4:8 5:8
 107:4,6           37:2,20           164:7            144:18            6:16 34:25
 109:18,19,21      47:12 69:12      specifically      151:23            145:9 167:2
 110:9,10          73:14 84:8        85:19 111:22     155:17            167:5
 126:11            95:13 101:2       111:23 114:8   staffed 39:15     stated 55:25
 147:15,19         106:19            127:7 131:12   standard 33:3       115:2 142:2
 151:4             164:10            138:17           33:7,9 35:15      148:4
soldier's 24:18   sort 22:2 55:21    145:11           36:2,20 37:3    statement
 61:21             56:23 74:2       specified         40:23 41:3        46:16 101:19
soldiers 16:12     105:7 150:2       99:20 120:6      59:6,7 61:5,9     101:20,24
 33:13 37:24       154:4             160:4            65:13 67:16       102:10 110:3
 45:21 91:18      sounds 7:23       specify 160:9     71:24 72:12       111:13,14,22
 105:24 106:3      101:21            160:10,11        72:19 83:3,7      111:25 112:7
 110:2,9,11        136:10,11        speculation       83:11 86:12       112:10,17,22
 118:8,13         source 50:4        34:18 62:12      86:20 97:15       113:11,16,21
 119:24            76:25 77:2,9     Spencer 42:8      97:18 98:2        114:13 115:6
 120:15           source's 77:6      42:9 100:4       120:13            115:16,18,23
 150:22            77:12             100:14           163:24 164:3      129:3 141:7
solicitation      sources 88:7       116:22         standardized      statements
 84:12             143:21           Spencers          118:20 119:7      33:13 34:1
solid 44:9        South 128:25       115:19           123:14            108:7 109:7
solider 109:14    space 57:4,5,8    Spice 101:13    standards           109:13
 109:20           speak 47:4         102:4,10         35:21 67:17       111:19 113:3
solving 123:7      51:7 107:14       103:18           67:21 72:5,8      114:3,16
somebody           134:20,24         104:15,24        72:13 83:5        128:24
 62:7 84:19        138:7 154:18      105:3,7,17       87:13 155:13      152:25
 98:12 107:13     speaking           105:22,23,25     164:18          states 1:2,9,18
 122:9 133:3       145:6             106:2,11       standpoint          2:9 4:5 160:6
 133:24           special 11:14     split 112:3       21:18           stating 162:15
 135:10            15:24,25         spoke 7:8,9     stands 27:12      station 10:24
 145:16            16:3,20 17:2      53:6 63:7      start 5:15          10:25 12:16
 165:12            19:24 22:9        148:24           62:21,23          100:9
somebody's         131:14,19         154:21           85:14 88:17     stationed 11:4
 25:10             133:13           spouse 133:14     88:23 90:1        12:18 15:22
someone's          156:13            144:23,24        95:2 100:1        18:13,15
 125:19           specialist         145:9 146:10   started 8:5         22:11 26:16
somewhat 9:3       127:11,19,21      148:4,8          17:12 29:22     statistical
 29:17 55:22       127:25           spouse--          49:17,21          117:24
 108:14           specific 15:1,6    148:3            55:12 125:9     statistics
 124:21            34:3 41:12       squad 62:1,6      125:9             21:23 34:4
 130:16            54:1 91:6        SSI 48:9        starting          status 23:19


                        Henderson Legal Services, Inc.
202-220-4158                             www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 74 of 80

Toole, Wes                                                     February 26, 2016
30
  24:2,8,16,24     42:21          successfully      supression      surveys 21:24
  25:3,17        stopped 17:17     43:25             15:7 39:3      suspect 134:5
  46:23 64:3     story 133:17     sufficient 36:2    42:11 45:11     134:12
  92:1,8,10,14   Street 2:10      suggested          46:2 73:23      160:25 161:1
  92:19,23       stress 118:8      80:25 134:10      94:5            161:6
  93:2 101:7     strictly 90:24    143:16           sure 14:23      suspects 68:6
stay 32:4 46:2   structure        suicide 50:22      22:8 25:9       78:10 88:7
  46:7             19:12,13        118:1,11          35:1 43:7,14    90:20 160:7
stayed 165:2     stuck 164:11     suit 8:24          43:20 48:24     160:24
stays 27:24      studies 21:23    suite 145:14       48:24 49:18    suspension
Ste 2:10         study 117:21     Summaries          51:19 54:10     107:7,8
step 20:4,6        117:22 118:3    7:11              54:13,14       suspensions
stepping 90:3    stuff 14:24      summary            58:8,10,11      86:15
steps 118:9        153:19 160:2    65:25 67:1,3      58:11 59:15    suspicion
Steven 75:19     subject 10:10     124:6 130:12      59:21 65:2      132:23
Stewart 2:10       25:11 46:24    supervising        70:19 72:23    suspicions
  15:22 16:6,7     54:23 69:16     70:7              83:13 85:25     64:11
  16:16,24         78:10 82:10    supervisor         87:21 88:5     suspicious
  17:3,8 18:4      82:13,14        22:9 57:2         89:22 90:4      63:9,11,14
  18:17 20:10      90:20 92:1      70:16 72:4,4      94:14 98:12     64:14,17,22
  20:18 21:4       101:8 107:4     83:2,17           101:16,24       129:6,16
  22:15 23:12      117:18          116:10            104:19         switch 107:13
  23:15 26:11      126:12          121:16,20         107:10 109:4   switched
  26:16,22,23      133:15,24       164:22            109:10          17:10
  26:24 27:1,5     134:1,8,19     supplement         113:21         sworn 5:3
  27:18 29:16      137:17          56:6              118:10          33:12,18,21
  32:2 39:14       144:25         supply 42:1        123:24          33:25 34:12
  41:24 43:4       147:16 148:8    106:2             136:15          111:12,14,19
  51:14 71:9       160:25 161:3   support 11:21      138:21         synonymou...
  71:20 74:8       161:5 162:21    11:24 13:23       149:23 156:8    38:18
  87:25 88:1       163:2           13:25 14:2        157:24         system 7:12
  90:7,13        subjective        21:2,3,6,11       158:24 162:2    7:14 23:12
  94:22 100:5      35:11 71:24     22:17 41:25       164:19          26:10,20,25
  105:4,18       subjects 77:13   supporting        surge 105:23     40:20 70:25
  133:12           109:1           24:19            surprise         71:3 73:15
  143:22         submit 68:8      supposed           106:23 107:2    73:15 74:1,8
  156:13         submitted         14:20 31:14       109:5 142:12    74:15,17,18
  157:20           88:20 89:5      93:25 99:11      surprises        74:21,24
Stewart's        subordinate       114:23 115:3      107:18          75:1,2,8
  38:24            165:13          119:22           surrounding      84:21 125:12
STIPULATION      subsequent        159:25            59:1 131:10     125:19
  4:1              147:2 155:18    164:23            137:5           160:21
stone 156:4      substance        suppression       surveillance
stop 37:25         105:22          157:10            87:4                 T


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 75 of 80

Toole, Wes                                                      February 26, 2016
                                                                                  31
T 116:3            121:13,25        145:22          testimonial         59:24,24
T.C.A 167:14     tasked 13:22       147:22,22         61:14             61:4 63:1,25
tab 157:12       TDY 97:21          151:16          testimony 5:25      64:21 65:5
tailor 54:11     team 11:15         162:25            17:16 128:4       66:14 69:15
take 10:6 17:1     22:9 39:3,8    telling 73:4        148:15            71:20 72:17
  56:25 57:5       44:10,16         116:22            162:19,25         76:17 88:11
  92:16,17         45:11 46:2       131:24            166:5,6           90:8 93:2
  107:17,20        49:14,18         135:14          Texas 9:19          100:10 103:1
  108:5 118:9      59:22 60:14    tempo 164:12        10:5              104:2,8,11
  129:8,8          60:15,16       temporary         Thank 17:24         114:11
  130:9 137:1      70:8 72:15       97:22 149:7       138:14            121:17,21
  137:12,15        72:21 73:9     ten 69:2,2,5,8    thereof 167:17      122:6 123:16
  142:23 148:1     73:21 87:4       91:19 96:19     thing 5:19 6:23     123:21 128:9
  165:23           90:10 92:13      96:22 97:1        34:20 82:21       128:10
taken 81:23        94:5,6 96:16     97:11,14,24       88:25 93:20       136:20,22
  82:2 100:23      97:21 98:11      98:10 99:4        96:20 121:23      138:1 146:8
  151:23 167:7     99:12,20         127:3 164:22      123:13,21         146:14
takes 36:12,13     100:15,17,17   Tennessee           124:13            152:10 153:2
talk 6:9 8:7       100:18,18        1:19 4:6,8,10     163:21            159:6
  28:14 45:23      101:25,25        167:2,6,24      things 6:4        thinking 32:1
  61:19 112:1      103:10         term 38:20          14:18 21:13       88:23
  116:7,8          113:25 114:2     61:24 68:18       21:22,24        third 110:12
  131:22           114:18           69:11 71:20       22:6 28:13        141:23
talked 93:4        120:19 122:3     71:23 161:1       46:25 64:23     THOMAS 1:5
  101:9 135:12     156:1 165:9      163:1             67:6 68:6       thorough
  146:12 149:9     165:13,14,15   termed 69:7         73:3,5 83:15      31:12
talking 38:16    teams 73:23      terminology         83:18 84:24     Thoroughne...
  56:1 61:22       162:12           38:19             85:14,15,17       97:6
  86:5 87:24     technical        terms 19:11         85:18,22        thought 32:22
  88:5 113:10      88:11 161:3      29:18 30:12       86:18 94:22       44:10 62:9
  115:25 120:2   Technician         32:8 35:20        97:20 116:7       62:14 63:9
  127:8 131:12     21:7,11          38:19 40:9        116:8,12          64:13 95:13
  149:2            22:18            40:14 52:15       121:19,22       thousand 62:9
talks 61:20      telephonic         58:12 62:4        127:24            62:15
  110:9,10         63:17            63:23 86:13       132:14 143:6    threat 84:12
target 88:16     tell 7:6 59:12     88:12 159:10      143:6 156:17      109:22,23
  89:3,7 103:6     59:17 64:8       161:3,3           158:7 163:23    threatening
  110:22 111:2     76:19 102:15   terrain 116:4       163:25 165:7      110:6
targeted 91:2      115:17         test 68:6         think 6:9 18:2    threatens
targeting 90:1     121:12         tested 68:9         20:20 39:10       109:20
  90:3             122:12         testified 5:4       43:8 48:3       threats 109:18
targets 87:25      136:13           7:1 114:5         51:3,10,10        110:8
task 89:18         138:18           126:19            52:19 53:8      three 7:18
  120:22           142:17         testify 5:19        53:25 59:19       10:18 32:6


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 76 of 80

Toole, Wes                                                        February 26, 2016
32
  32:12 55:13      123:18 125:7     today 7:7 8:11      54:15          true 166:5
  55:14,14,19      126:12,13          29:5 33:19      tracking 86:19     167:9
  58:18 77:22      127:3,7,22         63:1 71:17        106:20         truth 152:13
  84:9 97:5        129:4,5,6,16       77:4,20         TRACY 1:5        truthfully 5:20
  108:22           133:21             103:24          traffic 28:15    try 6:12 20:16
  124:17,23        135:14,21,22       110:20 111:4      42:20 137:8      29:12 31:11
Thrift 150:18      136:21 140:6       119:21          trained 40:22      42:22 61:14
ticket 42:22       141:13,25          136:15 143:9      41:3             72:14 80:9
tie-in 49:2        144:25 146:1     Tolbert 22:16     training 11:1      121:13 122:5
tight 88:6         147:20 148:8       161:10,19         13:25 17:13      122:16 123:2
time 6:22 11:9     148:13             162:2             40:15 155:14     123:17
  12:24 13:8       151:17           told 5:16 45:20     155:19,21,25     137:22
  17:6,11,25       153:19 155:7       46:1,1,9          156:6,9,14       141:16
  18:4,5 20:20     156:5 163:13       51:10 70:8        156:15           152:24
  20:22 21:8       163:13             83:9 92:3         163:14           160:16
  22:1,14        timeline 144:2       109:13          transcript 6:3     164:20
  23:11 27:22    timeliness           127:25            167:8          trying 6:11
  29:15 30:7       67:22 83:7         128:18,23       transcription      42:5 48:8
  30:17 32:2       97:5,8             134:15            166:6            53:25 54:10
  35:12 36:8     timely 31:12         141:14,15       transfer 27:25     66:14,15
  36:10 39:21      96:3,5 97:6        143:13,15,16    transferred        80:5 99:8
  39:21 40:7     times 35:24          143:18            12:19 19:17      100:8 103:16
  43:21 44:9       52:1 65:5,11       144:24 145:5      100:2            106:1 108:16
  45:6,9 46:4      107:3 145:16       153:14,18       transition         110:23
  46:17 50:14      154:25           tool 118:11         17:12            123:16,21,22
  59:2 65:8      timing 116:6       Toole 1:12 3:3    transmission       125:15 127:5
  69:9 70:10       163:21             4:2 5:2,5,10      4:16             127:14
  71:8,19,21     TIMOTHY 1:5          72:14 91:22     transpired         132:21
  71:22 72:7     title 92:3           91:25 100:25      29:17            136:18
  72:19 73:20      101:13             141:3 142:1     trends 21:22       153:20 161:8
  74:7,9,11        102:12 118:6       144:14 167:7    trials 7:2         163:14 165:4
  80:13 82:11      134:8 161:5      Toole's 110:14    tried 30:23      Ts 97:5
  83:1,9,11,14   titled 24:3 25:5   top 34:4 44:4       122:11,16,20   TSP 151:4,8
  83:14,17         25:7,9,16          106:14,21,25      122:25         Tuesday 7:9
  86:23 87:10      32:24 47:9         128:1 138:12    tries 121:25     turn 75:17
  88:1,4 89:5      47:13 84:13        144:9,14        trigger 82:7       107:12
  90:7 91:12       107:5              152:4             84:19 105:13     115:10
  92:16 94:22    titling 25:18      totality 129:15     116:9            119:18 128:1
  95:7 98:7        33:1 46:24         137:23          triggered          140:7 141:20
  106:5 112:9      84:19 101:10       158:25            132:19           146:21
  112:19 113:1     137:25             159:12 165:4    triggers 67:20   Turning 89:9
  113:7,11       TLE 88:9,10,19     touch 136:5       troop 120:12       126:15
  115:24           89:7             track 22:21       troops 116:4     Turso 140:11
  118:17         TN 167:24            31:15 48:7      truck 49:20        140:12,15,19


                        Henderson Legal Services, Inc.
202-220-4158                             www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 77 of 80

Toole, Wes                                                     February 26, 2016
                                                                                33
  141:8,10,22    typical 11:20    5:22 6:2,6        82:13,14        Valdez 109:14
  143:2 161:16     24:9 55:21     8:19 17:15        115:8 129:2       111:15
  162:2,18,25      159:20         61:1,19          unreasonable     valent 124:13
tweaked 93:22    typically 13:22  83:13 85:25       145:12          verbal 6:5
two 11:22 12:2     23:24 40:6     99:9 102:11      unresponsive       109:23
  21:25 22:2       40:17,21       104:17            50:8,9          verbatim
  33:25 46:7       48:6 54:11     122:18           unrestrict         109:11
  61:11,11         56:21 60:15    125:15            78:22           verbiage
  66:9 70:25       73:13 78:3    understanda...    unusual 54:3       147:17
  75:24 76:2,3     80:7,9 84:18   123:8             55:25 61:10     version 87:2
  86:11 93:10      89:25 93:5    understandi...     66:20 72:24       119:1,2
  100:10 110:2     93:14 99:19    8:19,23,25        73:8 80:6         163:9
  111:10           99:21 127:12   9:1,4,11 14:4     90:19 93:13     versus 71:6
  115:22           137:1,20,22    24:20 25:10       94:24,24          72:6 161:3
  125:22 137:6     138:21         33:11 38:6        137:12            165:5
  137:10                          93:9 97:19        145:19          victim 54:24
  145:15 149:7          U         117:4            updated 56:14      83:21 116:16
  149:8 156:17   U.S 10:17,21    understood        upload 23:3      victim's 83:20
  156:18           24:15 26:1     6:19,21,25       uploaded 23:8    victims 116:14
two-minute         119:4         undetermined      upper 55:3,6     view 34:16
  135:10         uh-huh 6:5       55:1 66:23       urine 24:12        35:8 122:23
type 13:7          53:3 56:12     129:1            use 24:10        violation 81:4
  20:16 21:19      101:18 108:1 unfortunately       26:12,14        violent 88:3
  24:22 32:7     ultimately       95:10 107:15      31:3,11 49:5    Virginia 9:17
  34:3 40:13       88:21         unfounded          86:14 87:8        12:19
  45:13 50:5,5   unable 122:20    25:6,17           102:8 156:14    visits 19:4,6
  50:20 52:21    unacceptable     82:20             156:15 162:8    vs 1:8
  54:15 60:9       96:25 97:1    unheard 72:25     user 28:4
  73:13 77:1       98:1,5 123:6 uniform 65:9       uses 151:3             W
  78:1,2,12      unclear 27:1    unique 80:11      usual 61:8     W 1:5
  85:10 88:3     uncommon         126:11           usually 37:17  WA 2:10
  98:24 103:7      70:24 78:15   unit 13:6 14:20    55:6,7 62:1,6 wait 59:25
  109:22           80:6           14:22,22          64:1 72:12     137:16,20
  117:23         uncovered        27:11 58:19       73:6 82:25    waiting 73:24
  120:11 124:2     44:19          58:19 59:6        84:16 85:15    147:9
  125:5,19       undercover       61:6,21,24        89:4 94:2     waived 4:17
  126:2 137:4      78:12          62:2,17,20        99:24 137:9   Waldron
  155:25 158:7   undermine        62:23 120:3       149:4,5        126:17 127:8
  159:4            158:6          120:10,11,11     utmost 87:17   walking
typed 55:4       underneath       127:23 149:6                     135:11
  165:21           73:11         United 1:2,9            V        want 12:8
types 61:11,11   underplay        1:18 2:9 4:5     Vadelz's 113:2  16:21 17:10
typewritten        108:16        units 11:21       Vaguely         17:14 25:9
  4:12           understand      unknown 82:9       126:25         25:24,24


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
     Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 78 of 80

Toole, Wes                                                    February 26, 2016
34
 42:25 43:20     111:16 113:2    wife 7:16         43:4 51:8              Z
 43:22 46:1,6    113:7 116:24     12:13 49:12      68:9 72:9       z 59:21 60:24
 46:7 52:25      120:20           109:14 112:1     80:16 97:11
 58:15 66:25     123:14           113:4,12,14      154:7 164:22           0
 80:7,12         132:13,16        115:14          worried          02 7:24
 85:18,24        134:12           135:16           141:19          0270 7:21
 88:4 89:7,22    141:23          wife's 30:19     wouldn't 59:7    0279 7:22
 90:1,4 93:14    150:14           129:21           61:9 72:13      03/08/16
 98:14 104:20    152:14           132:24           89:25 96:5       167:23
 114:25 116:7    164:20          window 96:19      107:2 135:7     08:30 130:12
 116:11 122:4    165:11          wire 88:12,14    write 126:2      09:52 5:1
 123:3,24       ways 162:4       withheld         writing 40:20
 127:12,12      we'll 78:19,22    132:22          wrong 69:16             1
 128:13          149:15           133:16           94:18           1 167:8
 132:25 133:2    157:12           134:10          wrongdoing       100 163:12
 142:24          165:19          withhold          50:5            10022 2:5
 165:21         we're 135:8       132:14          wrongful 8:23    11 18:14 75:11
wanted 30:5     weapon 110:6      134:17           25:22             84:9 91:20
 43:5 50:23     weapons          witness 3:3      wrote 141:24       93:8 95:14
 72:5 84:20      143:17,23        4:3,18,19                          101:2 107:22
 88:6,17,23      144:1            26:24 35:4             X           115:11
 94:8 99:15     wearing 88:14     45:1 110:23     x 59:21 60:24      119:19 128:1
 118:22,23      week 14:1         112:8 128:15                       164:23
                                                         Y         111 3:11
 129:12,17      weeks 71:1        132:4 167:17
warrant 17:8     94:20 154:10    witnessed        y 59:21 60:24    11th 96:1
 19:15 20:7     went 11:7 12:4    38:2            yeah 7:23          119:24
WASHINGT...      12:5 80:3       witnesses          39:23 51:11    12 20:20,23
 1:2             92:11 99:6       109:8 110:21      53:1 72:17       101:2
wasn't 8:1,6     99:13 124:14     111:20 137:7      75:5 80:5      127 151:22
 13:8 45:9       124:20          word 6:18          108:17 129:6   127-130 3:15
 61:5 71:21      152:21           134:18            136:3 146:3    128 151:22
 76:7 93:23      159:19           160:24 162:9    year 11:5        13 101:1 124:5
 102:15 121:7   weren't 40:18    work 9:22 10:7     17:18,21,22      140:8 161:13
 123:1 124:15   Wes 1:12 3:3      10:11 11:14       40:7 43:1      130 144:8
 128:15,20       4:2 5:2,10,12    11:20 13:2,7      137:13           151:23
 154:5 162:19    72:14 110:14     13:15,20        years 12:2,11    13th 2:4
waste 14:17      167:7            31:4 33:12        15:18 32:6     140 135:9
way 38:21       Wesley 5:11       40:15 41:5,7      32:12 86:11    142 3:12
 50:22 55:20    West 9:17         41:11 43:6        150:1 156:19   1494 150:13
 56:15 58:2      148:3            52:4 62:4,6     yesterday        15 83:1 84:5,5
 61:2 66:15     WESTERN 1:2       62:18 72:21       71:14            120:15
 67:3,7 80:2    whatnot           73:25 80:16     York 1:5 2:5       146:22
 92:5,23         163:10          worked 62:24       139:17         150 3:14
 96:24 97:12    whipped 42:21    working 20:12                     151 3:15


                      Henderson Legal Services, Inc.
202-220-4158                           www.hendersonlegalservices.com
   Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 79 of 80

Toole, Wes                                                      February 26, 2016
                                                                             35
15th 112:14       144:10          30 3:12 9:21     784 163:9
16 138:2          146:23 155:6     81:23 82:4,5    7th 140:11
16:00 108:6       158:13           82:8,16,18
167 167:9        2014 152:9        83:9 142:22            8
16th 108:6        154:6            142:23 144:4    8th 66:6
17 95:17         2015 19:22       30th 16:7,18       167:18
17th 95:23        74:19           31 3:13 150:9
                                                          9
 124:23 125:4    2016 1:15 4:4     150:10
18 84:16          167:7,18        31st 19:23       9 144:8
18th 128:2       204 113:21       32 3:15 151:18   9:52 1:16
19 131:7          162:19,22,23     151:19,22       911 50:8
 138:15          204-11-093       38 120:15        98101-1271
 156:19           161:22                             2:10
195-1 35:18      204-11-CID-...          4
 67:21 97:3       111:14          4,000 61:25
 155:9 156:18    2068 111:9       48 165:2
 163:4,18        212-328-9559     4833 22:25
1975 9:15         2:6               81:25 82:3,5
1997 10:2 11:3   21st 91:23         82:8
19th 130:13       146:23
                                        5
 138:2 144:10    22:32:01
1st 101:3         167:23          5 3:4
 106:6           22:40 125:3      50/50 11:25
                 2318915 125:1    502nd 18:19
       2         2331691            18:22
2:14-cv-018...    124:24          5220 2:10
  1:8            24 83:21,23             6
2:51 165:25       84:1 116:14
2:57 1:16                         6-30-2016
                 24-9-136
20 86:24                            167:24
                  167:14
  115:11                          6-8 119:24
                 25 54:17 67:13
2000 10:8 12:9                      120:10
                  81:19 138:13
2010 15:19                        641 2:4
                 26 1:15 96:15
  16:21 17:19                     65 3:9
                 26th 4:4 167:7
  17:20                           667 1:22 167:5
                 27 119:18
2011 17:11,18                       167:24
                 279-11-CID093
  17:23,24                        6th 152:9
                  54:22
  29:10 66:6     28 3:9 19:22            7
  91:23 101:3     65:17,20        7 9:15 161:13
  106:6 112:14   29 3:10 111:6    700 2:10
  119:4 124:23    111:8           75 140:8
  131:8 138:2
                        3         76 141:2
  139:18
                                  78 141:20,23
  140:11         3 19:15


                       Henderson Legal Services, Inc.
202-220-4158                            www.hendersonlegalservices.com
Case 2:14-cv-01884-BJR Document 102-24 Filed 05/22/17 Page 80 of 80
